Case 1:25-cv-00121-MSM-LDA     Document 4-3   Filed 04/01/25   Page 1 of 233 PageID
                                     #: 270



                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND



  STATE OF COLORADO, et al.,

              Plaintiffs,

        v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.,

              Defendants.




                                       1
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25       Page 2 of 233 PageID
                                            #: 271




                             DECLARATION OF SUSAN FANELLI

       I, Susan Fanelli, declare as follows:

        1.      I am a resident of the State of California. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am the Chief Deputy Director of Health Quality and Emergency Response for

 the California Department of Public Health (CDPH).

        3.      In my current position, which I started in February 2022, I oversee the work of the

 various Centers within CDPH, including the Center for Preparedness and Response, the Center

 for Infectious Disease, and the Center for Laboratory Sciences. In this capacity, I work with

 Center Deputies to set policy direction, identify and remove barriers to program implementation,

 and evaluate program performance.

        4.      I have served in several executive leadership roles within CDPH’s Directors

 Office over the years. I was appointed as the Chief Deputy Director in March 2018, served as

 Acting Director in July 2019, and as Assistant Director between May 2015 and March 2018. In

 these roles, I oversaw several cross-cutting functions including public affairs, quality

 improvement, public health accreditation, and emergency preparedness.

        5.      Having spent more than ten years in CDPH’s Emergency Preparedness Office,

 including several years as the Deputy Director and Assistant Deputy Director, I have been

 involved in the public health and medical response to a large number of emergencies including

 H1N1, wildfires, Ebola, earthquakes, and Zika. In coordinating planning and response efforts, I




                                                   2
Case 1:25-cv-00121-MSM-LDA             Document 4-3      Filed 04/01/25      Page 3 of 233 PageID
                                             #: 272



 have worked closely with nearly all programs in CDPH and have developed an understanding of

 not only their day-to-day activities but also how these activities must shift during emergencies.

        6.      CDPH aims to optimize the health and wellbeing of all people in California.

 CDPH works with local health departments, as well as public and private partners, to implement

 policies and programs that advance public health. Because California has a large, diverse

 population that covers a vast geographic area, CDPH’s local health departments, public partners,

 and private partners are vital to informing, coordinating, and providing quality public health

 services to the public.

        7.      CDPH recently received notice, as set forth in detail below, that the following

 grants awarded to CDPH as a recipient or subrecipient had been terminated by the U.S.

 Department of Health and Human Services, Centers for Disease Control (CDC):

                    a. Immunization and Vaccines for Children Grant (Grant no. 6

                           NH23IP922612-05-09);

                    b. Epidemiology and Laboratory Capacity for Prevention and Control of

                           Emerging Infectious Diseases (ELC) Cooperative Agreement and its

                           supplements Enhancing Detection (Grant no. 6 NU50CK000539-01-10)
                           and Enhancing Detection Expansion (Grant no. 6 NU50CK000539-02-

                       07);
                    c. CDC-RFA-OT21-2103 - National Initiative to Address COVID-19 Health

                           Disparities Among Populations at High-Risk and Underserved Grant

                           (Grant no. 6NH750T000035-01-07) (Health Disparities Grant).

        8.      The terminated awards as described in paragraph 7, as originally granted,

 included funding of over $2,000,000,000.




                                                  3
Case 1:25-cv-00121-MSM-LDA             Document 4-3       Filed 04/01/25      Page 4 of 233 PageID
                                             #: 273



 Immunization and Vaccines for Children Grant (CDC-RFA-IP19-1901)
      9.     In 2020, CDC invited applications for Immunization and Vaccines for Children

 grant supplemental funding.

        10.     While the initial bid for applications identified the purpose of the grant was to

 enhance the Vaccine for Children (VFC) program, which supports vaccinations against disease

 such as measles and influenza, and to implement forthcoming immunization against COVID-19,

 by 2023, CDC more clearly indicated the need to sustain and strengthen vaccine access for all

 ages and all types of diseases. Notably, in July 2023, CDC issued guidance that these funds

 “may integrate other Advisory Committee on Immunization Practices (ACIP)-recommended

 vaccines as long as COVID-19 vaccine is included,” recognizing the need for improved access

 and distribution of vaccines in general. A true and correct copy of this guidance, dated July 6,

 2023, is attached as Exhibit A. Since 2020, CDPH has consistently been approved for an

 extension of this grant.

        11.     As set out in CDPH’s annual grant proposals to CDC, CDPH intended to use the

 Immunization and Vaccines for Children grant to support routine and emergency immunization

 with a variety of vaccines for children and adults, including but not limited to, vaccines against

 COVID-19, measles, and influenza. As the COVID-19 pandemic disrupted routine

 immunization, the Immunization and Vaccines for Children grant seeks to sustain and strengthen

 vaccine access for all ages and all types of diseases.

        12.     The grant was initially approved on September 23, 2020, requiring expenditure of

 the funds by July 5, 2021. A true and correct copy of the corresponding Notice of Award and its

 attachments, dated September 23, 2020, is attached as Exhibit B. This provision has remained in

 place through the grant extensions.



                                                   4
Case 1:25-cv-00121-MSM-LDA            Document 4-3      Filed 04/01/25      Page 5 of 233 PageID
                                            #: 274



        13.     Since 2020, CDC consistently extended the expenditure date and added funds to

 the grant. As of November 2024, this grant funding was set to expire June 30, 2025. In

 December 2024, CDPH was notified via GrantSolutions, CDC’s grant administration online

 platform, that that it could apply for a No Cost Extension of funding through June 30, 2027.

 CDPH submitted its request for a no-cost extension on or about February 26, 2025. According to

 a true and correct copy of a GrantSolutions screenshot taken March 26, 2025, attached as Exhibit

 C, CDPH’s request for a No Cost Extension had been “approved” CDPH relied on this approval

 of a No Cost Extension of the grant funding. Accordingly, CDPH has continued its approved

 grant activities since February 26, 2025.

        14.     On March 25, 2025, without any prior notice or indication, CDC informed CDPH

 that effective March 24, 2025, its Immunization and Vaccines for Children grant was being

 terminated. A true and correct copy of the grant award termination notice is attached as Exhibit

 D. As set forth therein, according to CDC, the termination was based on the end of the COVID-

 19 pandemic, even though the grants are not limited solely to activities related to COVID-19 and

 expressly authorize investments in public health systems and apparatus to prepare for future

 pandemics. No appeal rights or processes were included in this termination notice.

        15.     Since September 23, 2020, CDPH has used the Immunization and Vaccines for

 Children grant funds in a manner fully consistent with CDC’s statements regarding the nature of

 the grant and CDC’s grant application.

        16.     CDPH relies on this grant to operate and maintain its vaccine management

 system, which supports digital vaccine records, scheduling clinical vaccine appointments, and

 vaccine ordering, for COVID-19 as well as other vaccines, for all ages. Addressing deficiencies

 and delays that existed in pre-COVID-19 vaccine access and distribution, this system helps



                                                 5
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 6 of 233 PageID
                                            #: 275



 support the rapid distribution of vaccines and supports critical routine vaccine programs, such as

 the Vaccines for Children (VFC) and Vaccines for Adults (VFA) programs; connects patients

 with tools and resources to receive vaccinations; and provides health care providers and local

 health departments with tools to effectively manage vaccination clinics. This system allows

 health care providers to enroll in these vaccine programs and order and track vaccines. It also

 allows CDPH to allocate, order, and distribute vaccines to health care providers and local health

 jurisdictions serving Medi-Cal patients.

        17.     CDPH relied and acted upon its expectation and understanding that CDC would

 fulfill its commitment to provide Immunization and Vaccines for Children funding it had

 awarded to CDPH. CDPH has relied on these federal funds to maintain the only system to order

 publicly funded vaccines for Californians. Without this system, any participants in the program

 would be unable to access important vaccines, including vaccines for measles, influenza, and

 COVID-19. To illustrate the scope of this impact, the Vaccines for Children (VFC) program

 impacts approximately 4.5 million children – roughly half of California’s youth population – and

 supplies them with over 10 million vaccine doses a year.

        18.     In addition, CDPH relied on the grant to provide operational and maintenance

 support to a variety of systems of vaccination infrastructure, such as California’s digital vaccine

 records, processing students’ medical exemptions from vaccination, and clinic appointments.

 Approximately ten million Californians have relied on the system to obtain their digital vaccine

 records for school, work, and other settings. Without this federal funding, California’s critical

 immunization infrastructure that supports vaccine-preventable disease control efforts and

 response to public health needs would be weakened.




                                                  6
Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25     Page 7 of 233 PageID
                                           #: 276



        19.     Prior to the grant award termination on March 24, 2025, CDC had never provided

 CDPH with notice, written or otherwise, that the grant administered by CDPH was in any way

 unsatisfactory. In fact, the grant had been renewed and expanded at least four times.

 Epidemiology and Laboratory Capacity for Prevention and Control of Emerging Infectious

 Diseases (ELC) Cooperative Agreement Grant Supplements

        20.     On August 8, 2020, CDPH entered into a contract with Public Health Foundation

 Enterprises, Inc. dba Heluna Health (Heluna Health) authorizing Heluna Health to submit a grant

 application to CDC for funding opportunities under the Epidemiology and Laboratory Capacity

 for Infectious Diseases (ELC) Cooperative Agreement. A true and correct copy of the

 corresponding Agreement between CDPH and Heluna Health dated August 8, 2020, is attached

 as Exhibit E. CDPH and Heluna Health has continued to extend this contract through

 amendments. In September 2024, CDPH and Heluna Health executed a Bona Fide Agent

 Designation for purposes of ELC grant submission. A true and correct copy of the corresponding

 Bona Fide Agent Designation between CDPH and Heluna Health dated September 5, 2024, is

 attached as Exhibit F. As such, Heluna Health is the bona fide fiscal agent for the funds and

 CDPH is a subrecipient of the ELC funding.

        21.     In 2020, CDC invited applications for Epidemiology and Laboratory Capacity for

 Prevention and Control of Emerging Infectious Diseases (ELC) Enhancing Detection. In 2021,

 CDC invited applications for ELC Enhancing Detection Expansion, which intended to build on

 the prior work supported under ELC Enhancing Detection. These grants build on the ELC

 Cooperative Agreement and have enhanced the capacity of each recipient jurisdiction’s public

 health capacity to cohesively and comprehensively address infectious disease needs. On or about

 January 31, 2024, CDC clarified there was a no-cost extension for the Enhancing Detection and



                                                 7
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25        Page 8 of 233 PageID
                                            #: 277



 Enhancing Detection Expansion supplements through July 31, 2026. A true and correct copy of

 this guidance is attached, dated January 31, 2024, is attached as Exhibit G.

        22.       These grants were to support the public health response to COVID-19 and lay the

 foundation for the future of public health surveillance. CDC had indicated that the funds were

 allowed for public health activities to prevent or mitigate impacts of communicable diseases

 including, but not limited to, COVID-19. CDC’s June 2020 guidance on the ELC Enhancing

 Detection supplement stated that the funds will not only support COVID-19 response, but “lay

 the foundation for the future of public health surveillance.” A true and correct copy of this

 guidance is attached, is attached as Exhibit H. This broader use was further clarified in the

 CDC’s January 31, 2024, guidance (Exhibit G), which identified that the funds may be used to

 integrate other pathogens and syndromes as long as COVID-19 testing and surveillance is

 included. Costs related to maintenance and operations or licensing of integrated disease

 surveillance systems can be used for COVID-19 and other pathogens, and includes training on

 these systems.

        23.       As set out in its grant proposal, CDPH intended to use the ELC supplemental

 grants to correct shortfalls identified during the pandemic response. These included addressing

 improvements in workforce development, software systems related to outbreak management,

 disease reporting, laboratory reporting, and upgrades and improvements to infrastructure

 including replacement of laboratory equipment, which lays the foundation for the future of

 public health monitoring and improves preparedness for any future public health issues.

        24.       On May 18, 2020, CDC produced a Notice of Award setting forth the terms and

 conditions of the grant award for the ELC Enhancing Detection supplement to Heluna Health.




                                                  8
Case 1:25-cv-00121-MSM-LDA             Document 4-3        Filed 04/01/25       Page 9 of 233 PageID
                                             #: 278



 Heluna Health provided CDPH a copy of this Notice of Award. A true and correct copy of the

 corresponding Notice of Award and its attachments, dated May 18, 2020, is attached as Exhibit I.

        25.     Since May 18, 2020, CDPH has used the ELC Enhancing Detection supplement

 grant funds in a manner fully consistent with CDC’s statements regarding the nature of the grant

 and CDPH’s grant application.

        26.     On January 13, 2021, CDC produced a Notice of Award setting forth the terms

 and conditions of the grant award for the ELC Enhancing Detection Expansion supplement to

 Heluna Health. Heluna Health provided CDPH a copy of this Notice of Award. A true and

 correct copy of the corresponding Notice of Award and its attachments, dated January 13, 2021,

 is attached as Exhibit J.

        27.     Since January 13, 2021, CDPH has used the ELC Enhancing Detection and ELC

 Enhancing Detection Expansion supplement grant funds in a manner fully consistent with CDC’s

 statements regarding the nature of the grant and CDPH’s grant applications.

        28.     CDPH relied on the ELC supplement funds to support the software and systems to

 monitor, investigate and appropriately and timely respond to infectious disease outbreaks, known

 as CalCONNECT. CalCONNECT helps improve timely and efficient management of complex

 cases, contact investigations, and outbreaks, improve response time for investigation, contact

 tracing, monitoring, and public health communications. CalCONNECT has allowed for

 automation that supports the state and local health jurisdictions to collect and share infectious

 disease data faster, identify and prioritize the most vulnerable populations to provide more timely

 public health interventions (e.g., medicines to prevent a second case), and improve accuracy.

 This information is used for disease investigation activities at the state and local level for

 infectious disease including Tuberculosis, Mpox, and HIV, and to monitor cases of novel



                                                   9
Case 1:25-cv-00121-MSM-LDA            Document 4-3       Filed 04/01/25      Page 10 of 233 PageID
                                            #: 279



 infections including Avian flu, Ebola, and Marburg. It also provides a secure way for local health

 jurisdictions to track individuals who require follow up and check-ins to prevent the spread of

 disease. Without these federal funds, the modernized systems face risks including degradation,

 resulting in delays in reporting and identification of outbreaks and care, which could exacerbate

 the spread of disease and puts at risk California’s preparedness for future pandemics.

        29.     Another software system critical for communicable disease prevention is the

 Future Disease Surveillance System (FDSS). Without ELC funding, CDPH’s ability to develop

 the FDSS, which is a critical replacement to the current legacy California Reportable Disease

 Information Exchange (CalREDIE), is uncertain. CalREDIE is an electronic disease reporting

 system to allow local health jurisdictions to submit disease case reports to CDPH. During the

 COVID pandemic, CalREDIE was severely strained by the volume of reports being submitted as

 well as being inflexible to changing reporting requirements, in addition to a problematic inability

 to share data with other systems. The outdated CalREDIE system underwent maximum feasible

 patched updates during the pandemic and does not include two of our largest local health

 jurisdictions with more than 25% of our population; however, it became clear that a

 comprehensive replacement was essential.

        30.     FDSS is intended to replace CalREDIE and allow for submission of data from all

 local health jurisdictions in California. It would be able to import and export data to

 CalCONNECT and other systems and would be the foundation for all reportable diseases to

 allow for more effective and efficient reporting and analysis. The impact would be more timely

 recognition and response to disease trends including to outbreaks and pandemics.

        31.     Additionally, CDPH relies on the grant funds to provide continued training and

 subject matter expertise in areas such as epidemiology and infectious disease to ensure health



                                                  10
Case 1:25-cv-00121-MSM-LDA              Document 4-3       Filed 04/01/25       Page 11 of 233 PageID
                                              #: 280



 providers are sufficiently up to date on preventing spread of communicable diseases including,

 but not limited to, COVID-19, Tuberculosis, Mpox, HIV, Avian flu, Ebola, and Marburg.

 Without funds for this training, California risks gaps in knowledge on preventing the spread of

 disease.

         32.     On or about March 25, 2025, representatives of Heluna Health informed CDPH

 that they plan to issue a stop work order on March 27, 2025, which would require CDPH and the

 local health jurisdictions to halt activities or find alternate funding for state and local staff and

 contracts. CDPH received the stop order on March 28, 2025. Heluna Health provided CDPH

 with a copy of the CDC grant award termination notices that Heluna Health had received. In the

 first notice the CDC purported to end the grant period for all ELC grant supplements, but the

 CDC’s second notice stated that only five ELC related grants were terminated, including the

 ELC Enhancing Detection and ELC Enhancing Detection Expansion. A true and correct copy of

 the grant award terminations are attached as Exhibit K. As set forth therein, according to CDC,

 the termination was based on the end of the COVID-19 pandemic, even though the grants are not

 limited solely to activities related to COVID-19 and expressly authorize investments in public

 health systems and apparatus to prepare for future pandemics. No appeal rights or processes were

 included in this termination notice.

         33.     It is not possible to extrapolate the COVID-specific aspects of these grants. The

 COVID pandemic brought awareness to a broad need to improve our state’s response to a

 pandemic and ability to track and monitor infectious diseases. The funds have helped to

 modernize CDPH’s ability to monitor and collect data on a multitude of threats in real time, to

 help respond to communicable disease outbreaks, and to prevent the further spread of disease




                                                    11
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 12 of 233 PageID
                                            #: 281



 including, but not limited to, COVID-19, Ebola, Marburg, and Avian Influenza. The loss of

 funds will have a major impact on CDPH’s ability to protect public health.

                     Further ELC Grant Termination Impacts to California

        34.     The Notice of Award terminating the supplement grants for which CDPH is a

 subrecipient also showed three other supplement ELC grants were being terminated by CDC

 effective on or about March 25, 2025, including Coronavirus Aid, Relief, and Economic Security

 Act (CARES); Strengthening Healthcare Associated Infections/Anti-Microbial Resistance

 (HAI/AR) Program Capacity 2 (SHARP 2+); and Infection Prevention Control (IPC).

        35.     While CDPH may not receive direct federal funding for the ELC IPC, CARES or

 SHARP2+ supplemental grants, CDPH and local health departments rely on the funds and the

 public health benefits from funded services. Prior to the pandemic, the public health

 infrastructure had not been enhanced or modernized to be equipped to handle public health

 emergencies and large outbreaks of disease.

        36.     These supplemental grants are used to support California’s strengthening of

 public health resources. In particular, the ELC SHARP 2+ funds were intended to contract with a

 CDC-identified vendor to develop a database to collect real-time data on available hospital beds.

 Having such information will assist hospitals in directing injured and ill patients to available

 health facilities during all types of emergencies, where efficient routing saves lives. In response

 to this opportunity, California enacted Chapter 999, Statutes of 2024 (A.B. 177), to require

 health facilities to report real-time hospital bed availability data via the proposed database that

 the identified vendor has developed for such purpose. The termination of this federal funding

 jeopardizes a centralized database, which risks slowing access to care in emergencies.




                                                  12
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25       Page 13 of 233 PageID
                                            #: 282



        37.     CDPH regulates and licenses nursing facilities and also manages the HAI

 (healthcare acquired infections) program. IPC funds help CDPH train staff from California

 nursing facilities in infection prevention control against all communicable diseases such as

 COVID-19, Tuberculosis, norovirus, and the many communicable diseases common in nursing

 home facilities.

        38.     CARES funds have been used to increase qualified staffing to build public health

 infrastructures, especially among those local health departments that are rurally isolated and do

 not have a large staff pool from which to hire. CARES allowed for the staffing and training of

 professionals such as epidemiologists, microbiologists, laboratory staff, disease investigators and

 surveillance staff, and administrators in local health departments.

 Health Disparities Grant

        39.     In 2021, CDC invited applications for National Initiative to Address COVID-19

 Health Disparities Among Populations at High-Risk and Underserved, Including Racial and

 Ethnic Minority Populations and Rural Communities (Health Disparities grant).

        40.     The Health Disparities grant was for the purpose of improving testing capabilities

 and other COVID-19 response activities in populations that are at high-risk and underserved,

 including racial and ethnic minority groups and people living in rural communities, including

 developing or identifying best practices for states and public health officials to use for contact

 tracing. The Health Disparities grant was also intended to address COVID-19 related health

 disparities and advance health equity (e.g., through strategies, interventions, and services that

 consider systemic barriers and potentially discriminatory practices that have put certain groups at

 higher risk for diseases like COVID-19) in racial and ethnic minority groups and rural

 populations within state, local, US territorial, and freely associated state health jurisdictions. As



                                                   13
Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25      Page 14 of 233 PageID
                                           #: 283



 described in the notice of funding opportunity, “[a]ll strategies should aim to build

 infrastructures that both address disparities in the current COVID-19 pandemic and set the

 foundation to address future response.” A true and correct copy of the notice of funding

 opportunity, dated May 3, 2021 are attached as Exhibit L.

        41.     CDC approved CDPH’s Health Disparities grant on May 26, 2021, for the term of

 June 1, 2021, to June 1, 2023. On September 9, 2022, CDC awarded a no-cost extension to May

 31, 2024. On April 12, 2024, CDC awarded a second and final no-cost extension until May 31,

 2026

        42.     On May 26, 2021, CDC produced a Notice of Award setting forth the terms and

 conditions of the grant award. A true and correct copy of the corresponding Notice of Award and

 its attachments, dated May 26, 2021, is attached as Exhibit M.

        43.     Since June 2021, CDPH has used the Health Disparities grant funds in a manner

 fully consistent with CDC’s statements regarding the nature of the grant and CDPH’s grant

 application.

        44.     CDPH relied on the funds to strengthen public health infrastructure with an equity

 lens, preparedness, and response capabilities and services. Forty-seven local health

 jurisdictions— that already work closely with and understand how to most efficiently and

 effectively reach underserved, high risk, and disproportionally affected demographics—have

 used the grant funds for developing health equity plans and to design and implement plans for

 data collection and reporting. Local health jurisdictions have also provided mental health

 services to youth, families, and schools; provided culturally and linguistically accessible health

 services; provided health information and data to community members; provided emergency




                                                 14
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 15 of 233 PageID
                                            #: 284



 preparedness supplies to community members; and hired equity staff and program staff at the

 local health jurisdictions.

         45.     CDPH has complied with the requirements of the grant, and the grant was

 extended twice to complete all project activities. To the best of my knowledge, local health

 jurisdictions and community-based organizations have also complied with the requirements of

 the grant.

         46.     On March 25, 2025, without any prior notice or indication, CDPH was informed

 that the Health Disparities grant was being terminated as of March 24, 2025. A true and correct

 copy of the grant award termination notice is attached as Exhibit N. As set forth therein,

 according to CDC, the termination was based on the end of the COVID-19 pandemic. No appeal

 rights or processes were included in this termination notice.

         47.     Without the funds, the final reports and health improvement plans, and data

 collection plans from local health jurisdictions will not be completed, preventing CDPH from

 learning how to better and more efficiently respond to specific communities in future public

 health crises, which could exacerbate health disparities. Additionally, as many of these

 communities impacted by health disparities and inequalities already face distrust in public health

 and public health jurisdictions due to health disparities and inequalities, failure to complete this

 work may erode these communities’ public trust of local health jurisdictions and CDPH and,

 exacerbate gaps already identified during the COVID-19 pandemic.

         48.     All told, there is approximately $800 million remaining on the Immunization and

 Vaccines for Children grant; ELC Expansion, Enhancement Detection, CARES, IPC, and

 SHARP 2+ grant supplements and Health Disparities grants, with roughly $500 million obligated

 to the state and roughly $300 million obligated to the local health departments. California relied



                                                  15
Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25      Page 16 of 233 PageID
                                           #: 285



 upon the CDC’s commitments and is mid-stream on numerous critical projects for the

 modernization and improvement of California’s pandemic response infrastructure based on the

 expectation that CDC would fulfill those commitments. As CDC indicated in its previous

 guidance, the need for these funds extends beyond the COVID-19 pandemic. Recently,

 California has used the grant supported programs to coordinate with local health jurisdictions

 and monitor and respond the avian flu and CDPH’s vaccination and schedule systems are used to

 find and schedule vaccine appointments for the seasonal flu (which may reduce the chance of

 human and avian flu viruses mixing and becoming more dangerous) and avian flu testing.

        49.     The CDC's abrupt termination causes irreparable harm by ceasing critical projects

 mid-stream, throwing those efforts into doubt and creating a serious risk that the resources

 expended thus far will go to waste without accomplishing their intended goals. Rather than

 taking the lessons from COVID-19 and putting them into action, the unexpected termination

 leaves California unprepared for future pandemics and risks exacerbating the spread of otherwise

 preventable disease.

       I declare under penalty of perjury under the laws of the United States that, to the best of

 my knowledge, the foregoing is true and correct.

       Executed on March 29, 2025, in Sacramento, California.



                                       By: __________________________________
                                              Susan Fanelli
                                              Chief Deputy Director of Health Quality and
                                              Emergency Response
                                              California Department of Public Health




                                                  16
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 17 of 233 PageID
                                   #: 286




                                Exhibit A
 Case 1:25-cv-00121-MSM-LDA                Document 4-3          Filed 04/01/25        Page 18 of 233 PageID
                                                 #: 287

           Updated Clarity and Guidance Related to your IP19-1901 COVID-19 Funding

Clarification of Allowable Activities for the COVID 3* and COVID 4* Supplements

   •   As the COVID-19 vaccine becomes more integrated into the routine immunization schedule, COVID-19
       funded activities should still focus on directly benefiting COVID vaccine coverage and uptake. Activities
       can be conducted and integrated within broader immunization program activities. Examples of broad-
       scale immunization work directly benefiting COVID vaccine coverage that can be COVID-19-funded
       include (not exhaustive):

           o   Vaccine confidence activities
           o   Vaccine equity activities
           o   General provider or patient education
           o   IIS enhancements and data modernization

   •   COVID-19-funded infrastructure and activities may integrate other ACIP-recommended vaccines as long
       as COVID-19 vaccine is included in the effort. Examples include (not exhaustive):

           o   COVID-funded personnel may also conduct activities to raise awareness and coverage of other
               VPDs, as long as COVID-19 awareness and coverage continues to be included in the effort
           o   COVID-funded personnel that conduct COVID site visits may also conduct provider site visits for
               adult and VFC providers, as needed, as long as they continue to also conduct COVID site visits
           o   COVID-funded contracts may include other ACIP-recommended vaccination activities, as long as
               COVID-19 vaccine work remains a central part of the activities. Recipients should consult with
               their IOSB Project Officer, and their jurisdiction acquisition office as necessary, prior to
               establishing new contracts or making changes to existing contracts.
           o   COVID-related vaccination activities (e.g., personnel, mobile clinics, etc.) may also add other
               vaccines to their work

   •   Regarding flexibilities related to contractual activities, consult with your jurisdiction acquisition office to
       learn more about your jurisdiction-specific policies. This will also require negotiation with the intended
       vendor.
           o Service agreements, also sometimes called a maintenance agreement/contract, are a unique
               type of contract that is frequently paid up-front and covers a specified timeframe. Service
               agreements function like warranties, in that they are paid up front, cover a specified period of
               time in the future, and should they be needed, no additional costs occur. Service agreements
               that are paid up-front and have no additional costs associated at a later date can have
               timeframes that exceed the Immunization and Vaccines for Children cooperative agreement
               period of performance which is currently June 30, 2024.

   • Suggested List of Specific Activities, As Needed, for Use of Remaining COVID Funding
   • Continue active COVID-19 vaccine distribution, administration, and oversight
   • COVID-19 inventory reconciliation exercise
   • Purchase of storage & handling supplies and, including DDLs, for providers.
   • Funding IIS enhancements related to vaccine ordering, inventory management, and recording waste
   • Communication of COVID-19 vaccine recommendation changes in preparation for Fall 2023
   • Partner retention and integration, including continuing partnerships with pharmacies
   • Maintaining awareness of vaccine coverage in LTCF/SNF
Updated 7/6/2023
 Case 1:25-cv-00121-MSM-LDA              Document 4-3         Filed 04/01/25       Page 19 of 233 PageID
                                               #: 288

   •   Strengthening VPD coverage in Health Care Settings including HCW, Dialysis, LTCF
   •   Development of a COVID After-Action-Report
   •   Enhancement of COVID surveillance activities and reporting

Three Activities No Longer Allowable

   •   New incentive requests, new requests to purchase vehicles, and new requests for construction are no
       longer allowable. This applies to direct awardees and subrecipients (e.g., LHDs). The allowance of these
       purchases was uniquely given during the pandemic, but they are not allowed under routine operations
   •   Leasing vehicles remains an allowable use of IP19-1901 funds
   •   All incentive, vehicle, and construction approvals already received remain effective and allowable until
       the funds are expended




*COVID3 and COVID4 Supplements as described here:

   •   COVID-19 Vaccination Supplemental Funding (cdc.gov)
   •   COVID-19 Vaccination Supplement 4 April 2021 (cdc.gov)




Updated 7/6/2023
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 20 of 233 PageID
                                   #: 289




                                Exhibit B
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 21 of 233 PageID
                                   #: 290
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 22 of 233 PageID
                                   #: 291
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 23 of 233 PageID
                                   #: 292
    Case 1:25-cv-00121-MSM-LDA           Document 4-3   Filed 04/01/25   Page 24 of 233 PageID
                                               #: 293
                                 AWARD ATTACHMENTS
California Department of Public Health
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25     Page 25 of 233 PageID
                                           #: 294


  AWARD INFORMATION

 Incorporation: In addition to the federal laws, regulations, policies, and CDC General Terms and
 Conditions for Non-research awards at
 https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for Disease Control
 and Prevention (CDC) hereby incorporates Notice of Funding Opportunity (NOFO) number IP19-
 1901, entitled, Immunization and Vaccines for Children, which are hereby made a part of this
 Non-research award, hereinafter referred to as the Notice of Award (NoA).


  Supplemental Component Funding: Additional funding in the amount $29,324,628 is
  approved for the Year 02 budget period, which is July1, 2020 through June 30, 2021.

  The NOFO provides for the funding of multiple components under this award. The approved
  component funding levels for this notice of award are:

   NOFO Component                                                         Amount

   CORE                                                                   $643,096

   COVID-19 CARES                                                         $28,681,532


  Recipients have until July 5, 2021 to expend all COVID-19 funds awarded herein

  Overtime: Because overtime costs are a very likely and reasonable expense during the
  response to COVID-19, CDC will allow recipients to include projected overtime in their
  budgets. Recipients should be careful to estimate costs based on current real-time needs and
  will still be required to follow federal rules and regulations in accounting for the employees’
  time and effort.

  Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
  agreement awarded by the Department of Health and Human Services (HHS) with funds made
  available under the Coronavirus Preparedness and Response Supplemental Appropriations
  Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic Security Act, 2020 (the
  “CARES Act”) (P.L. 116-136); and/or the Paycheck Protection Program and Health Care
  Enhancement Act (P.L. 116-139) agrees, as applicable to the award, to: 1) comply with existing
  and/or future directives and guidance from the Secretary regarding control of the spread of
  COVID-19; 2) in consultation and coordination with HHS, provide, commensurate with the
  condition of the individual, COVID-19 patient care regardless of the individual’s home
  jurisdiction and/or appropriate public health measures (e.g., social distancing, home isolation);
  and 3) assist the United States Government in the implementation and enforcement of federal
  orders related to quarantine and isolation.

  In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES
  Act, with respect to the reporting to the HHS Secretary of results of tests intended to detect
  SARS– CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in
  accordance with guidance and direction from HHS and/or CDC. HHS laboratory reporting
  guidance is posted at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 26 of 233 PageID
                                            #: 295


  reporting-guidance.pdf.

  Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
  purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
  copies of and/or access to COVID-19 data collected with these funds, including but not limited
  to data related to COVID-19 testing. CDC will specify in further guidance and directives what
  is encompassed by this requirement.

  This award is contingent upon agreement by the recipient to comply with existing and
  future guidance from the HHS Secretary regarding control of the spread of COVID-19. In
  addition, recipient is expected to flow down these terms to any subaward, to the extent
  applicable to activities set out in such subaward.

  Unallowable Costs:
     • Research
     • Clinical care
     • Publicity and propaganda (lobbying):
           o Other than for normal and recognized executive-legislative relationships,
               no funds may be used for:
                    publicity or propaganda purposes, for the preparation, distribution, or use
                       of any material designed to support or defeat the enactment of legislation
                       before any legislative body
                    the salary or expenses of any grant or contract recipient, or agent acting
                       for such recipient, related to any activity designed to influence the
                       enactment of legislation, appropriations, regulation, administrative
                       action, or Executive order proposed or pending before any legislative
                       body
           o See Additional Requirement (AR) 12 for detailed guidance on this prohibition
               and additional guidance on lobbying for CDC recipients:
               https://www.cdc.gov/grants/documents/Anti-
               Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf

     •   All unallowable costs cited in CDC-RFA-CK19-1904 remain in effect, unless specifically
         amended in this guidance, in accordance with 45 CFR Part 75 – Uniform Administrative
         Requirements, Cost Principles, And Audit Requirements for HHS Awards.

  COVID-19 and VFC Funding Budget Revision Requirement: The recipient must submit a
  revised budget with a narrative justification and workplan within 30 days after the receipt of
  this Notice of Award. Failure to submit the required information in a timely manner may
  adversely affect the future funding of this project. If the information cannot be provided by the
  due date, you are required to contact the GMS/GMO identified in the CDC Staff Contacts
  section of this notice before the due date. A separate narrative and workplan must be
  submitted in accordance with the COVID-19 guidance and must also be uploaded in
  GMM as an amendment with a SF424A.
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 27 of 233 PageID
                                            #: 296


   REPORTING REQUIREMENTS



  Required Disclosures for Federal Awardee Performance and Integrity Information
  System (FAPIIS): Consistent with 45 CFR 75.113, applicants and recipients must disclose in a
  timely manner, in writing to the CDC, with a copy to the HHS Office of Inspector General (OIG),
  all information related to violations of federal criminal law involving fraud, bribery, or gratuity
  violations potentially affecting the federal award. Subrecipients must disclose, in a timely
  manner in writing to the prime recipient (pass through entity) and the HHS OIG, all information
  related to violations of federal criminal law involving fraud, bribery, or gratuity violations
  potentially affecting the federal award. Disclosures must be sent in writing to the CDC and to
  the HHS OIG at the following addresses:

 CDC, Office of Grants Services




             @cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

  AND

  U.S. Department of Health and Human Services




                      (Include “Mandatory Grant Disclosures” in subject line)
  or Email: MandatoryGranteeDisclosures@oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and
  contracts under this award.
  Failure to make required disclosures can result in any of the remedies described in 45 CFR
  75.371. Remedies for noncompliance, including suspension or debarment (See 2 CFR parts
  180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the period of
  performance due to material failure to comply with the terms and conditions of this award in
  the OMB-designated integrity and performance system accessible through SAM (currently
  FAPIIS). (45 CFR 75.372(b)) CDC must also notify the recipient if the federal award is
  terminated for failure to comply with the federal statutes, regulations, or terms and conditions
  of the federal award. (45 CFR 75.373(b))
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 28 of 233 PageID
                                   #: 297
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 29 of 233 PageID
                                   #: 298




                                Exhibit C
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 30 of 233 PageID
                                   #: 299
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 31 of 233 PageID
                                   #: 300




                                Exhibit D
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 32 of 233 PageID
                                   #: 301
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 33 of 233 PageID
                                   #: 302
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 34 of 233 PageID
                                   #: 303
     Case 1:25-cv-00121-MSM-LDA         Document 4-3   Filed 04/01/25   Page 35 of 233 PageID
                                              #: 304
                                      AWARD ATTACHMENTS
Public Health, California Department of
1. Terms & Conditions - Termination
Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25      Page 36 of 233 PageID
                                           #: 305


 TERMS AND CONDITIONS OF AWARD



 Termination: The purpose of this amendment is to terminate the use of any remaining COVID-19
 funding associated with this award. The termination of this funding is for cause. HHS regulations
 permit termination if “the non-Federal entity fails to comply with the terms and conditions of the
 award”, or separately, “for cause.” The end of the pandemic provides cause to terminate COVID-
 related grants and cooperative agreements. These grants and cooperative agreements were issued
 for a limited purpose: To ameliorate the effects of the pandemic. Now that the pandemic is over, the
 grants and cooperative agreements are no longer necessary as their limited purpose has run out.
 Termination of use of funding under the listed document number(s) is effective as of the date set
 out in your Notice of Award.

 Impacted document numbers are included on page 2 of this Notice of Award (NoA).

 No additional activities can be conducted, and no additional costs may be incurred, as it relates to
 these funds. Unobligated award balances of COVID-19 funding will be de-obligated by CDC. Award
 activities under other funding may continue consistent with the terms and conditions of the award.

 Final Federal Financial Report (FFR, SF-425): Within 30 days please submit Final FFRs for
 impacted document numbers. The FFR should only include those funds authorized and expended
 during the timeframe covered by the report. The ﬁnal report must indicate the exact balance of
 unobligated funds and may not reﬂect any unliquidated obligations. Should the amount not match
 with the ﬁnal expenditures reported to the Payment Management System (PMS), you will be
 required to update your reports to PMS accordingly.

 All other terms and conditions of this award remain in effect.
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 37 of 233 PageID
                                   #: 306




                                Exhibit E
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 38 of 233 PageID
                                   #: 307
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 39 of 233 PageID
                                   #: 308
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 40 of 233 PageID
                                   #: 309
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 41 of 233 PageID
                                   #: 310
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 42 of 233 PageID
                                   #: 311
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 43 of 233 PageID
                                   #: 312
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 44 of 233 PageID
                                   #: 313
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 45 of 233 PageID
                                   #: 314
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 46 of 233 PageID
                                   #: 315
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 47 of 233 PageID
                                   #: 316
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 48 of 233 PageID
                                   #: 317
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 49 of 233 PageID
                                   #: 318
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 50 of 233 PageID
                                   #: 319
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 51 of 233 PageID
                                   #: 320
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 52 of 233 PageID
                                   #: 321
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 53 of 233 PageID
                                   #: 322
       Case 1:25-cv-00121-MSM-LDA        Document 4-3     Filed 04/01/25   Page 54 of 233 PageID
California Department of Public Health         #: 323
Heluna Health – Scope of Work (SOW)


         Goal:
         To address identified gaps (public health workforce, laboratory testing, surveillance,
         contact tracing, and expanding key partnerships) to ensure that the California
         Department of Public Health (CDPH) can move farther and quicker in preparation for
         increased disease transmission across the state associated with reopening, with a
         specific lens on addressing the needs of those most at risk for exposure to COVID-19
         and/or severe outcomes.
         CDPH will ensure that all activites and milestones in the ELC Enhancing
         Detection/PPPHCEA application are completed with a focus on the following objectives
         and activities:

            A. Objective 1: Support additional state and local response workforce.
               1. Major Functions, Tasks, and Activities:
                    a. Increase capacity for case investigation and contact tracing at the state
                       and local levels.
                    b. Increase capacity for disease control activities by:
                          i. Conducting public outreach to promote non-pharmaceutical
                             interventions.
                         ii. Expanding local public health infection control capacity.
                        iii. Supporting isolation and quarantine efforts through local
                             partnerships.

               2. Timeline: May 2020 – December 2022.

               3. Deliverables/ Performance Measures:
                     a. In collaboration with Local Health Jurisdictions (LHJs), CDPH will
                         determine an allocation formula to distribute funds to assist the scale
                         up of local contact tracing program staff by July 2020.
                     b. CDPH will execute contracts with 58 county local health departments
                         (LHDs) to expand their local contact tracing efforts by August 2020.
                     c. Conduct LHJ Infection Prevention and Control (IPC) needs
                         assessment interviews and hold LHJ focus groups to identify training
                         and resource needs for the LHJ Infection Prevention (IP) and
                         mechanisms for coordination with CDPH Health Care Associated
                         Infections (HAI) Program IP teams by July 2020.
                     d. Using findings from the LHJ IPC needs assessment and focus groups,
                         create and provide a written summary and presentation on roles and
                         best practices for the LHJ IP and framework for support and
                         coordination with CDPH HAI Program IP teams by August 2020.
                     e. Establish mentorship and collaborative partnerships between LHJ IP
                         and CDPH HAI IP teams by assigning specific LHJs to each HAI IP
                         team by September 2020.
                     f. Engage California HAI Advisory Committee members regarding
                         potential academic and health systems (e.g., Kaiser) partnerships for
Case 1:25-cv-00121-MSM-LDA        Document 4-3    Filed 04/01/25   Page 55 of 233 PageID
                                        #: 324



                   expanding local IPC consultation and support services in coordination
                   with LHJ IP and CDPH HAI Program IP teams by September 2020.
                g. Conduct an analysis of occupational risks associated with COVID-19 to
                   inform occupational guidelines and strategic plans by September 2021.

    B. Objective 2: Expand laboratory capacity in CDPH and local public health
       laboratories.
       1. Major Functions, Tasks, and Activities:
              a. Improve public health laboratory data systems.
              b. Enhance coordination for COVID-19 response with local public health
                  laboratories in California.
              c. Support expanded testing capacity.
              d. Support improved information systems in local public health
                  laboratories.
              e. Support training for local public health laboratories.

       2. Timeline: May 2020 – December 2022.

       3. Deliverables/ Performance Measures:
             a. Assess Public Health Laboratories' (PHLs) current capacity and needs
                 for laboratory information management systems and electronic test
                 reporting software by September 2020.
             b. Work with local PHLs to develop goals for LIMS software functionality,
                 web portals and interfaces needed by November 2020.
             c. Develop and implement plan to distribute local allocations for COVID-
                 19 data management and analytic capacity improvement to local
                 Public Health Departments by December 2020.
             d. Implement an electronic data exchange user feedback system to
                 provide detailed quality assurance of successful and accurate PHL
                 data transmission by June 2021.
             e. Procure high throughput molecular and serology equipment to increase
                 and expand COVID-19 testing capacity at the State PHL (Viral and
                 Rickettsial Disease Laboratory or VRDL) for diagnostic testing, sero-
                 surveillance, and community surveillance studies by September 2020.
             f. Coordinate with CA Network of local PHLs to procure high throughout
                 molecular and serology equipment to increase and expand COVID-19
                 testing capacity throughout the State for diagnostic testing, sero-
                 surveillance, and community surveillance studies by September 2020.
             g. Maintain/extend the current contract with OptumServe and Verily for
                 community collection/testing sites by July 2020.



 Rev 08/01/20
Case 1:25-cv-00121-MSM-LDA         Document 4-3     Filed 04/01/25    Page 56 of 233 PageID
                                         #: 325



                h. Establish mobile collection and/or testing units for community testing in
                   hot spots - strike teams for rapid deployment to areas of concern (e.g.,
                   congregate settings, rural communities, migrant worker sites) by
                   September 2020.
                i. Coordinate with local PHLs to link up with mobile sample collection
                   operations/clinics to receive specimens for quick testing turnaround
                   times and resulting by October 2020.

    C. Objective 3: Enhance statewide COVID-19 surveillance.
       1. Major Functions, Tasks, and Activities:
             a. Implement additional surveillance strategies.
             b. Improve disease reporting data systems.
             c. Support case investigation efforts that will increase completeness of
                data on race and ethnicity and other demographic factors.
             d. Data on contact tracing will be added to CDPH dashboards.
             e. Initiate enhanced surveillance activities to collect data on
                seroprevalence and prevalence of SARS-CoV-2 among asymptomatic
                persons and persons with Influenza-like Illness (ILI) across California.
             f. Make data available to stakeholders pursuant to state and federal
                privacy laws.
             g. Collect data on the indirect impacts of the COVID-19 pandemic as well
                as the causes of COVID-19 health disparities and publish.
             h. Enhance local capacity to collect surveillance data and make them
                available.

       2. Timeline: May 2020 – December 2022.

       3. Deliverables/ Performance Measures:
              a. Build a California public health workforce to conduct other enhanced
                 surveillance systems that includes hiring and training a CDPH team of
                 2 Medical Epidemiologists, 2 PhD Epidemiologists, and 10 MPH
                 Epidemiologists and partner with local academic universities by
                 September 2020.
              b. Systematically collect and report epidemiologic and laboratory data
                 from the LHJ community surveillance sites and population-based
                 serosurvey in an automated daily fashion as required by CDC and
                 with integration into other CDPH data reporting systems by October
                 2020.




 Rev 08/01/20
Case 1:25-cv-00121-MSM-LDA        Document 4-3       Filed 04/01/25    Page 57 of 233 PageID
                                        #: 326



                c.   Receive and process electronic case reports for SARS-CoV-2 and
                     other conditions of public health significance into the statewide
                     surveillance system on a daily basis by October 2020.


    D. Objective 4: Address the disproportionate impact of COVID-19 on some
       populations, which is central to public health's response activities.
       1. Major Functions, Tasks, and Activities:
           a. Assess and monitor infections in healthcare workers across the
                healthcare spectrum.
           b. Monitor cases and exposure to COVID-19 to identify need for targeted
                mitigation strategies to isolate and prevent further spread within high-
                risk healthcare facilities (e.g., hospitals, dialysis clinics, cancer clinics,
                nursing homes, and other long-term care facilities, etc.).
           c. Monitor cases and exposure to COVID-19 to identify need for targeted
                mitigation strategies to isolate and prevent further spread within high-
                risk employment settings (e.g., meat processing facilities), and
                congregate living settings (e.g., prisons, youth homes, shelters).
           d. Work with LHDs to build local capacity for reporting, rapid containment
                and prevention of COVID-19/SARS-CoV-2 within high-risk settings or in
                vulnerable populations that reside in their communities.
           e. Build capacity for IPC in Long-Term Care Facilities (LTCF) (e.g., at
                least one IP for every facility) and outpatient settings.

       2. Timeline: May 2020 – December 2022.

       3. Deliverables/ Performance Measures:
           a. Determine allocation process for distributing funding to LHJs to support
                communities of color in low-income areas with supportive services for
                isolation and quarantine by August 2020.
           b. In partnership with LHJs, develop strategies and tools for a
                comprehensive approach to reach vulnerable populations to support
                communities of color in low-income areas with supportive services for
                isolation and quarantine by September 2020.
           c. Monitor progress of LHJs quarterly to support communities of color in
                low-income areas for isolation and quarantine.
           d. Conduct a competitive process to allocate $5 million for pilot projects to
                community based organizations and non-profits by July 2020.
           e. CDPH to execute contract with 15-20 Community Based Organizations
                or non-profits for pilot projects by September 2020.




 Rev 08/01/20
Case 1:25-cv-00121-MSM-LDA       Document 4-3     Filed 04/01/25    Page 58 of 233 PageID
                                       #: 327



            f.   Develop Best Practices document based on the outcomes of the pilot
                 projects by January 2021.

    E. Objective 5: Fund LHJs through grants or contracts allocated based on local
       population and specific factors related to COVID-19 (e.g., disease incidence or
       levels of disparity in different populations).
       1. Major Functions, Tasks, and Activities:
            a. Local funding allocation formulas will be developed with input from
                  LHJs.
            b. Provide support to LHJs:
                     i.  Guidance development.
                  ii.   Expert consultation.
                 iii.   Training.
                 iv.    Provision of surge staffing.
                  v.    Purchasing and distribution of supplies.
                 vi.    Laboratory testing.
                vii.    Coordination and communication support.

       2. Timeline: May 2020 – December 2022.

       3. Deliverables/ Performance Measures:
           a. Determine allocation formula to distribute $30 Million to local health
                jurisdictions in collaboration with key stakeholder groups by July 2020.
           b. Establish contracts with local health jurisdictions for IPC activities by
                August 2020.
           c. Hire three full time employees for a 24 month term by August 2020.
           d. In collaboration with local health jurisdictions, conduct investigations of
                workplace COVID-19 clusters, evaluate exposures, offer technical
                assistance, and make recommendations to minimize risk of
                transmission. Prioritize workplace settings affecting large numbers of
                workers at high risk for COVID-19 exposure and overall health
                disparities (e.g., food production, services sector, warehousing,
                manufacturing). As possible, conduct outreach to these sectors to
                promote use of effective prevention measures by September 2020.


    F. Objective 6: Support coordination of California Connected, the statewide contact
       tracing program.
       1. Major Functions, Tasks, and Activities:
             a. Train state and local staff through virtual training academy.
             b. Deploy state personnel to enhance local contact tracing activities.


 Rev 08/01/20
Case 1:25-cv-00121-MSM-LDA      Document 4-3      Filed 04/01/25   Page 59 of 233 PageID
                                      #: 328




       2. Timeline: May 2020 – December 2022.

       3. Deliverables/ Performance Measures:
           a. The Reporting and Analytics team will oversee the collection and
                analysis of surveillance data, informatics, evaluation, and quality
                assurance of the program and quality management oversight of the
                expanded contact tracing workforce by August 2020.
           b. The Training and Workforce Development Team will provide oversight
                of the Virtual Training Academy for case investigators and contact
                tracers, provide ongoing training and support for the contact tracing
                supervisors, develop and implement a plan for additional workforce
                training needs on cultural competency and other skill-based enhances
                training, and manage workforce surge needs by August 2020.
           c. The Local Capacity and Local Health Jurisdiction Support team will
                assess local health jurisdiction needs and gaps, provide technical
                support in addressing barriers or contact tracing staffing needs, and
                provide programmatic technical assistance for local grants by July
                2020.
           d. The Medical and Scientific Affairs Team will develop program policy
                and response, provide clinical, public health, and programmatic
                consultation to local health jurisdictions, develop guidance for LHJs and
                providers, and provide clinical expertise to program teams by August
                2020.
           e. The Communications and Social Media Team collaborates with the
                California Office of Public Affairs and the Governor's Office on public
                communications and campaigns, develops and implements the
                communication plan for the LHJs and other stakeholders, and
                maintains and updates the public website by August 2020.
           f. CDPH to hire staff to support the implementation of the statewide
                contact tracing program by August 2020.
            g. CDPH will work with Heluna Health to ensure timely monthly, quarterly
                      and annual reporting, including progress reports, performance
                    measures, and any other ELC required data or program reporting.




 Rev 08/01/20
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 60 of 233 PageID
                                   #: 329
                                              Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25   Page 61 of 233 PageID
                                                                                         #: 330
                                                                                                                                                                  Exhibit B-Budget
                                                                                                                                                                       Page 1 of 1
                                                                                        FY 2020-21
                                                                                    Exhibit B - BUDGET




                                                                                           ELC CDPH Budget
1. Personnel
   Position Title                                                           Monthly Salary      FTE Benefits       YEAR 1              YEAR 2             YEAR 3                 Total
                                                                                                                May 20-April 21     May 21-April 22    May 22-Nov 22
   EPO - Staff Services Manager I (Spec)                                     $            6,124 1.0    55.34% $            73,488 $          73,488    $       42,872    $          189,848
   Admin - Staff Services Manager I                                          $            6,430 1.0    55.34% $            77,160 $          73,488    $       45,014    $          195,662
   EPO - Associate Governmental Program Analyst                              $            5,676 1.0    55.34% $            68,112 $          68,112    $       39,736    $          175,960
   EPO - Associate Governmental Program Analyst                              $            5,676 1.0    55.34% $            68,112 $          68,112    $       39,736    $          175,960
   EPO - Associate Governmental Program Analyst                              $            5,676 1.0    55.34% $            68,112 $          68,112    $       39,736    $          175,960
   Admin - Associate Governmental Program Analyst                            $            5,676 1.0    55.34% $            68,112 $          68,112    $       39,736    $          175,960
   Admin - Associate Governmental Program Analyst                            $            5,676 1.0    55.34% $            68,112 $          68,112    $       39,736    $          175,960
   EPO - Health Program Specialist I                                         $            5,818 1.0    55.34% $            69,816 $          69,816    $       40,730    $          180,362
   OHE - Health Program Specialist II                                        $            6,995 1.0    55.34% $               -   $          83,940    $       48,969    $          132,909
                                                                                                 9.0
                                                                                          1. Personnel Subtotal $         561,024 $         641,292    $      376,264    $        1,578,580
2. Equipment
   Strengthen Viral and Rickettsial Disease Lab (CDPH) Equipment and Supplies (Increase to high thru put of      $       1,000,000 $       2,000,000 $       1,000,000   $        4,000,000
   1000 tests for PCR and allows serology testing in larger numbers)
                                                                                      2. Equipment Subtotal      $      1,000,000    $     2,000,000   $     1,000,000   $        4,000,000
3. Supplies
   General Expense ($4000/FTE)                                                                                   $         32,000 $             36,000 $       21,000 $              89,000
   Printing ($2000/FTE)                                                                                          $         16,000 $             18,000 $       10,500 $              44,500
                                                                                         3. Supplies Subtotal    $          48,000 $             54,000 $       31,500 $            133,500
4. Travel (In-State)
   CDPH Staff Cost ($3000/FTE)                                                                                   $             -     $          3,000 $         2,000    $               5,000
                                                                                4. Travel (In-State) Subtotal    $             -     $          3,000 $         2,000    $               5,000
5. Travel (Out-of-State)
   Not Applicable                                                                                                $             -     $            -    $           -         $               -
                                                                           5. Travel (Out-of-State) Subtotal     $             -     $            -    $           -         $               -
6. Other
   Replacement for CalREDIE system, short term solution and long term build includes project management,         $      12,400,000 $      24,800,000 $      12,400,000   $       49,600,000
   system build, etc.
   CDPH Staff Facilities Costs ($11,000/FTE)                                                                     $         88,000 $             99,000 $       57,750    $          244,750
   Lab Staff Facilities Costs ($30,000/FTE) for Emerging Detection                                               $         90,000 $             90,000 $       52,500    $          232,500


   Lab Staff Facilities Costs ($30,000/FTE) for ELC CARES                                                        $        180,000 $         180,000 $         105,000    $          465,000


   CDPH Staff Communications Costs ($2000/FTE)                                                                   $         16,000 $             18,000 $       10,500    $           44,500


   CDPH Staff Consolidated Data Center Costs ($1000/FTE)                                                         $          8,000    $        9,000    $        5,250    $           22,250
   CDPH Staff IT Bundle ($7000/FTE)                                                                              $         56,000    $       63,000    $       36,750    $          155,750
   SAS Lisences for HH Staff ($642/25 FTE)                                                                       $         16,050    $       16,050    $       16,050    $           48,150
   Accurint/Lexis Nexis Licenses (4 licenses@ $90/person/month                                                   $          4,320    $        4,320    $        4,320    $           12,960
   IT Services for Heluna Health Staff ($7000/18 FTE) other HAI                                                  $        126,000    $      126,000    $       73,500    $          325,500



   IT Services for Heluna Health Staff ($7000/54 FTE) other Emerging Infectious Disease                          $        378,000 $         378,000 $         220,500    $          976,500




   IT Services for Heluna Health Staff ($7000/80 FTE) Enhancing Detection                                        $         560,000 $        560,000 $          326,667   $        1,446,667
                                                                                             6. Other Subtotal   $      13,922,370 $     26,343,370 $       13,308,787   $       53,574,527
7. Subcontracts
   A. Local-Level Subontracts
   Alameda                                                                                                       $       4,393,667   $     4,393,667   $     2,929,112   $       11,716,447
   Alpine                                                                                                        $         574,071   $       574,071   $       382,714   $        1,530,856
   Amador                                                                                                        $         644,248   $       644,248   $       429,499   $        1,717,995
   Berkeley                                                                                                      $         804,957   $       804,957   $       536,638   $        2,146,553
   Butte                                                                                                         $       1,449,882   $     1,449,882   $       966,588   $        3,866,351
   Calaveras                                                                                                     $         657,143   $       657,143   $       438,096   $        1,752,382
   Colusa                                                                                                        $         613,675   $       613,675   $       409,116   $        1,636,466
   Contra Costa                                                                                                  $       3,356,414   $     3,356,414   $     2,237,609   $        8,950,438
   Del Norte                                                                                                     $         623,661   $       623,661   $       415,774   $        1,663,096
   El Dorado                                                                                                     $         934,456   $       934,456   $       622,970   $        2,491,882
   Fresno                                                                                                        $       3,471,287   $     3,471,287   $     2,314,191   $        9,256,765
   Glenn                                                                                                         $         626,933   $       626,933   $       417,955   $        1,671,820
   Humboldt                                                                                                      $       1,202,646   $     1,202,646   $       801,764   $        3,207,056
   Imperial                                                                                                      $         851,895   $     1,381,466   $       920,977




                                                                                                                                                                      $           3,154,338
   Inyo                                                                                                          $        607,015 $         607,015 $         404,676 $           1,618,706
                                              Case 1:25-cv-00121-MSM-LDA             Document 4-3       Filed 04/01/25    Page 62 of 233 PageID
                                                                                           #: 331
                                                                                                                                                                    Exhibit B-Budget
                                                                                                                                                                         Page 1 of 1
                                                                                          FY 2020-21
                                                                                      Exhibit B - BUDGET




   Kern                                                                                                            $       2,303,935 $       2,303,935 $       1,535,957 $       6,143,826
   Kings                                                                                                           $         705,572 $         862,377 $         574,918




                                                                                                                                                                           $     2,142,868
   Lake                                                                                                            $         694,855   $       694,855   $       463,237   $     1,852,947
   Lassen                                                                                                          $         628,857   $       628,857   $       419,238   $     1,676,951
   Madera                                                                                                          $         873,388   $       873,388   $       582,259   $     2,329,035
   Marin                                                                                                           $       1,068,700   $     1,068,700   $       712,467   $     2,849,866
   Mariposa                                                                                                        $         606,022   $       606,022   $       404,015   $     1,616,060
   Mendocino                                                                                                       $         740,096   $       740,096   $       493,398   $     1,973,591
   Merced                                                                                                          $       1,106,591   $     1,106,591   $       737,728   $     2,950,910
   Modoc                                                                                                           $         590,022   $       590,022   $       393,348   $     1,573,392
   Mono                                                                                                            $         597,608   $       597,608   $       398,406   $     1,593,622
   Monterey                                                                                                        $       1,901,180   $     1,901,180   $     1,267,453   $     5,069,812
   Napa                                                                                                            $         837,939   $       837,939   $       558,626   $     2,234,503
   Nevada                                                                                                          $         758,797   $       758,797   $       505,865   $     2,023,460
   Orange                                                                                                          $       7,674,695   $     7,674,695   $     5,116,463   $    20,465,854
   Placer                                                                                                          $       1,321,596   $     1,321,596   $       881,064   $     3,524,257
   Plumas                                                                                                          $         609,256   $       609,256   $       406,171   $     1,624,683
   Riverside                                                                                                       $       5,933,557   $     5,933,557   $     3,955,705   $    15,822,819
   Sacramento                                                                                                      $       4,544,047   $     4,544,047   $     3,029,365   $    12,117,460
   San Benito                                                                                                      $         689,611   $       689,611   $       459,740   $     1,838,961
   San Bernardino                                                                                                  $       5,502,502   $     5,502,502   $     3,668,335   $    14,673,338
   San Diego                                                                                                       $       7,769,041   $     7,769,041   $     5,179,361   $    20,717,444
   San Francisco                                                                                                   $       2,692,332   $     2,692,332   $     1,794,888   $     7,179,553
   San Joaquin                                                                                                     $       2,665,355   $     2,665,355   $     1,776,903   $     7,107,612
   San Luis Obispo                                                                                                 $       1,514,300   $     1,514,300   $     1,009,534   $     4,038,134
   San Mateo                                                                                                       $       2,560,603   $     2,560,603   $     1,707,069   $     6,828,275
   Santa Barbara                                                                                                   $       2,256,027   $     2,256,027   $     1,504,018   $     6,016,073
   Santa Clara                                                                                                     $       5,315,354   $     5,315,354   $     3,543,569   $    14,174,276
   Santa Cruz                                                                                                      $       1,091,364   $     1,091,364   $       727,576




                                                                                                                                                                           $     2,910,304
   Shasta                                                                                                          $       1,397,245   $     1,397,245   $       931,497   $     3,725,986
   Sierra                                                                                                          $         577,947   $       577,947   $       385,298   $     1,541,193
   Siskiyou                                                                                                        $         656,136   $       656,136   $       437,424   $     1,749,696
   Solano                                                                                                          $       1,893,418   $     1,893,418   $     1,262,278   $     5,049,114
   Sonoma                                                                                                          $       1,968,119   $     1,968,119   $     1,312,080   $     5,248,319
   Stanislaus                                                                                                      $       1,414,333   $     1,628,297   $     1,085,531




                                                                                                                                                                           $     4,128,161
   Sutter                                                                                                      $             756,125   $       756,125   $      504,083    $     2,016,333
   Tehama                                                                                                      $             693,562   $       693,562   $      462,375    $     1,849,500
   Trinity                                                                                                     $             597,744   $       597,744   $      398,496    $     1,593,985
   Tulare                                                                                                      $           1,889,867   $     1,889,867   $    1,259,911    $     5,039,645
   Tuolumne                                                                                                    $             675,047   $       675,047   $      450,031    $     1,800,125
   Ventura                                                                                                     $           2,640,792   $     2,640,792   $    1,760,528    $     7,042,111
   Yolo                                                                                                        $             992,539   $       992,539   $      661,693    $     2,646,771
   Yuba                                                                                                        $             719,131   $       719,131   $      479,421    $     1,917,684
   Local Lab: Kern/Kings/Madera/Merced                                                                         $           3,112,500   $     3,112,500   $    2,075,000    $     8,300,000
                                                                             A. Local-Level Contracts Subtotal $         106,349,659   $   107,250,000   $   71,500,000    $   285,099,659
   B. State-Level Subcontracts
   Media Contractor (CHC)                                                                                          $       1,250,000 $       2,500,000 $       1,250,000   $     5,000,000
   RFA for Pilot Projects (OHE)                                                                                    $       1,250,000 $       2,500,000 $       1,250,000   $     5,000,000
   UCSF Modeling Team Workload (CID)                                                                               $         300,000 $         500,000 $         200,000   $     1,000,000


   TBD - Whole Genome Sequencing Project                                                                           $       2,000,000   $     2,000,000 $      1,000,000 $    5,000,000
   TBD - Mobile Laboratory Testing Capacity to address testing disparities                                         $      68,777,169   $    18,000,000 $     10,000,000 $   96,777,169
   TBD - State Surveillance Activities Focus on Disparities and Vulnerable Populations                             $       3,000,000   $     5,000,000 $      2,000,000 $   10,000,000
                                                                          B. State-Level Subcontracts Subtotal     $      76,577,169   $    30,500,000 $     15,700,000 $ 122,777,169
                                                                                      7. Subcontracts Subtotal     $     182,926,828   $   137,750,000 $     87,200,000 $ 407,876,828
8. Indirect Costs (19.9%)
   CDPH Indirect Cost Rate is approved annually by the U.S. Department of Agriculture (USDA) for all public        $         111,644 $        127,617 $          43,678    $      282,939
   health programs and locations. The approved fixed rate of 19.9% consists of Departmental Overhead.
   Calculation is based off of total Personnel and Benefits.
                                                                                      8. Indirect Costs Subtotal   $         111,644 $         127,617 $          43,678 $         282,939
                                                                                                   Total Budget    $     198,569,866 $     166,919,279 $     101,962,228 $     467,451,373
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 63 of 233 PageID
                                   #: 332
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 64 of 233 PageID
                                   #: 333
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 65 of 233 PageID
                                   #: 334
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 66 of 233 PageID
                                   #: 335
    Case 1:25-cv-00121-MSM-LDA        Document 4-3   Filed 04/01/25   Page 67 of 233 PageID
                                            #: 336
                                 AWARD ATTACHMENTS
Public Health Foundation Enterprises, Inc.
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 68 of 233 PageID
                                   #: 337
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 69 of 233 PageID
                                   #: 338
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 70 of 233 PageID
                                   #: 339
Case 1:25-cv-00121-MSM-LDA           Document 4-3        Filed 04/01/25     Page 71 of 233 PageID
                                           #: 340


 All the other terms and conditions issued with the original award remain in effect throughout the
 budget period unless otherwise changed, in writing, by the Grants Management Officer.
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 72 of 233 PageID
                                   #: 341
     Case 1:25-cv-00121-MSM-LDA                   Document 4-3              Filed 04/01/25             Page 73 of 233 PageID
                                                        #: 342

                                         ELC ENHANCING DETECTION
                                                 INVOICE


                                                                                                                      GAVIN NEWSOM
       Acting Director                                                                                                     Governor



California Department of Public Health                                                             Date: August 18, 2020
Emergency Preparedness Office

                                                                                        Name/Address (to send warrant):
   CDPH Contract Number:                                                                CALIFORNIA DEPARTMENT OF PUBLIC HEALTH
           Contract Term: 5/18/2020 - 11/17/2022
             Billing Period: August 2020
     CDPH Invoice Number:

                                                                                        Telephone:

                                     Budget Line Item                    Expenditures This Period
                              Personnel                              $                          -
                              Equipment                              $                          -
                              Supplies                               $                          -
                              Travel                                 $                          -
                              Other                                  $                          -
                              Local Health Departments               $               71,500,000.00
                              Subcontractors                         $                          -
                              Indirect                               $                          -
                                                                     $                  71,500,000.00

                                I certify that this claim is in all respects true, correct, supportable by
                              available documentation, and in compliance with all terms/conditions,
                                             laws, and regulations governing its payment.




                              Melissa Relles, Assistant Deputy Director, EPO
                              Printed Name and Title of Authorized Representative




                              Signature and Date of Authorized Representative
   Case 1:25-cv-00121-MSM-LDA              Document 4-3       Filed 04/01/25      Page 74 of 233 PageID
                                                 #: 343
                                                                        California Department of Public Health
                                                                                               Heluna Health
                                                                                                 Page 1 of 11
                                                     Exhibit E
                                  Information Privacy and Security Requirements
                                      (For Non-HIPAA/HITECH Act Contracts)

    This Mutual Information Privacy and Security Requirements Exhibit (For Non-HIPAA/HITECH Act
    Contracts) (hereinafter referred to as “this Exhibit”) sets forth the information privacy and security
    requirements the Parties are obligated to follow with respect to all personal and confidential information
    (as defined herein) disclosed, or collected, created, maintained, stored, transmitted or used by each
    Party for or on behalf of the other Party, pursuant to the Agreement between HELUNA HEALTH and the
    State/CDPH (the “Agreement”). (Such personal and confidential information is referred to herein
    collectively as “PCI”.) Each Party desires to protect the privacy and provide for the security of PCI
    pursuant to this Exhibit and in compliance with state and federal laws applicable to the PCI.

 I. Order of Precedence: With respect to information privacy and security requirements for all PCI, the
    terms and conditions of this Exhibit shall take precedence over any conflicting terms or conditions set
    forth in any other part of the agreement between the Parties, including Exhibit A (Scope of Work), all
    other exhibits and any other attachments, and shall prevail over any such conflicting terms or
    conditions.

II. Effect on lower tier transactions: The terms of this Exhibit shall apply to all contracts, subcontracts,
    subawards, and to the information privacy and security requirements each Party is obligated to follow
    with respect to PCI disclosed, collected, created, maintained, stored, transmitted or used pursuant to
    the Agreement. When applicable the Parties shall incorporate the relevant provisions of this Exhibit into
    each subcontract or subaward to its agents, subcontractors, or independent consultants.

III. Definitions: For purposes of the Agreement, including this Exhibit, the following definitions shall apply:

    A.      Breach:

            “Breach” means:

            1. the unauthorized acquisition, access, use, or disclosure of PCI in a manner which
               compromises the security, confidentiality or integrity of the information; or

            2. the same as the definition of "breach of the security of the system" set forth in California Civil
               Code section 1798.29(f).

    B.      Confidential Information: “Confidential information” means information that:

            1. does not meet the definition of “public records” set forth in California Government Code
               section 6252(e), or is exempt from disclosure under any of the provisions of Section 6250,
               et seq. of the California Government Code or any other applicable state or federal laws; or

            2. is contained in documents, files, folders, books or records that are clearly labeled, marked or
               designated with the word “confidential”.

    C.      Disclosure: “Disclosure” means the release, transfer, provision of, access to, or divulging in any
            manner of information outside the entity holding the information.

    D.      PCI: “PCI” means “personal information” and “confidential information” (as these terms are
            defined herein:



    CDPH IPSR (10/19)
      Case 1:25-cv-00121-MSM-LDA               Document 4-3        Filed 04/01/25       Page 75 of 233 PageID
                                                     #: 344
                                                                              California Department of Public Health
                                                                                                     Heluna Health
                                                                                                       Page 2 of 11
                                                        Exhibit E
                                     Information Privacy and Security Requirements
                                         (For Non-HIPAA/HITECH Act Contracts)

      E.      Personal Information: “Personal information” means information, in any medium (paper,
              electronic, oral) that:

              1.     directly or indirectly collectively identifies or uniquely describes an individual; or

              2.     could be used in combination with other information to indirectly identify or uniquely
                     describe an individual, or link an individual to the other information; or

              3.     meets the definition of “personal information” set forth in California Civil Code section
                     1798.3, subdivision (a) or

              4.     is one of the data elements set forth in California Civil Code section 1798.29, subdivision
                     (g)(1) or (g)(2); or

              5.     meets the definition of “medical information” set forth in either California Civil Code section
                     1798.29, subdivision (h)(2) or California Civil Code section 56.05, subdivision (j); or

              6.     meets the definition of “health insurance information” set forth in California Civil Code
                     section 1798.29, subdivision (h)(3); or

              7.     is protected from disclosure under applicable state or federal law.

      F.      Security Incident: “Security Incident” means:

              1.     an attempted breach; or

              2.     the attempted or successful unauthorized access or disclosure, modification or destruction
                     of PCI, in violation of any state or federal law or in a manner not permitted under the
                     Agreement including this Exhibit; or

              3.     the attempted or successful modification or destruction of, or interference with system
                     operations in an information technology system, that negatively impacts the confidentiality,
                     availability or integrity of PCI; or

              4.     any event that is reasonably believed to have compromised the confidentiality, integrity, or
                     availability of an information asset, system, process, data storage, or transmission.
                     Furthermore, an information security incident may also include an event that constitutes a
                     violation or imminent threat of violation of information security policies or procedures,
                     including acceptable use policies.

      G.      Use: “Use” means the sharing, employment, application, utilization, examination, or analysis of
                    information.

IV.     Disclosure Restrictions: Each Party and its employees, agents, and subcontractors shall protect from
        unauthorized disclosure any PCI. Each Party shall not disclose, except as otherwise specifically
        permitted by the Agreement (including this Exhibit), any PCI to anyone other than authorized
        personnel or programs without prior written authorization from either Party, except if disclosure is
        required by State or Federal law or necessary to perform under the Agreement.


      CDPH IPSR (10/19)
        Case 1:25-cv-00121-MSM-LDA             Document 4-3        Filed 04/01/25      Page 76 of 233 PageID
                                                     #: 345
                                                                             California Department of Public Health
                                                                                                    Heluna Health
                                                                                                      Page 3 of 11
                                                         Exhibit E
                                      Information Privacy and Security Requirements
                                          (For Non-HIPAA/HITECH Act Contracts)

  V.      Use Restrictions: Each Party and its employees, agents, and subcontractors shall not use any PCI for
          any purpose other than performing their obligations under the Agreement.

 VI.      Safeguards: Each Party shall implement administrative, physical, and technical safeguards that
          reasonably and appropriately protect the privacy, confidentiality, security, integrity, and availability of
          PCI, including electronic or computerized PCI. At each location wher PCI exists each Party shall
          develop and maintain a written information privacy and security program that includes administrative,
          technical and physical safeguards appropriate to the size and complexity of operations and the
          nature and scope of its activities in satisfying the Agreement, including this Exhibit, and which
          incorporates the requirements of Section VII, Security, below. Each Party shall provide current and
          updated policies within five (5) business days of a written request by the other.

VII.      Security: Each Party shall take any and all steps reasonably necessary to ensure the continuous
          security of all computerized data systems containing PCI. These steps shall include, at a minimum,
          complying with all of the data system security precautions listed in the Data Security Standards set
          forth in Attachment 1 to this Exhibit.

VIII.     Security Officer: At places where PCI is located, a Security Officer shall oversee its compliance with
          this Exhibit and shall communicate on matters concerning this Exhibit.

 IX.      Training: Each Party shall provide training on its obligations under this Exhibit, at its own expense, to
          all of its employees who assist in the performance of The Agreement, including this Exhibit, or
          otherwise use or disclose PCI.

          A.    Each Party shall require employees who receive training to certify, either in hard copy or
                electronic form, the date on which the training was completed.

          B.    Each Party shall retain employee certifications for inspection for a period of three years following
                contract termination or completion.

          C.    Each Party shall provide the other with its employee certifications within five (5) business days of
                a witten request.

  X.      Employee Discipline: Each Party shall impose discipline that it deems appropriate (in its sole
          discretion) on such employees and other workforce members under their direct control who
          intentionally or negligently violate any provisions of this Exhibit.




        CDPH IPSR (10/19)
   Case 1:25-cv-00121-MSM-LDA              Document 4-3       Filed 04/01/25      Page 77 of 233 PageID
                                                 #: 346
                                                                        California Department of Public Health
                                                                                               Heluna Health
                                                                                                 Page 4 of 11
                                                     Exhibit E
                                  Information Privacy and Security Requirements
                                      (For Non-HIPAA/HITECH Act Contracts)

XI. Breach and Security Incident Responsibilities:

      A.    Notification of Breach or Security Incident: Each Party shall notify the other immediately by
            telephone call plus email or fax upon the discovery of a breach (as defined in this Exhibit),
            and within seventy-two (72) hours by email or fax of the discovery of any security incident (as
            defined in this Exhibit), unless a law enforcement agency determines that the notification will
            impede a criminal investigation, in which case the notification required by this section shall be
            made immediately after the law enforcement agency determines that such notification will not
            compromise the investigation. Notification shall be provided to, as applicable, the Program
            Contract Manager, the Privacy Officer and the Chief Information Security Officer, using the
            contact information listed in Section XI(F), below. If the breach or security incident is discovered
            after business hours or on a weekend or holiday and involves PCI in electronic or computerized
            form, notification shall be provided by calling the Information Security Office at the telephone
            numberslisted in Section XI(F), below. For purposes of this Section, breaches and security
            incidents shall be treated as discovered as of the first day on which such breach or security
            incident is known, or, by exercising reasonable diligence would have been known.

         Each Party shall take:

           1.   prompt corrective action to mitigate any risks or damages involved with the breach or
                security incident and to protect the operating environment; and

           2.   any action pertaining to a breach required by applicable federal and state laws, including,
                specifically, California Civil Code section 1798.29.

    B.     Investigation of Breach and Security Incidents: Each Party shall immediately investigate such
           breach or security incident. As soon as the information is known and subject to the legitimate
           needs of law enforcement, then the responsible party shall inform, as applicable the other Party’s
           Program Contract Manager, the Privacy Officer, and the Chief Information Security Officer of:

           1.   what data elements were involved and the extent of the data disclosure or access involved in
                the breach, including, specifically, the number of individuals whose personal information was
                breached; and

           2.   a description of the unauthorized persons known or reasonably believed to have improperly
                used the PCI and/or a description of the unauthorized persons known or reasonably believed
                to have improperly accessed or acquired the PCI, or to whom it is known or reasonably
                believed to have had the PCI improperly disclosed to them; and

           3.   a description of where the PCI is believed to have been improperly used or disclosed; and

           4.   a description of the probable and proximate causes of the breach or security incident; and

           5.   whether Civil Code section 1798.29 or any other federal or state laws requiring individual
                notifications of breaches have been triggered.

    C.     Written Report: Each Party shall provide a written report of the investigation to the other Party’s
           Program Contract Manager, the Privacy Officer, and the Chief Information Security Officer or the
           equivalent, as soon as practicable after the discovery of the breach or security incident. The

    CDPH IPSR (10/19)
Case 1:25-cv-00121-MSM-LDA               Document 4-3         Filed 04/01/25      Page 78 of 233 PageID
                                               #: 347
                                                                        California Department of Public Health
                                                                                               Heluna Health
                                                                                                 Page 5 of 11
                                                   Exhibit E
                                Information Privacy and Security Requirements
                                    (For Non-HIPAA/HITECH Act Contracts)

      report shall include, but not be limited to, the information specified above, as well as a complete,
      detailed corrective action plan, including information on measures that were taken to halt and/or
      contain the breach or security incident, and measures to be taken to prevent the recurrence or
      further disclosure of data regarding such breach or security incident.

D.    Notification to Individuals: If notification to individuals whose information was breached is required
      under state or federal law, and regardless of whether the breaching Party is considered only a
      custodian and/or non-owner of the PCI, the breaching Party shall, at its sole expense, either:

      1.     make notification to the individuals affected by the breach (including substitute notification),
             pursuant to the content and timeliness provisions of such applicable state or federal breach
             notice laws, and inform the other Party’s Privacy Officer or equivalent of the time, manner and
             content of any such notifications, prior to the transmission of such notifications to the
             individuals; or

      2.      cooperate with and assist the other Party in its notification (including substitute notification)
              to the individuals affected by the breach.

E.      Submission of Sample Notification to Attorney General: If notification to more than 500
        individuals is required pursuant to California Civil Code section 1798.29, and regardless of
        whether the breaching Party is considered only a custodian and/or non-owner of the PCI, the
        breaching Party shall, at its sole expense, either:

        1.     electronically submit a single sample copy of the security breach notification, excluding any
               personally identifiable information, to the Attorney General pursuant to the format, content,
               and timeliness provisions of Section 1798.29, subdivision (e). The breaching Party shall
               inform the other Party’s Privacy Officer or equivalent of the time, manner and content of any
               such submissions, prior to the transmission of such submissions to the Attorney General; or

        2.     cooperate with and assist the other Party in its submission of a sample copy of the
               notification to the Attorney General.

F.      CDPH Contact Information: To direct communications to the above referenced CDPH staff,
        HELUNA HEALTH shall initiate contact as indicated herein. CDPH reserves the right to make
        changes to the contact information below by written notice to HELUNA HEALTH. Said changes
        shall not require an amendment to this Exhibit or the agreement to which it is incorporated.



           CDPH Program         CDPH Privacy Officer                     CDPH Chief Information
           Contract                                                      Security Officer
           Manager
           See the Scope of     Privacy Officer                          Chief Information Security Officer
           Work exhibit A for   Privacy Office
           Program Contract
           Manager




CDPH IPSR (10/19)
        Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 79 of 233 PageID
                                                    #: 348
                                                                            California Department of Public Health
                                                                                                   Heluna Health
                                                                                                     Page 6 of 11
                                                        Exhibit E
                                     Information Privacy and Security Requirements
                                         (For Non-HIPAA/HITECH Act Contracts)

                                     Email: privacy@cdph.ca.gov              Email:          @cdph.ca.gov
                                     Telephone:                              Telephone:




XII.      HELUNA HEALTH Contact Information:

XIII.     Documentation of Disclosures for Requests for Accounting: Each Party shall document and make
          available to the other Party or to an Individual such disclosures of PCI, and information related to such
          disclosures, necessary to respond to a proper request by the subject Individual for an accounting of
          disclosures of personal information as required by Civil Code section 1798.25, or any applicable state
          or federal law.

XIV.      Requests for PCI by Third Parties: Each Party and its employees, agents, or subcontractors shall
          promptly transmit to the other Party’s Program Contract Manager or equivalent all requests for
          disclosure of any PCI requested by third parties to the Agreement (except from an Individual for an
          accounting of disclosures of the individual’s personal information pursuant to applicable state or
          federal law), unless prohibited from doing so by applicable state or federal law.

XV.       Audits, Inspection and Enforcement: Either Party may inspect the facilities, systems, books and
          records of the other to monitor compliance with this Exhibit. The Parties shall promptly remedy any
          violation of any provision of this Exhibit and shall certify the same to their respective Contract
          Managers or equivalent in writing.

XVI.      Return or Destruction of PCI on Expiration or Termination: Upon expiration or termination of the
          agreement between the Parties for any reason, each Party shall securely return or destroy the PCI
          received from, or on behalf of, the other Party. Personal Information accessed, used, or disclosed in
          performance of obligations under the Funding Award Agreement, including patient medical
          information and health insurance information, shall remain the exclusive property of CDPH. If return or
          destruction is not feasible, the Parties shall provide a written explanation to the appropriate
          authorities. (Program Contract Manager, the Privacy Officer and the Chief Information Security
          Officer, using the contact information listed in Section XI(F), and/or XII, above.)

          A.   Retention Required by Law: If required by state or federal law, the Parties may retain, after
               expiration or termination, PCI for the time specified as necessary to comply with the law.

          B.    Obligations Continue Until Return or Destruction: Each Party’s obligations under this Exhibit
                shall continue until they return or destroy the PCI provided however, that on expiration or
                termination of the Agreement ,neither Party shall use or disclose the PCI except as required by
                state or federal law.

          C.    Notification of Election to Destroy PCI: If either Party elects to destroy the PCI, then they shall
                certify in writing, to the following authorities or their equivalent: Contract Manager, the Privacy
                Officer and the Chief Information Security Officer, using the contact information listed in Section
                XI(F), and/or XII, above, that the PCI has been securely destroyed. The notice shall include the
                date and type of destruction method used.



        CDPH IPSR (10/19)
         Case 1:25-cv-00121-MSM-LDA            Document 4-3       Filed 04/01/25     Page 80 of 233 PageID
                                                     #: 349
                                                                            California Department of Public Health
                                                                                                   Heluna Health
                                                                                                     Page 7 of 11
                                                         Exhibit E
                                      Information Privacy and Security Requirements
                                          (For Non-HIPAA/HITECH Act Contracts)

XVII.      Amendment: The Parties acknowledge that federal and state laws regarding information security and
           privacy rapidly evolves and that amendment of this Exhibit may be required to provide for procedures
           to ensure compliance with such laws. The parties specifically agree to take such action as is
           necessary to implement new standards and requirements imposed by regulations and other
           applicable laws relating to the security or privacy of PCI.The parties agree to promptly enter into
           negotiations concerning an amendment to this Exhibit consistent with new standards and
           requirements imposed by applicable laws and regulations.

XVIII.     Assistance in Litigation or Administrative Proceedings: Each Party shall make itself and any
           subcontractors, workforce employees or agents assisting in the performance of its obligations under
           the Agreement available at no cost to testify as witnesses, in the event of litigation or administrative
           proceedings being commenced against the other Party, its director, officers or employees based upon
           claimed violation of laws relating to security and privacy, which involves inactions or actions, except
           where such Party or its subcontractors, workforce employee or agent is a named adverse party.

 XIX.      No Third-Party Beneficiaries: Nothing express or implied in the terms and conditions of this Exhibit is
           intended to confer, nor shall anything herein confer, upon any person other than CDPH or HELUNA
           HEALTH and their respective successors or assignees, any rights, remedies, obligations or liabilities
           whatsoever.

  XX.      Interpretation: The terms and conditions in this Exhibit shall be interpreted as broadly as necessary to
           implement and comply with regulations and applicable State laws. The parties agree that any
           ambiguity in the terms and conditions of this Exhibit shall be resolved in favor of a meaning that
           complies and is consistent with federal and state laws and regulations.

 XXI.      Survival: If either Party does not return or destroy the PCI upon the completion or termination of the
           Agreement, their respective rights and obligations under Sections VI, VII and XI of this Exhibit shall
           survive the completion or termination of the agreement.




         CDPH IPSR (10/19)
Case 1:25-cv-00121-MSM-LDA           Document 4-3       Filed 04/01/25     Page 81 of 233 PageID
                                           #: 350
                                                                  California Department of Public Health
                                                                                         Heluna Health
                                                                                           Page 8 of 11
                                                Exhibit E
                             Information Privacy and Security Requirements
                                 (For Non-HIPAA/HITECH Act Contracts)

                                            Attachment 1
                                  Each Party Data Security Standards

1.    General Security Controls

      A.   Confidentiality Statement. All persons that will be working with PCI must sign a
           confidentiality statement. The statement must include at a minimum, General Use, Security
           and Privacy safeguards, Unacceptable Use, and Enforcement Policies. The statement must
           be signed by the workforce member prior to access to PCI. The statement must be renewed
           annually. Each Party shall retain each person’s written confidentiality statement for
           inspection for a period of three (3) years following contract termination.

      B.   Workforce Member Assessment. Before a member of either Party’s workforce may access
           PCI, each Party must ensure that all workforce members that will have access to PCI have
           been assessed to assure that there is no indication that the workforce member may present a
           risk to the security or integrity of PCI. Each Party shall retain each workforce member’s
           assessment documentation, whether in physical or electronic format, for a period of three (3)
           years following contract termination.

      C.   Workstation/Laptop encryption. All workstations and laptops that process and/or store PCI
           must be encrypted using a FIPS 140-2 certified algorithm, such as Advanced Encryption
           Standard (AES), with a 128bit key or higher. The encryption solution must be full disk unless
           approved by the the other Party’s Information Security Office.

      D.   Server Security. Servers containing unencrypted PCI must have sufficient administrative,
           physical, and technical controls in place to protect that data, based upon a risk
           assessment/system security review.

      E.   Minimum Necessary. Only the minimum necessary amount of PCI required to perform
           necessary business functions may be copied, downloaded, or exported.

      F.   Removable media devices. All electronic files that contain PCI data must be encrypted
           when stored on any removable media or portable device (i.e. USB thumb drives, floppies,
           CD/DVD, smart devices tapes etc.). PCI must be encrypted using a FIPS 140-2 certified
           algorithm, such as Advanced Encryption Standard (AES), with a 128bit key or higher

      G. Antivirus software. All workstations, laptops and other systems that process and/or store
         PCI must install and actively use a comprehensive anti-virus software solution with automatic
         updates scheduled at least daily.

      H.   Patch Management. All workstations, laptops and other systems that process and/or store
           PCI must have operating system and application security patches applied, with system reboot
           if necessary. There must be a documented patch management process which determines
           installation timeframe based on risk assessment and vendor recommendations. At a
           maximum, all applicable patches must be installed within 30 days of vendor release.

      I.   User IDs and Password Controls. All users must be issued a unique user name for
           accessing PCI. Username must be promptly disabled, deleted, or the password changed
           upon the transfer or termination of an employee with knowledge of the password. Passwords

CDPH IPSR (10/19)
Case 1:25-cv-00121-MSM-LDA               Document 4-3      Filed 04/01/25    Page 82 of 233 PageID
                                               #: 351
                                                                    California Department of Public Health
                                                                                           Heluna Health
                                                                                             Page 9 of 11
                                                    Exhibit E
                                 Information Privacy and Security Requirements
                                     (For Non-HIPAA/HITECH Act Contracts)

           are not to be shared. Must be at least eight characters. Must be a non-dictionary word. Must
           not be stored in readable format on the computer. Must be changed every 60 days. Must be
           changed if revealed or compromised. Must be composed of characters from at least three of
           the following four groups from the standard keyboard:

                       Upper case letters (A-Z)
                       Lower case letters (a-z)
                       Arabic numerals (0-9)
                       Non-alphanumeric characters (punctuation symbols)

        J. Data Sanitization. All PCI must be sanitized using NIST Special Publication 800-88 standard
           methods for data sanitization when the PCI is no longer needed.

2.    System Security Controls

      A.    System Timeout. The system must provide an automatic timeout, requiring
            reauthentication of the user session after no more than 20 minutes of inactivity.

      B.    Warning Banners. All systems containing PCI must display a warning banner each time a
            user attempts access, stating that data is confidential, systems are logged, and system use
            is for business purposes only. User must be directed to log off the system if they do not
            agree with these requirements.

      C.    System Logging. The system must maintain an automated audit trail which can identify the
            user or system process which initiates a request for PCI, or which alters PCI. The audit trail
            must be date and time stamped, must log both successful and failed accesses, must be read
            only, and must be restricted to authorized users. This logging must be included for all user
            privilege levels including, but not limited to, systems administrators. If PCI is stored in a
            database, database logging functionality must be enabled. Audit trail data must be archived
            for at least 3 years after occurrence.

      D.    Access Controls. The system must use role based access controls for all user
            authentications, enforcing the principle of least privilege.

      E.    Transmission encryption. All data transmissions of PCI outside either Party’s secure
            internal network must be encrypted using a FIPS 140-2 certified algorithm, such as
            Advanced Encryption Standard (AES), with a 128bit key or higher. Encryption can be end to
            end at the network level, or the data files containing PCI can be encrypted. This requirement
            pertains to any type of PCI in motion such as website access, file transfer, and E-Mail.

      F.    Intrusion Detection. All systems involved in accessing, holding, transporting, and
            protecting PCI that are accessible via the Internet must be protected by a comprehensive
            intrusion detection and prevention solution.




3.    Audit Controls


CDPH IPSR (10/19)
Case 1:25-cv-00121-MSM-LDA             Document 4-3       Filed 04/01/25      Page 83 of 233 PageID
                                             #: 352
                                                                    California Department of Public Health
                                                                                           Heluna Health
                                                                                            Page 10 of 11
                                                Exhibit E
                             Information Privacy and Security Requirements
                                 (For Non-HIPAA/HITECH Act Contracts)

      A.    System Security Review. All systems processing and/or storing PCI must have at least an
            annual system risk assessment/security review which provides assurance that
            administrative, physical, and technical controls are functioning effectively and providing
            adequate levels of protection. Reviews shall include vulnerability scanning tools.

      B.    Log Reviews. All systems processing and/or storing PCI must have a routine procedure in
            place to review system logs for unauthorized access.

      C.    Change Control. All systems processing and/or storing PCI must have a documented
            change control procedure that ensures separation of duties and protects the confidentiality,
            integrity and availability of data.

4.    Business Continuity / Disaster Recovery Controls

      A.    Disaster Recovery. Each Party must establish a documented plan to enable continuation
            of critical business processes and protection of the security of electronic PCI in the event of
            an emergency. Emergency means any circumstance or situation that causes normal
            computer operations to become unavailable for use in performing the work required under
            this agreement for more than 24 hours.

      B.    Data Backup Plan. Each Party must have established documented procedures to securely
            backup PCI to maintain retrievable exact copies of PCI. The backups shall be
            encrypted.The plan must include a regular schedule for making backups, storing backups
            offsite, an inventory of backup media, and the amount of time to restore PCI should it be lost.
            At a minimum, the schedule must be a weekly full backup and monthly offsite storage of
            data.

5. Paper Document Controls

      A.    Supervision of Data. PCI in paper form shall not be left unattended at any time, unless it is
            locked in a file cabinet, file room, desk or office. Unattended means that information is not
            being observed by an employee authorized to access the information. PCI in paper form
            shall not be left unattended at any time in vehicles or planes and shall not be checked in
            baggage on commercial airplanes.

      B.    Escorting Visitors. Visitors to areas where PCI is contained shall be escorted and PCI
            shall be kept out of sight while visitors are in the area.

      C.    Confidential Destruction. PCI must be disposed of through confidential means, using
            NIST Special Publication 800-88 standard methods for data sanitization when the PCI is no
            longer needed.

      D.    Removal of Data. PCI must not be removed from the environments, systems, or equipment
            that the recipient of such PCI controls, except with express written permission of the other
            party.

      E.



CDPH IPSR (10/19)
Case 1:25-cv-00121-MSM-LDA            Document 4-3       Filed 04/01/25     Page 84 of 233 PageID
                                            #: 353
                                                                  California Department of Public Health
                                                                                         Heluna Health
                                                                                          Page 11 of 11
                                                Exhibit E
                             Information Privacy and Security Requirements
                                 (For Non-HIPAA/HITECH Act Contracts)

      F.    Faxing. Faxes containing PCI shall not be left unattended and fax machines shall be in
            secure areas. Faxes shall contain a confidentiality statement notifying persons receiving
            faxes in error to destroy them. Fax numbers shall be verified with the intended recipient
            before sending.

      G.    Mailing. PCI shall only be mailed using secure methods. Large volume mailings PCI shall
            be by a secure, bonded courier with signature required on receipt. Disks and other
            transportable media sent through the mail must be encrypted with a approved solution, such
            as a solution using a vendor product specified on the CALIFORNIA STRATEGIC
            SOURCING INITIATIVE.




CDPH IPSR (10/19)
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 85 of 233 PageID
                                   #: 354




                                Exhibit F
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 86 of 233 PageID
                                   #: 355
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 87 of 233 PageID
                                   #: 356
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 88 of 233 PageID
                                   #: 357
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 89 of 233 PageID
                                   #: 358
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 90 of 233 PageID
                                   #: 359




                                Exhibit G
Updated: January 31, 2024
  Case 1:25-cv-00121-MSM-LDA                Document 4-3          Filed 04/01/25       Page 91 of 233 PageID
                                                  #: 360

      Updated Companion Clarifying Document for ELC Enhancing Detection (ED) and Enhancing
                         Detection Expansion (EDE) COVID-19 Funding
While ELC ED/EDE funds are already budgeted at the recipient level, below are things to consider as needs
evolve. Please remember that all budget items must clearly link to an approved work plan. Please also note
that unless a waiver from the Office of Financial Services (OFR) is obtained, ED/EDE funds are legislatively tied
to COVID-19 and COVID-19 must be a part of the approved activities. Finally, these funds are not intended to
duplicate support being provided through other forms of financial assistance. Please ensure there is ample
coordination with Project Directors over grants and cooperative agreements that may have complementary
work (i.e., PHEP and Crisis, Immunization, PHIG, etc.)


 Clarification of Allowable Activities for the ED/EDE funds

 As SARS-CoV-2/COVID-19 testing, surveillance, monitoring, and reporting becomes more integrated into the
 routine activities for respiratory pathogens more broadly, COVID-19 funded activities should still focus on
 directly benefiting COVID-19-related public health activities and improved situational awareness that may
 inform public health action. COVID-19-funded infrastructure and activities may integrate other pathogens and
 syndromes as long as COVID-19 testing or surveillance is included in the effort. For example, COVID funded
 laboratory, surveillance, epidemiology, and informatics personnel may work on other pathogens and
 syndromes, in addition to SARS-CoV-2 and COVID-19, as long as detection/assessment/reporting/visualization
 activities for SARS-CoV-2 and COVID-19 are included in their routine scope of work. Activities can be
 conducted and integrated within broader respiratory pathogen program activities. Examples of broad-scale
 work that may be appropriate to support with ED/EDE funds include (not exhaustive):
     • testing for SARS-CoV-2 alone or as part of a multi-pathogen panel
     • sequencing of SARS-CoV-2 positive specimens
     • conducting sentinel or systematic respiratory pathogen focused surveillance activities (either laboratory
          based or syndrome-based approaches using case definitions of Influenza-like illness (ILI), COVID-like illness
          (CLI), acute respiratory illness (ARI), mortality, post-COVID conditions, and multisystem inflammatory
          syndrome in children (MIS-C)), including data management, analysis, visualization, and reporting
     • outbreak response activities for respiratory illness in congregate settings that may be COVID-19-associated
     • If not already supported through other awards, improving the completeness and accuracy of
          immunization registries (including for COVID-19 vaccines), or interoperability with the state’s surveillance
          system
     • Maintenance, support, and continued enhancement of electronic integrated disease surveillance
          systems, public health laboratory information management system(s) (LIMS), electronic data exchange
          of core public health data (e.g., electronic laboratory reports (ELR), electronic case reports (eCR),
          syndromic surveillance, electronic test orders and results (ETOR)), and other peripheral systems (e.g.,
          integration engines, vocabulary services) used for the surveillance of COVID-19 and other pathogens.
     • Maintenance, support, and continued enhancement of modernized enterprise infrastructure and shared
          services to ensure access to systems and data for public health action (e.g., data lakes/warehouses,
          master patient indices, data linkage tools, geospatial analysis)
     • Development and support for internal and external dashboards, reporting enhancements, and data
          modernization that include COVID-19 data




                                                                                                                      1
Updated: January 31, 2024
  Case 1:25-cv-00121-MSM-LDA                 Document 4-3          Filed 04/01/25        Page 92 of 233 PageID
                                                   #: 361
Considerations for Utilization of Funds:
Below are items to consider that may support your approved work plans:
     • Purchasing freezers, extraction equipment, testing and sequencing platforms, and other laboratory
         equipment, supplies, and reagents to support testing for SARS-CoV-2.
     • Support for staffing with expertise in IT, data management, data visualization, communications,
         surveillance, epidemiology, statistical analyses, and informatics related respiratory illness and including
         COVID-19 and SARS-CoV-2.
     • Costs related to maintenance and operations or licensing of integrated disease surveillance system or
         LIMS used for COVID-19 and other pathogens, including associated trainings for system administration
         and configuration.
     • Preventative maintenance (PM) costs of already existing equipment/instruments that may be used for
         COVID testing. This is especially important for those assays covered under CLIA. Please remember that
         maintenance contracts may be set up with the manufacturer beyond warranty period for newly
         purchased equipment.
      • Support for staffing or tools necessary for Quality Management Systems important for laboratory
          operations that carry out testing for SARS-CoV-2 and other respiratory pathogens.
     • Enhancement of COVID and other respiratory pathogen surveillance activities and reporting.
     • Regarding flexibilities related to contractual activities, consult with your jurisdiction acquisition office to
         learn more about your jurisdiction-specific policies. This will also require negotiation with the intended
         vendor.
             o Note: Service agreements that are paid up-front and have no additional costs associated at a
                  later date can have timeframes that exceed the no-cost extension period of the ED/EDE ELC
                  cooperative agreement period of performance which is currently July 31, 2026.


  No Longer Supported
 New incentive requests, new requests to purchase vehicles, furniture, and new requests for construction will no
 longer be supported. The allowance of these purchases was uniquely given during the pandemic, but they are not
 allowed under routine operations. This applies to recipients and subrecipients (e.g., LHDs).




                                                                                                                         2
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 93 of 233 PageID
                                   #: 362




                                Exhibit H
Case 1:25-cv-00121-MSM-LDA   Document 4-3   Filed 04/01/25   Page 94 of 233 PageID
                                   #: 363
Case 1:25-cv-00121-MSM-LDA                                  Document 4-3                    Filed 04/01/25                   Page 95 of 233 PageID
                                                                  #: 364
 Version Date: June 11, 2020



 Contents
 Introduction and Purpose ............................................................................................................................ 4
 Organization of Guidance ............................................................................................................................ 4
 Intended Use of Guidance............................................................................................................................ 5
    List of Performance Measures At-A-Glance .............................................................................................. 6
    Measure E.1: Median number of days from specimen collection date to date of report of final test
    result for COVID-19/SARS-CoV-2 molecular diagnostic tests ................................................................... 7
    Measure E.2: Number of COVID-19/SARS-CoV-2 tests completed by test type and result ..................... 9
    Measure E.3: Proportion of COVID-19/SARS-CoV-2 laboratory test results submitted to CDC with
    complete information ............................................................................................................................. 11
    Measure E.4: Proportion of COVID-19/SARS-CoV-2 testing sites that received biosafety guidance and
    conducted laboratory risk assessments.................................................................................................. 13
    Measure E.5: Proportion of COVID-19 cases submitted to CDC that include key data elements .......... 15
    Measure E.6: Proportion of COVID-19 cases with individual-level data submitted to CDC ................... 17
    Measure E.7: Median number of days from date of first positive specimen collection (or when not
    available, diagnosis date) to date COVID-19 case is reported to CDC .................................................... 18
    Measure E.8: Proportion of emergency department (ED) visits in the jurisdiction that are used for
    syndromic surveillance and shared with National Syndromic Surveillance Program (NSSP) ................. 19
    Measure E.9: Completeness of priority data elements in ED visits reported to NSSP ........................... 20
    Measure E.10: Total number of patient visits reported each week by regularly reporting ILINet sites 21
    Measure E.11: Proportion of specimen testing results for all respiratory viruses tested at the public
    health laboratory that are submitted to CDC via PHLIP 2.5.1 with valid data for all key variables........ 23
    Measure E.12: Number of healthcare organizations engaged to implement electronic case reporting
    (eCR) ........................................................................................................................................................ 25
    Measure E.13: Proportion of state reportable cases with an electronic initial case report (eICR)
    submitted ................................................................................................................................................ 26
    Measure E.14: Demonstration of automatic processing of electronic initial case reports (eICRs) in the
    jurisdiction integrated surveillance system(s) ........................................................................................ 27
    Measure E.15: Proportion of test orders and results processed through Electronic Test Orders and
    Results (ETOR) at the PHL ....................................................................................................................... 28
    Measure E.16: Systems/programs at the PHL with ETOR interfaces ...................................................... 29
    Measure E.17: Number of cases assigned, per case investigator ........................................................... 30
    Measure E.18: Number of contacts assigned, per contact tracer .......................................................... 31
    Measure E.19: Among cases prioritized for case investigation, proportion interviewed within 24 hours
    of report to the case investigation unit .................................................................................................. 33


                                                                                                                                                              pg. 2
Case 1:25-cv-00121-MSM-LDA                            Document 4-3                  Filed 04/01/25                Page 96 of 233 PageID
                                                            #: 365
 Version Date: June 11, 2020



   Measure E.20: Among close contacts identified by cases interviewed, proportion notified within 24
   hours of initiation for follow-up.............................................................................................................. 35
   Measure E.21: Among contacts notified, proportion tested for COVID-19/SARS-CoV-2 at least once,
   within 14 days of notification ................................................................................................................. 36
   Measure E.22: Number of new confirmed or probable COVID-19 cases identified among contacts in
   the contact tracing system, within 14 days of last exposure to the index case ..................................... 37
   Measure E.23: Number of health department staff who can perform healthcare infection control
   assessments at state and local level ....................................................................................................... 39
   Measure E.24: Number of healthcare infection control assessment and response (ICAR) conducted by
   the health department or designee for COVID-19, by method, setting, type (reactive or proactive), and
   entity that completed the assessment ................................................................................................... 40
   Measure E.25: Number of COVID-19 outbreaks and responses in healthcare settings ......................... 42
   Appendix A. Reporting Mechanism by Measure.................................................................................... 43
   Appendix B. Reporting Frequency (for Recipient-Reported Measures only)......................................... 45




                                                                                                                                               pg. 3
Case 1:25-cv-00121-MSM-LDA           Document 4-3           Filed 04/01/25   Page 97 of 233 PageID
                                           #: 366
 Version Date: June 11, 2020



 Introduction and Purpose
 The goal of the Epidemiology and Laboratory Capacity for Prevention and Control of Emerging
 Infectious Diseases (ELC) is to support state, local, and territories’ public health efforts to
 reduce morbidity and associated deaths caused by a wide range of infectious disease threats.
 The ELC provides annual funding, strategic direction and technical assistance to domestic
 jurisdictions for strengthening core capacities in epidemiology, laboratory, and health
 information systems activities. In addition to strengthening core infectious disease capacities
 nationwide, this cooperative agreement also supports a myriad of specific infectious disease
 programs and projects, and provides special appropriations in response to infectious disease
 emergencies (e.g., H1N1, Ebola, and Zika).
 As part of the “Paycheck Protection Program and Health Care Enhancement Act of 2020 (P.L.
 116-139, Title I)”, the ELC awarded a total of $10.25 billion to our recipient base in a program-
 initiated component funding under the Emerging Issues (E) Project of CK19-1904, ”ELC
 Enhancing Detection” supplement. These funds are broadly intended to provide critical
 resources to state, local, and territorial health departments in support of a broad range of
 COVID-19/SARS-CoV-2 testing and epidemiologic surveillance related activities, including the
 establishment of modernized public health surveillance systems. The work supported by ELC
 Enhancing Detection expands upon previous COVID-19 awards (ELC CARES and ELC
 Community-based Surveillance). These funds will support the public health response to COVID-
 19 and lay the foundation for the future of public health surveillance.
 This guidance provides information on performance measures for recipients of these
 supplemental funds. To reduce reporting burden on recipients, the performance measures for
 ELC Enhancing Detection will encompass work being conducted for those receiving funds for
 ELC CARES and Community-based Surveillance.
 The performance measures are intended to be used by ELC and recipients to help:

     •   Support continuous monitoring and examine opportunities to improve performance and
         implementation of activities;

     •   Demonstrate accountability to stakeholders (e.g., funders, public) by showing how ELC
         funds are being spent; and

     •   Clarify ELC project expectations and priorities.

 The ELC realizes that there are limitations to using performance measures to evaluate the
 scope of public health work being conducted by the jurisdictions. For example, without a
 consideration of contextual factors, measures do not always fully represent how strongly or
 poorly a recipient is doing. Thus, it is important to have other ways of collecting project
 information to more fully demonstrate performance (i.e., workplan/milestone updates, progress
 calls, success stories). The ELC will rely on a combination of these sources of information in
 order to more fully assess progress throughout the duration of the project.

 Organization of Guidance
 For each measure, the following elements are described:


                                                                                              pg. 4
Case 1:25-cv-00121-MSM-LDA            Document 4-3        Filed 04/01/25      Page 98 of 233 PageID
                                            #: 367
 Version Date: June 11, 2020



     •   Measure: Name of measure

     •   Applicable recipients: Recipients the measure applies to

     •   Rationale: Provides the context and reasoning for monitoring this measure

     •   Data elements: Specific variables that will be reported by recipient or monitored by ELC

     •   Additional guidance: Additional information to help understand the measure such as
         definitions for specific terms, inclusion/exclusion criteria, limitations to the measure, and
         other applicable information

     •   Target: Recommended recipient target for this measure, where applicable. Targets are
         used to provide guidance to recipients on the desired level of performance from ELC.
         They will also be used in discussions between ELC and recipients to identify gaps and
         opportunities to provide technical assistance.

     •   Recommended data source: Source the recipient or ELC may use to retrieve data

     •   Reporting frequency: Specifies how often the measure will be reported

     •   Reporting mechanism: Describes how data will be reported


 Intended Use of Guidance
 Please take some time to review the guidance and share it with the appropriate staff members
 in your jurisdiction who are involved in the implementation of these activities. Ensure that you
 and your staff members understand each measure and how it applies to your jurisdiction. Some
 of these measures will be monitored through data reporting from states already coming to CDC.
 ELC recommends that you develop a plan for how you will collect, organize, and synthesize this
 information for reporting.
 While ELC has made every effort to consolidate reporting intervals, please note that some
 measures require more frequent reporting than others. Furthermore, due to the relatively long
 (30 month) project period, recipients should anticipate and work with ELC to re-evaluate and
 potentially modify some measures due to shifts in priorities during the time frame of this project
 and efforts to improve the ability to monitor performance and progress. Some additional data
 collection for other measures may be required, and some measures may eventually become
 obsolete. ELC will make every effort to keep these changes minimal.
 If you have questions related to these performance measures, please contact
              @cdc.gov, or your ELC Project Officer.




                                                                                                   pg. 5
Case 1:25-cv-00121-MSM-LDA                 Document 4-3            Filed 04/01/25           Page 99 of 233 PageID
                                                 #: 368
 Version Date: June 11, 2020



  List of Performance Measures At-A-Glance
  Measure E.1        Median number of days from specimen collection date to date of report of final test result for
                     COVID-19/SARS-CoV-2 molecular diagnostic tests
  Measure E.2        Number of COVID-19/SARS-CoV-2 tests completed by test type and result
  Measure E.3        Proportion of COVID-19/SARS-CoV-2 lab reports with complete information
  Measure E.4        Proportion of COVID-19/SARS-CoV-2 testing sites that received biosafety guidance and
                     conducted laboratory risk assessments
  Measure E.5        Proportion of COVID-19 cases submitted to CDC that include key data elements
  Measure E.6        Proportion of COVID-19 cases with individual-level data submitted to CDC
  Measure E.7        Median number of days from date of first positive specimen collection (or when not available,
                     diagnosis date) to date COVID-19 case is reported to CDC
  Measure E.8        Proportion of emergency department (ED) visits in the jurisdiction that are used for syndromic
                     surveillance and shared with National Syndromic Surveillance Program (NSSP)
  Measure E.9        Completeness of priority data elements in ED visits reported to NSSP
  Measure E.10       Total number of patient visits reported each week by regularly reporting ILINet sites
  Measure E.11       Proportion of specimen testing results for all respiratory viruses tested at the public health
                     laboratory that are submitted to CDC via PHLIP 2.5.1 with valid data for all key variables
  Measure E.12       Number of healthcare organizations engaged to implement electronic case reporting (eCR)
  Measure E.13       Proportion of state reportable disease cases with an electronic initial case report (eICR)
                     submitted
  Measure E.14       Demonstration of automatic processing of electronic initial case reports (eICRs) in the
                     jurisdiction integrated surveillance system(s)
  Measure E.15       Proportion of test orders and results processed through Electronic Test Orders and Results
                     (ETOR) at the PHL
  Measure E.16       Systems/programs at the PHL with ETOR interfaces
  Measure E.17       Number of cases assigned, per case investigator
  Measure E.18       Number of contacts assigned, per contact tracer
  Measure E.19       Among cases prioritized for case investigation, proportion interviewed within 24 hours of case
                     report to the case investigation unit
  Measure E.20       Among close contacts identified by cases interviewed, proportion notified within 24 hours of
                     initiation for follow-up
  Measure E.21       Among contacts notified, proportion tested for COVID-19 at least once, within 14 days of
                     notification
  Measure E.22       Number of new confirmed or probable COVID-19 cases identified among contacts in the
                     contact tracing system, within 14 days of last exposure to the index case
  Measure E.23       Number of health department staff who can perform healthcare infection control assessments
                     at state and local level
  Measure E.24       Number of healthcare infection control assessment and response (ICAR) conducted by the
                     health department or designee for COVID-19, by method, setting, type (reactive or proactive),
                     and entity that completed the assessment
  Measure E.25       Number of COVID-19 outbreaks and responses in healthcare settings




                                                                                                                      pg. 6
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 100 of 233 PageID
                                    #: 369
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 101 of 233 PageID
                                    #: 370
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 102 of 233 PageID
                                    #: 371
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 103 of 233 PageID
                                    #: 372
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 104 of 233 PageID
                                    #: 373
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 105 of 233 PageID
                                    #: 374
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 106 of 233 PageID
                                    #: 375
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 107 of 233 PageID
                                    #: 376
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 108 of 233 PageID
                                    #: 377
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 109 of 233 PageID
                                    #: 378
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 110 of 233 PageID
                                    #: 379
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 111 of 233 PageID
                                    #: 380
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 112 of 233 PageID
                                    #: 381
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 113 of 233 PageID
                                    #: 382
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 114 of 233 PageID
                                    #: 383
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 115 of 233 PageID
                                    #: 384
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 116 of 233 PageID
                                    #: 385
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 117 of 233 PageID
                                    #: 386
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 118 of 233 PageID
                                    #: 387
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 119 of 233 PageID
                                    #: 388
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 120 of 233 PageID
                                    #: 389
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 121 of 233 PageID
                                    #: 390
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 122 of 233 PageID
                                    #: 391
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 123 of 233 PageID
                                    #: 392
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 124 of 233 PageID
                                    #: 393
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 125 of 233 PageID
                                    #: 394
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 126 of 233 PageID
                                    #: 395
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 127 of 233 PageID
                                    #: 396
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 128 of 233 PageID
                                    #: 397
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 129 of 233 PageID
                                    #: 398
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 130 of 233 PageID
                                    #: 399
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 131 of 233 PageID
                                    #: 400
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 132 of 233 PageID
                                    #: 401
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 133 of 233 PageID
                                    #: 402
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 134 of 233 PageID
                                    #: 403
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 135 of 233 PageID
                                    #: 404
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 136 of 233 PageID
                                    #: 405
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 137 of 233 PageID
                                    #: 406
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 138 of 233 PageID
                                    #: 407
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 139 of 233 PageID
                                    #: 408




                                Exhibit I
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 140 of 233 PageID
                                    #: 409
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 141 of 233 PageID
                                    #: 410
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 142 of 233 PageID
                                    #: 411
    Case 1:25-cv-00121-MSM-LDA       Document 4-3 Filed 04/01/25   Page 143 of 233 PageID
                                            #: 412
                                 AWARD ATTACHMENTS
Public Health Foundation Enterprises, Inc.
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 144 of 233 PageID
                                    #: 413
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 145 of 233 PageID
                                    #: 414
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 146 of 233 PageID
                                    #: 415
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25           Page 147 of 233 PageID
                                            #: 416


 All the other terms and conditions issued with the original award remain in effect throughout the
 budget period unless otherwise changed, in writing, by the Grants Management Officer.
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 148 of 233 PageID
                                    #: 417




                                Exhibit J
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 149 of 233 PageID
                                    #: 418
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 150 of 233 PageID
                                    #: 419
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 151 of 233 PageID
                                    #: 420
    Case 1:25-cv-00121-MSM-LDA              Document 4-3 Filed 04/01/25   Page 152 of 233 PageID
                                                   #: 421
                                     AWARD ATTACHMENTS
Public Health Foundation Enterprises, Inc.
1. YR 2 Supplemental Terms and Conditions
Case 1:25-cv-00121-MSM-LDA       Document 4-3 Filed 04/01/25       Page 153 of 233 PageID
                                        #: 422


   AWARD INFORMATION


  Incorporation: In addition to the federal laws, regulations, policies, and CDC General
  Terms and Conditions for Non-research awards at
  https://www.cdc.gov/grants/federalregulationspolicies/index.html, the Centers for
  Disease Control and Prevention (CDC) hereby incorporates Notice of Funding
  Opportunity (NOFO) number CK19-1904, entitled Epidemiology and Laboratory
  Capacity for Prevention and Control of Emerging Infectious Diseases (ELC), which are
  hereby made a part of this Non-research award, hereinafter referred to as the Notice
  of Award (NoA).


  Supplemental Component Funding: Additional funding in the amount
  $1,696,424,899 is approved for the Year 02 budget period, which is August 1, 2020
  through July 31, 2021.

  The approved component and funding level for this notice of award are:

   NOFO Component                                             Amount

   ELC Enhancing Detection Expansion                          $1,696,424,899


  Recipients have until July 31, 2023 to expend all COVID-19 funds awarded herein.

  Overtime: Because overtime costs are a very likely and reasonable expense during
  the response to COVID-19, CDC will allow recipients to include projected overtime in
  their budgets. Recipients should be careful to estimate costs based on current real-
  time needs and will still be required to follow federal rules and regulations in
  accounting for the employees’ time and effort.

  Coronavirus Disease 2019 (COVID-19) Funds: A recipient of a grant or cooperative
  agreement awarded by the Department of Health and Human Services (HHS) with funds
  made available under the Coronavirus Preparedness and Response Supplemental
  Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief, and Economic
  Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the Paycheck Protection Program
  and Health Care Enhancement Act (P.L. 116-139); and/or the Consolidated
  Appropriations Act, 2021, Division M – Coronavirus Response and Relief Supplemental
  Appropriations Act, 2021 (P.L. 116-260), agrees, as applicable to the award, to: 1)
  comply with existing and/or future directives and guidance from the Secretary regarding
  control of the spread of COVID-19; 2) in consultation and coordination with HHS,
  provide, commensurate with the condition of the individual, COVID-19 patient care
  regardless of the individual’s home jurisdiction and/or appropriate public health
  measures (e.g., social distancing, home isolation); and 3) assist the United States
  Government in the implementation and enforcement of federal orders related to
  quarantine and isolation.
Case 1:25-cv-00121-MSM-LDA        Document 4-3 Filed 04/01/25         Page 154 of 233 PageID
                                         #: 423


  To achieve the public health objectives of ensuring the health, safety, and welfare of all
  Americans, Recipient must distribute or administer vaccine without discriminating on
  non-public-health grounds within a prioritized group. This includes, but is not limited to,
  immigration status, criminal history, incarceration, or homelessness. To this end, and to
  help achieve the public health imperative of widespread herd immunity to COVID-19,
  Recipient must administer or distribute vaccine to any and all individuals within a
  prioritized group in the same timeframe, taking into account available vaccine
  doses. For example, if meatpacking plant workers are a prioritized group, then all
  workers in that group, including undocumented immigrants, must be vaccinated to help
  assure that the plant is in a position to safely resume essential functions.

  In addition, to the extent applicable, Recipient will comply with Section 18115 of the
  CARES Act, with respect to the reporting to the HHS Secretary of results of tests
  intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
  reporting shall be in accordance with guidance and direction from HHS and/or
  CDC. HHS laboratory reporting guidance is posted at:
  https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-guidance.pdf.

  Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
  the purpose of this award, and the underlying funding, the recipient is expected to
  provide to CDC copies of and/or access to COVID-19 data collected with these funds,
  including but not limited to data related to COVID-19 testing. CDC will specify in further
  guidance and directives what is encompassed by this requirement.

  This award is contingent upon agreement by the recipient to comply with existing
  and future guidance from the HHS Secretary regarding control of the spread of
  COVID-19. In addition, recipient is expected to flow down these terms to any
  subaward, to the extent applicable to activities set out in such subaward.

  Unallowable Costs:
    • Research
    • Clinical care
    • Publicity and propaganda (lobbying):
          o Other than for normal and recognized executive-legislative
              relationships, no funds may be used for:
                   publicity or propaganda purposes, for the preparation, distribution,
                      or use of any material designed to support or defeat the enactment
                      of legislation before any legislative body
                   the salary or expenses of any grant or contract recipient, or agent
                      acting for such recipient, related to any activity designed to
                      influence the enactment of legislation, appropriations, regulation,
                      administrative action, or Executive order proposed or pending
                      before any legislative body
          o See Additional Requirement (AR) 12 for detailed guidance on this
              prohibition and additional guidance on lobbying for CDC recipients:
              https://www.cdc.gov/grants/documents/Anti-
              Lobbying_Restrictions_for_CDC_Grantees_July_2012.pdf
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 155 of 233 PageID
                                    #: 424
Case 1:25-cv-00121-MSM-LDA       Document 4-3 Filed 04/01/25        Page 156 of 233 PageID
                                        #: 425


  Centers for Disease Control and



             @cdc.gov (Include “Mandatory Grant Disclosures” in subject line)

  AND

  U.S. Department of Health and Human Services
  Office of the Inspector General




                       (Include “Mandatory Grant Disclosures” in subject
  line) or Email: MandatoryGranteeDisclosures@oig.hhs.gov

  Recipients must include this mandatory disclosure requirement in all subawards and
  contracts under this award.

  Failure to make required disclosures can result in any of the remedies described in 45
  CFR 75.371. Remedies for noncompliance, including suspension or debarment (See 2
  CFR parts 180 and 376, and 31 U.S.C. 3321).

  CDC is required to report any termination of a federal award prior to the end of the
  period of performance due to material failure to comply with the terms and conditions
  of this award in the OMB-designated integrity and performance system accessible
  through SAM (currently FAPIIS). (45 CFR 75.372(b)) CDC must also notify the
  recipient if the federal award is terminated for failure to comply with the federal
  statutes, regulations, or terms and conditions of the federal award. (45 CFR
  75.373(b))


   PAYMENT INFORMATION



  The HHS Office of the Inspector General (OIG) maintains a toll-free number (1-800-
  HHS-TIPS [1- 800-447-8477]) for receiving information concerning fraud, waste, or
  abuse under grants and cooperative agreements. Information also may be submitted by
  e-mail to hhstips@oig.hhs.gov or by mail to Office of the Inspector General,
  Department of Health and Human Services, Attn: HOTLINE,
                               Such reports are treated as sensitive material and
  submitters may decline to give their names if they choose to remain anonymous.

  Payment Management System Subaccount: Funds awarded in support of
  approved activities have been obligated in a subaccount in the PMS, herein identified
  as the “P Account”. Funds must be used in support of approved activities in the
Case 1:25-cv-00121-MSM-LDA       Document 4-3 Filed 04/01/25         Page 157 of 233 PageID
                                        #: 426


  NOFO and the approved application.

  The grant document number identified on the bottom of Page 1 of the Notice of
  Award must be known in order to draw down funds.




  Stewardship: The recipient must exercise proper stewardship over Federal funds by
  ensuring that all costs charged to your cooperative agreement are allowable, allocable,
  and reasonable and that they address the highest priority needs as they relate to this
  program.

  All the other terms and conditions issued with the original award remain in effect
  throughout the budget period unless otherwise changed, in writing, by the Grants
  Management Officer.
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 158 of 233 PageID
                                    #: 427




                                Exhibit K
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 159 of 233 PageID
                                    #: 428
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 160 of 233 PageID
                                    #: 429
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 161 of 233 PageID
                                    #: 430
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 162 of 233 PageID
                                    #: 431
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 163 of 233 PageID
                                    #: 432
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 164 of 233 PageID
                                    #: 433
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 165 of 233 PageID
                                    #: 434
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 166 of 233 PageID
                                    #: 435
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 167 of 233 PageID
                                    #: 436




                                Exhibit L
Case 1:25-cv-00121-MSM-LDA         Document 4-3 Filed 04/01/25            Page 168 of 233 PageID
                                          #: 437




                         Centers for Disease Control and Prevention

                      Office for State, Tribal, Local and Territorial Support

   National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
   and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities

                                     CDC

                                           05/03/2021
Case 1:25-cv-00121-MSM-LDA                             Document 4-3 Filed 04/01/25                               Page 169 of 233 PageID
                                                              #: 438




  Table of Contents
  A. Funding Opportunity Description ...............................................................................................3
  B. Award Information ....................................................................................................................18
  C. Eligibility Information ..............................................................................................................20
  D. Application and Submission Information .................................................................................21
  E. Review and Selection Process ...................................................................................................33
  F. Award Administration Information ...........................................................................................35
  G. Agency Contacts .......................................................................................................................42
  H. Other Information .....................................................................................................................43
  I. Glossary ......................................................................................................................................44



   Part I. Overview
  Applicants must go to the synopsis page of this announcement at www.grants.gov and click on
  the "Subscribe" button link to ensure they receive notifications of any changes to CDC-
                Applicants also must provide an e-mail address to www.grants.gov to receive
  notifications of changes.
   A. Federal Agency Name:
  Centers for Disease Control and Prevention (CDC) / Agency for Toxic Substances and Disease
  Registry (ATSDR)
   B. Notice of Funding Opportunity (NOFO) Title:
  National Initiative to Address COVID-19 Health Disparities Among Populations at High-Risk
  and Underserved, Including Racial and Ethnic Minority Populations and Rural Communities
   C. Announcement Type: New - Type 1:
  This announcement is only for non-research activities supported by CDC. If research is
  proposed, the application will not be considered. For this purpose, research is defined
  at https://www.gpo.gov/fdsys/pkg/CFR-2007-title42-vol1/pdf/CFR-2007-title42-vol1-sec52-
  2.pdf. Guidance on how CDC interprets the definition of research in the context of public health
  can be found at https://www.hhs.gov/ohrp/regulations-and-policy/regulations/45-cfr-
  46/index.html (See section 45 CFR 46.102(d)).
  D. Agency Notice of Funding Opportunity Number:
  CDC
  E. Assistance Listings Number:
  93.391
  F. Dates:
  1. Due Date for Letter of Intent (LOI):
  03/26/2021

                                                                                                                   Page 1 of 50
Case 1:25-cv-00121-MSM-LDA          Document 4-3 Filed 04/01/25            Page 170 of 233 PageID
                                           #: 439



  2. Due Date for Applications:
  05/03/2021
  11:59 p.m. U.S. Eastern Standard Time, at www.grants.gov.
  3. Due Date for Informational Conference Call:
  CDC will host two informational conference calls for potential applicants:

  Date: 03/30/2021

  Times: 3:00pm to 4:00pm Eastern Standard Time
  and
  6:00pm to 7:00pm Eastern Standard Time

  Meeting Details:
  Join ZoomGov Meeting
  https://cdc.zoomgov.com/j/16040976381?pwd=NmNjdFcrQlFVSjVPZ25nR0dHay9zdz09

  Meeting ID: 160 4097 6381
  Passcode:
  One tap mobile
  +16692545252,,16040976381#,,,,,,0#,,708148093# US (San Jose)
  +16468287666,,16040976381#,,,,,,0#,,708148093# US (New York)

  Dial by your location
       +1 669 254 5252 US (San Jose)
       +1 646 828 7666 US (New York)
       +1 669 216 1590 US (San Jose)
       +1 551 285 1373 US
  Meeting ID: 160 4097 6381
  Passcode:
  Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

  Join by SIP
  16040976381@sip.zoomgov.com

  Join by H.323
  161.199.138.10 (US West)
  161.199.136.10 (US East)
  Meeting ID: 160 4097 6381
  Passcode:
  G. Executive Summary:
  1. Summary Paragraph
  The Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
  Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
  M) provided, in part, funding for strategies to improve testing capabilities and other COVID-19
  response activities in populations that are at high-risk and underserved, including racial and

                                                                               Page 2 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25              Page 171 of 233 PageID
                                             #: 440



  ethnic minority groups and people living in rural communities. Strategies also include those to
  develop or identify best practices for states and public health officials to use for contact tracing.

  To achieve these purposes, the Centers for Disease Control and Prevention (CDC) is announcing
  a non-competitive grant CDC                        titled “National Initiative to Address COVID-
  19 Health Disparities Among Populations at High-Risk and Underserved, Including Racial and
  Ethnic Minority Populations and Rural Communities.” This grant will provide funding to address
  COVID-19 and advance health equity (e.g., through strategies, interventions, and services that
  consider systemic barriers and potentially discriminatory practices that have put certain groups at
  higher risk for diseases like COVID-19) in racial and ethnic minority groups and rural
  populations within state, local, US territorial, and freely associated state health jurisdictions.
  a. Eligible Applicants:
  Open Competition
  b. Funding Instrument Type:
  G (Grant)
  c. Approximate Number of Awards
  108
  d. Total Period of Performance Funding:
  $ 2,250,000,000
  All funding will be disbursed during year one with a total performance period of two years.
  e. Average One Year Award Amount:
  $0
  Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
        State Health Department: $32,000,000
        Local Health Departments Serving a County or City with a Population of ≥2 Million:
         $26,000,000
        Local Health Departments Serving a City with a Population of 400,000 or more, but less
         than 2 Million: $5,000,000
        US Territories and Freely Associated States: $3,000,000
  f. Total Period of Performance Length:
  2
  g. Estimated Award Date:
  June 01, 2021
  h. Cost Sharing and / or Matching Requirements:
  No
  Cost sharing or matching funds are not required for this program. Although no statutory
  matching requirement for this NOFO exists, leveraging other resources and related ongoing
  efforts to promote sustainability is strongly encouraged.
  Part II. Full Text
  A. Funding Opportunity Description


                                                                                 Page 3 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25             Page 172 of 233 PageID
                                             #: 441



  1. Background
  a. Overview
  Coronavirus disease 2019 (COVID-19) has disproportionately affected populations placed at
  higher risk and who are medically underserved, including racial and ethnic minority groups, and
  people living in rural communities who are at higher risk of exposure, infection, hospitalization,
  and mortality. Additionally, racial and ethnic minority groups and people living in rural
  communities have disproportionate rates of chronic diseases that increase the severity of
  COVID-19 infection and might experience barriers to accessing testing, treatment, or vaccination
  against the severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2), which causes
  COVID-19.

  To reduce the burden of COVID-19 among populations disproportionately affected, it is
  imperative that state, local, US territorial, and freely associated state health departments (or their
  bona fide agents) work collaboratively and develop partnerships with key partners who have
  existing community or social service delivery programs for African American, Hispanic, Asian
  American, Pacific Islander, Native American or other racial and ethnic minority groups or people
  living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
         Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
         Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
         Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
         local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
         determinants of health (e.g., community transportation; anti-discrimination organizations;
         legal services);
        Health care providers, including community health centers (e.g., federally qualified
         health centers, (FQHCs);
        Health-related organizations, (e.g., pharmacies, testing centers, community health
         workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
         (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
        Governmental organizations focused on non-health services (e.g., Coordinating Council
         on Access and Mobility – Department of Transportation, Supportive housing for the
         elderly – Housing and Urban Development).

                                                                                Page 4 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25             Page 173 of 233 PageID
                                             #: 442



  To reach populations at higher risk, underserved, and disproportionately affected, including
  racial and ethnic minority groups and people living in rural communities, it is critical for funded
  recipients and key partners to implement a coordinated and holistic approach that builds on
  culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-19
  risk. In addition, a coordinated and holistic approach is essential to building and sustaining trust,
  ensuring equitable access to COVID-19 related services, and advancing health equity to address
  COVID-19 related health disparities among populations at higher risk, underserved, and
  disproportionately affected .1
  b. Statutory Authorities
  Section 317(k)(2) of the Public Health Service Act [42 USC 247b(k)(2), as amended] and the
  Consolidated Appropriations Act, 2021 (P.L. 116-260), which contained the Coronavirus
  Response and Relief Supplemental Appropriations Act, 2021 (P.L. 116-260, Section 2, Division
  M, Title III).
  c. Healthy People 2030
  This emergency funding opportunity focuses on emergency preparedness and response
  foundational capability and addresses the "Healthy People 2030" focus areas of Preparedness,
  Vaccination, Health Communication, Respiratory Disease, Infectious Disease, Public Health
  Infrastructure, and Social Determinants of Health.

  For specific objectives within these topic areas, please visit www.healthypeople.gov.
  d. Other National Public Health Priorities and Strategies
       Executive Order on Ensuring an Equitable Pandemic Response and Recovery (EO13995)
       Executive Order on Advancing Racial Equity and Support for Underserved Communities
         Through the Federal Government (EO13985)
       National Strategy for the COVID-19 Response and Pandemic Preparedness (see Goal 6)
       CDC COVID-19 Response Health Equity Strategy: Accelerating Progress Towards
         Reducing COVID-19 Disparities and Achieving Health Equity
       Centers for Disease Control and Prevention Coronavirus 2019 (COVID-19)
         Recommendations and Guidance for state, local, territorial and tribal health departments
  e. Relevant Work
  This NOFO is complementary and non-duplicative of the following CDC program activities,
  public health priorities, and strategies:
        CDC-                          Epidemiology and Laboratory Capacity for Prevention and
         Control of Emerging Infectious Diseases (ELC)
        ELC Enhancing Detection Emerging Issues (E) Project: Funding for the Enhanced
         Detection, Response, Surveillance, and Prevention of COVID-19 - Supplement
        CDC-RFA-OT18-1802: Strengthening Public Health Systems and Services Through
         National Partnerships to Improvement and Protect the Nation’s Health
  2. CDC Project Description
  a. Approach
  Bold indicates period of performance outcome.


                                                                                Page 5 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 174 of 233 PageID
                                            #: 443



  Due to the nature of this grant and public health crisis, there is not a predetermined logic model.
  It is expected that funds from this grant will be used to strengthen public health infrastructure,
  preparedness and response capabilities and services in state, local, US territorial and freely
  associated state health departments (or their bona fide agents) to address COVID-19 related
  health disparities and advance health equity in underserved and disproportionately affected
  populations through testing, contact tracing and other mitigation strategies. All applicants must
  define the populations disproportionately affected by COVID-19 within their respective
  jurisdiction, describe how they will reach these populations, and describe their experience
  working with communities that are underserved and at higher risk for COVID-19 disparities and
  health inequities.

  Recipients will be required to include a financial carve out for rural communities, as applicable.
  As such, applicants who serve rural communities must define these communities and describe
  how they will provide direct support (e.g., funding, programs, or services) to those communities
  in their applications. State government applicants must also engage their State Office of Rural
  Health (SORH) or equivalent, in planning and implementing their activities and describe in their
  application how their SORHs or equivalent will be involved. To that end, CDC recommends
  state government applicants engage their respective SORH or equivalent, early in the application
  process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
  members/nosorh-members-browse-by-state/.

  In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
  partners who have existing community or social service delivery programs for African
  American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
  ethnic minority groups or people living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
         Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
         Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
         Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
         local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
         determinants of health (e.g., community transportation; anti-discrimination organizations;
         legal services);
        Health care providers, including community health centers (e.g., federally qualified
         health centers, (FQHCs);



                                                                              Page 6 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 175 of 233 PageID
                                            #: 444



        Health-related organizations, (e.g., pharmacies, testing centers, community health
         workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
         (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
        Governmental organizations focused on non-health services (e.g., Coordinating Council
         on Access and Mobility – Department of Transportation, Supportive housing for the
         elderly – Housing and Urban Development).

  Through this collaborative approach, applicants will be better able to maximize the impact of
  their federal COVID-19 funding, strengthen implementation of strategies and activities, and
  align resources to better match the burden of COVID-19 among populations who are at higher
  risk and are underserved. This collaboration must be described in the application.

  Applicants are encouraged to establish new funding relationships with partners and community
  organizations and may also continue funding relationships with partners and community
  organizations that have experience working with communities most affected by COVID-19 and
  have the capacity to implement strategies and activities outlined in this NOFO. To ensure
  resources reach the areas of greatest need, all applicants are strongly encouraged to use local
  epidemiologic, surveillance, and other available data sources to inform local resource allocation
  and program efforts, including program planning, implementation, and evaluation.
  i. Purpose
  Address COVID-19-related health disparities and advance health equity by expanding state,
  local, US territorial and freely associated state health department capacity and services to prevent
  and control COVID-19 infection (or transmission) among populations at higher risk and that are
  underserved, including racial and ethnic minority groups and people living in rural communities.
  ii. Outcomes
  The intended outcomes for this grant are:
     1. Reduced COVID-19-related health disparities.
     2. Improved and increased testing and contact tracing among populations at higher risk and
        that are underserved, including racial and ethnic minority groups and people living in
        rural communities.
     3. Improved state, local, US territorial and freely associated state health department capacity
        and services to prevent and control COVID-19 infection (or transmission) among
        populations at higher risk and that are underserved, including racial and ethnic minority
        groups and people living in rural communities.
  iii. Strategies and Activities
  This grant program will address COVID-19-related health disparities and advance health equity
  by expanding state, local, US territorial and freely associated state health department capacity
  and services to prevent and control COVID-19 infection (or transmission) among populations at
  higher risk and that are underserved, including racial and ethnic minority groups and people
  living in rural communities. All strategies should aim to build infrastructures that both address
  disparities in the current COVID-19 pandemic and set the foundation to address future responses.

                                                                               Page 7 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25           Page 176 of 233 PageID
                                             #: 445




  The program is composed of four overarching strategies:

  1. Expand existing and/or develop new mitigation and prevention resources and services to
  reduce COVID-19 related disparities among populations at higher risk and that are
  underserved: Ensuring equitable access to critical COVID-19 personal protective equipment
  (PPE), testing, contact tracing, quarantine and isolation, vaccination, and other wrap-around
  services require deploying focused strategies, resources, and activities to meet the needs of
  individuals and mitigate the spread of COVID-19 among populations disproportionately
  impacted.
  Priority activities for Strategy 1 should include:
        Expand testing (including home test kits and mobile testing sites) and contact tracing
         among populations at higher risk and that are underserved, including racial and ethnic
         minority populations and people living in rural communities;
  Additional activities may include but are not limited to:
        Vaccine coordination, quarantine and isolation options, and preventive care and disease
         management among populations that are underserved and at higher risk for COVID-19
        Tailor and adapt evidence-based policies, systems, and environmental strategies to
         mitigate social and health inequities related to COVID-19
        Identify and establish collaborations with critical partners affiliated with populations at
         higher risk and that are underserved, including racial and ethnic minority groups at higher
         risk for COVID-19 to:1) connect community members to programs, healthcare providers,
         services and resources (e.g., transportation, housing support, food assistance programs,
         mental health and substance abuse services, substance abuse) they might need and 2)
         lessen adverse effects of mitigation strategies
  2. Increase/improve data collection and reporting for populations experiencing a
  disproportionate burden of COVID-19 infection, severe illness, and death to guide the
  response to the COVID-19 pandemic: Improving data systems and the collection, analysis, and
  use of racial, ethnic, and rural health data for COVID-19 prevention and control will help to
  better identify populations and communities disproportionately affected, track resource
  distribution, and evaluate the effectiveness of advancing health equity to address COVID-19-
  related health disparities among disproportionately affected populations. Collection of data that
  contextualize racial, ethnic, and rural health data and robust analysis of these data are
  fundamental activities for improving data collection and reporting.

  Priority activities for Strategy 2 should include:
        Improve data collection and reporting for testing and contact tracing for populations at
         higher risk and that are underserved;
  Additional activities may include but are not limited to:
        Build on plans for collecting and reporting timely, complete, representative, and relevant
         data on testing, incidence, vaccination, and severe outcomes by detailed race and
         ethnicity categories, taking into account age and sex differences between groups

                                                                             Page 8 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25              Page 177 of 233 PageID
                                             #: 446



        Develop strategies to educate providers, community partners, and programs on: 1) the
         importance of the race and ethnicity data and appropriate strategies to collect it: 2) how to
         address mistrust/hesitancy about reporting personal information including race and
         ethnicity, and 3) why this information is important to prevent and control the spread of
         COVID-19
        Develop and implement plans to disseminate health equity-related data and related
         materials tailored to be culturally and linguistically responsive for diverse audiences
        Develop key principles and resources for collecting, analyzing, reporting, and
         disseminating health equity-related data to inform action during a public health
         emergency
        Assure adequate resources for data infrastructure and workforce to ensure alignment with
         data modernization
  3. Build, leverage, and expand infrastructure support for COVID-19 prevention and control
  among populations that are at higher risk and underserved: Sufficient workforce,
  infrastructure, and capacity are critical to providing equitable access to disproportionately
  affected populations. Where feasible, this short-term program will build, leverage, and expand
  the infrastructure and capacity within state, local, US territorial and freely associated state health
  departments (or their bona fide agents) to ensure and expand equitable access to critical COVID-
  19 testing and contact tracing, as well as PPE, quarantine and isolation, vaccination, and other
  wrap-around and supportive services.
  Priority activities for Strategy 3 should include:
        Expand the infrastructure to improve testing and contact tracing among populations at
         higher risk and that are underserved, including racial and ethnic minority populations and
         rural communities;
  Additional activities may include but are not limited to:
        Establish, enhance, or implement leadership-level health equity offices, workgroups, task
         forces, or positions to guide addressing COVID-19 among communities at higher risk
         and that are underserved
        Convene and facilitate multi-sector coalitions or advisory groups that include members of
         underserved communities and organizations that serve the community. These groups may
         provide advice, guidance, and recommendations for addressing COVID-19 and
         advancing health equity among their communities
        Update jurisdictions’ COVID-19 plans and health equity plans to support communities
         most at risk for COVID-19 with the intention of setting up systems that put in place
         infrastructures and plans that can also support future emergency responses
        Build and expand an inclusive public health workforce, including hiring people from the
         community (e.g., community health workers, social workers, other trusted community
         members) who are equipped to assess and address the needs of communities
         disproportionately affected by COVID-19
   4. Mobilize partners and collaborators to advance health equity and address social
  determinants of health as they relate to COVID-19 health disparities among populations at
  higher risk and that are underserved: Identifying and addressing current gaps and factors that
  influence COVID-19-related health disparities requires a collaborative approach. Under this

                                                                                Page 9 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 178 of 233 PageID
                                            #: 447



  strategy, collaborations between the primary applicant and key partners will broadly address
  health disparities and inequities related to COVID-19. (Please refer to Approach section of
  NOFO for a list of recommended key partners.)
  Priority activities for Strategy 4 should include:
        Build community capacity to reach disproportionately affected populations with effective
         culturally and linguistically tailored programs and practices for testing and contact
         tracing, and quarantine, including racial and ethnic minority populations and rural
         communities;
  Additional activities may include but are not limited to:
        Build and implement cross-sectoral partnerships to align public health, healthcare, and
         non-health (e.g., housing, transportation, social service) interventions that decrease risk
         for COVID-19
        Develop mechanisms such as community advisory groups that include leaders
         representing racial and ethnic minority groups and rural community leaders and members
         representing underserved populations to inform COVID-19 and future emergency
         response activities
        Develop and disseminate culturally and linguistically responsive COVID-19 prevention
         communications through various channels (e.g., local media, local or community
         newspapers, radio, TV, trusted communications agents) written in plain language and in
         formats and languages suitable for diverse audiences—including people with disabilities,
         limited English proficiency, etc.—addressing and, as necessary, dispelling of
         misinformation and barriers to mitigation practices due to mistrust.
        Build community capacity that includes traditional organizations (e.g., public health,
         healthcare) and non-traditional partners (e.g., community health workers, churches,
         transportation providers, social workers) to reach disproportionately affected populations
         with effective culturally and linguistically tailored programs and practices for testing,
         contact tracing, isolating, vaccination, and healthcare strategies
        Identify and establish collaborations with critical partners affiliated with and who provide
         services to populations that are underserved and at higher risk for COVID-19 to
         disseminate scientifically accurate, culturally, and linguistically responsive information
         and facilitate access to health-related services

  Applicants are not required to implement all four strategies, but rather they should select the
  strategies and activities that best address their jurisdiction’s respective priorities and needs.
  Strategies should engage representatives of populations and communities to be served by this
  NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
  those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
  activity should include the rationale for the approach or a brief justification with evidence
  showing why it should be included. Applicants should not propose to allocate all funding to one
  activity (e.g. all funding will be used for one vaccination or testing event only).
  1. Collaborations
  a. With other CDC programs and CDC-funded organizations:


                                                                             Page 10 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 179 of 233 PageID
                                            #: 448



  Recipients are encouraged to collaborate, as appropriate, with CDC programs and centers,
  institutes, and offices (CIOs) to ensure that activities and funding are coordinated with,
  complementary of, and not duplicative of efforts supported under other CDC programs that
  support COVID-19 response.

  To facilitate the identification and sharing of best practices, program evaluation, training, tool
  development, and communications of findings, recipients may receive tailored technical
  assistance from select national or regional partner organizations funded through CDC-RFA-
  OT18-1802: Strengthening Public Health Systems and Services through National Partnerships to
  Improvement and Protect the Nation’s Health.

  For questions about collaborating with CDC, please contact the CDC point of contact for this
  NOFO.
  b. With organizations not funded by CDC:
  It is a requirement of this opportunity to include a financial carve out for rural communities, as
  applicable. As such, applicants who serve rural communities must define these communities and
  describe how they will provide direct support (e.g., funding, programs and/or services) to those
  communities. State government applicants must also engage their State Office of Rural Health
  (SORH) or equivalent, in planning and implementing their activities and describe in their
  application how their SORHs or equivalent will be involved. To that end, CDC recommends
  state government applicants engage their respective SORH or equivalent, early in the application
  process. Contact information for SORHs can be found at: https://nosorh.org/nosorh-
  members/nosorh-members-browse-by-state/.

  In addition, applicants are strongly encouraged to develop partnerships and collaborate with key
  partners who have existing community or social service delivery programs for African
  American, Hispanic, Asian American, Pacific Islander, Native American or other racial and
  ethnic minority groups or people living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
         Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
         Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
         Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
         local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
         determinants of health (e.g., community transportation; anti-discrimination organizations;
         legal services);

                                                                             Page 11 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 180 of 233 PageID
                                            #: 449



        Health care providers, including community health centers (e.g., federally qualified
         health centers, (FQHCs);
        Health-related organizations, (e.g., pharmacies, testing centers, community health
         workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
         (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and
        Governmental organizations focused on non-health services (e.g., Coordinating Council
         on Access and Mobility – Department of Transportation, Supportive housing for the
         elderly – Housing and Urban Development).

  Through this collaborative approach, applicants will be better able to maximize the impact of
  their federal COVID-19 funding, strengthen implementation of strategies and activities, and
  align resources to better match the burden of COVID-19 among populations who are at higher
  risk and are underserved. This collaboration must be described in the application.

  Applicants are encouraged to establish new funding relationships with partners and community
  organizations and may also continue funding relationships with partners and community
  organizations that have experience working with communities most affected by COVID-19 and
  have the capacity to implement strategies and activities outlined in this NOFO. To ensure
  resources reach the areas of greatest need, all applicants are strongly encouraged to use local
  epidemiologic, surveillance, and other available data sources to inform local resource allocation
  and program efforts, including program planning, implementation, and evaluation.

  Memoranda of understanding (MOUs) or memoranda of agreement (MOAs) are encouraged, but
  not required.
  2. Target Populations
  This NOFO relates specifically to populations that have been placed at higher risk and are
  underserved, which, depending on the needs and priorities of the applicant, may include African
  American, Latino, and Indigenous and Native American people, Asian Americans and Pacific
  Islanders, and other people of color; members of religious minorities; lesbian, gay, bisexual,
  transgender, and queer (LGBTQ+) people; people with disabilities; people who live in rural
  communities; people over the age of 65, and people otherwise adversely affected by persistent
  poverty or inequality.

  Recipients are required to define and describe their respective population(s) of focus and
  describe how they will provide direct support (e.g., funding, services, or programs) to those
  communities within their application. Please include in the description the number of those you
  will serve broken out by applicable geographic area and/or community.

  Recipients are also encouraged to include members of the populations and communities to be
  served in the planning, implementation, and evaluation of program activities.
  a. Health Disparities


                                                                             Page 12 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25              Page 181 of 233 PageID
                                             #: 450



  Evidence shows that COVID-19-related health disparities are inextricably linked to complex and
  widespread health and social inequities that have put many people from populations that are
  underserved —including racial and ethnic minority groups and people living in rural
  communities—at higher risk of exposure, infection, hospitalization, and mortality from COVID-
  19.2, 3, 4 Health equity requires striving for the highest possible standard of health for all people,
  giving special attention to the needs of those at greatest risk of poor health, based on social
  conditions.

  The intent of this funding opportunity is to address COVID-19-related health disparities and
  advance health equity by expanding state, local, US territorial and freely associated state health
  department capacity and services to prevent and control COVID-19 infection (or transmission)
  among populations at higher risk and that are underserved, including racial and ethnic minority
  groups and people living in rural communities.

  To reduce the burden of COVID-19 among disproportionately affected populations applicants
  are strongly encouraged to develop partnerships and collaborate with key partners who have
  existing community or social service delivery programs for African American, Hispanic, Asian
  American, Pacific Islander, Native American or other racial and ethnic minority groups or people
  living in rural communities. Such key partners may include:
        Community-based and civic organizations;
        Tribes, tribal organizations;
        Academic institutions, and universities (e.g., minority serving institutions – Historically
         Black Colleges and Universities (HBCUs), Hispanic Association of Colleges and
         Universities (HACUs), American Indian Higher Education Consortium (AIHEC),Tribal
         Colleges and Universities (TCUs);
        Asian American and Pacific Islander Serving Institutions (AAPI);
        Faith-based organizations;
        Non-governmental organizations;
        Correctional facilities and institutions;
        Local governmental agencies and community leaders;
        Local businesses and business community networks and organizations, (e.g., employers,
         local chambers of commerce, small business community groups);
        Social services providers and organizations, including those that address social
         determinants of health (e.g., community transportation; anti-discrimination organizations;
         legal services);
        Health care providers, including community health centers (e.g., federally qualified
         health centers, (FQHCs);
        Health-related organizations, (e.g., pharmacies, testing centers, community health
         workers);
        State Offices of Rural Health (SORH) or equivalent, State Rural Health Associations
         (SRHAs);
        Rural Health Clinics (RHCs) and Critical Access Hospitals (CAHs); and



                                                                                Page 13 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 182 of 233 PageID
                                            #: 451



        Governmental organizations focused on non-health services (e.g., Coordinating Council
         on Access and Mobility – Department of Transportation, Supportive housing for the
         elderly – Housing and Urban Development).

  To reach populations at higher risk, underserved, and disproportionately affected—including
  racial and ethnic minority groups, and people living in rural communities—it is critical for
  funded recipients and key partners to implement a coordinated and holistic approach that builds
  on culturally, linguistically, and locally tailored strategies and best practices to reduce COVID-
  19 risk. In addition, a coordinated and holistic approach is essential to build and sustain trust,
  ensure equitable access to COVID-19-related services, and advance health equity to address
  COVID-19-related health disparities among populations at higher risk, underserved, and
  disproportionately affected.
  iv. Funding Strategy
  The funding strategy will consist of three components aimed at decreasing health disparities. The
  components are defined by type of jurisdiction. The amount of funds available for each
  component are based on the overall population size for each type of jurisdiction. Funds will be
  awarded for each component using a separate formula that is: a) consistent with the intent of the
  legislation and purposes of the grant, and b) appropriate for the eligible recipients. The three
  jurisdiction-specific components include:
     1. State, City and County Jurisdictions: Approximately 80% of total available funding will
        be awarded to all states and eligible cities and counties based on COVID-19 social and
        structural determinants, as defined by the COVID-19 Community Vulnerability Index
        (CCVI).
     2. Rural Jurisdictions: Approximately 19% of total available funding will be awarded to
        states with rural populations, as defined by the Health Resources and Services
        Administration (HRSA) Federal Office of Rural Health Policy (FORHP) definition of
        rural. All state recipients will receive a portion of the rural funding available. Each
        recipient’s share will be based on the size of the rural population within the recipient’s
        jurisdiction. These funds will be distributed to state recipients in combination with the
        first Component (i.e., the CCVI allotment, in a single award.)
     3. US Territorial and Freely Associated State Jurisdictions: Approximately 1% of total
        available funds will be awarded to US territories and freely associated states. Each US
        territorial and freely associated state recipient will receive base funding ($500,000), plus
        a population-based allotment that has been adjusted for COVID-19 burden. The COVID-
        19 burden adjustment will be based on the cumulative number of cases and deaths (per
        100,000) for each US territory and freely associated state.

  Please see Attachment A:               List of Eligible Applicants for a complete list of eligible
  applicants.
  b. Evaluation and Performance Measurement
  i. CDC Evaluation and Performance Measurement Strategy
  Performance measures will be finalized and provided to recipients within approximately 45 days
  of award.

                                                                              Page 14 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 183 of 233 PageID
                                            #: 452




  CDC will use recipients’ financial and progress reporting data to address evaluation questions
  relating to use of funds and results associated with the grant. CDC will collect this information
  quarterly through the end of the period of performance utilizing standardize templates. Quarterly
  expenditure and progress reports will be submitted via the Research Electronic Data Capture, or
  otherwise known as REDCap. CDC will provide training and technical assistance for recipients
  on REDCap post-award.

  Given the flexible nature of this grant and diversity of allowable activities, a Data Management
  Plan (DMP) is not required unless a recipient chooses to allocate funding to a COVID-19
  activity that involves the collection, generation, or analysis of data. The DMP may be submitted
  as a checklist, paragraph, or other format. To help guide applicants in developing a DMP, a
  sample plan is provided via the following link:
  http://www.icpsr.umich.edu/icpsrweb/content/datamanagement/dmp/plan.html

  As a result of the declared public health emergency (PHE), COVID-19, CDC’s COVID-19
  related data collections currently fall under a PHE Paperwork Reduction Act (PRA) Waiver as
  part of the 21st Century Cures Act. PRA requirements for most information collection activities
  that support the investigation of, and response to the COVID-19 pandemic, that would normally
  require submission of a PRA package, can be waived. If information collection activities
  continue beyond the period of the declared public health emergency or beyond the termination
  PHE PRA Waiver, all collections will become subject to requirements of the PRA. Awardees
  will receive additional guidance from CDC on how to address these PRA requirements.
  ii. Applicant Evaluation and Performance Measurement Plan
  Applicants must provide an evaluation and performance measurement plan that demonstrates
  how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
  Measurement and Project Description sections of this NOFO. At a minimum, the plan must
  describe:
        How the applicant will collect the performance measures, respond to the evaluation
         questions, and use evaluation findings for continuous program quality improvement.
        How key program partners will participate in the evaluation and performance
         measurement planning processes.
        Available data sources, feasibility of collecting appropriate evaluation and performance
         data, and other relevant data information (e.g., performance measures proposed by the
         applicant)
        Plans for updating the Data Management Plan (DMP) as new pertinent information
         becomes available. If applicable, throughout the lifecycle of the project. Updates to
         DMP should be provided in annual progress reports. The DMP should provide a
         description of the data that will be produced using these NOFO funds; access to data;
         data standards ensuring released data have documentation describing methods of
         collection, what the data represent, and data limitations; and archival and long-term data
         preservation plans. For more information about CDC’s policy on the DMP,
         see https://www.cdc.gov/grants/additionalrequirements/ar-25.html.


                                                                             Page 15 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25              Page 184 of 233 PageID
                                             #: 453



  Where the applicant chooses to, or is expected to, take on specific evaluation studies, the
  applicant should be directed to:
        Describe the type of evaluations (i.e., process, outcome, or both).
        Describe key evaluation questions to be addressed by these evaluations.
        Describe other information (e.g., measures, data sources).
  Recipients will be required to submit a more detailed Evaluation and Performance Measurement
  plan, including a DMP, if applicable, within the first 6 months of award, as described in the
  Reporting Section of this NOFO.
  Due to the nature of this grant and public health crisis, applicants are not required to provide an
  Evaluation and Performance Measurement plan with their application. Recipients are strongly
  encouraged to use evaluation and performance measurement data at the local level to monitor,
  evaluate, and continuously improve program performance. CDC will finalize and provide
  performance measures within approximately 45 days of award. Recipients will be required to
  report quarterly on CDC defined performance measures and participate in CDC evaluation and
  performance management activities. Evaluation reports will be made available to the public.
  c. Organizational Capacity of Recipients to Implement the Approach
  Applicants must demonstrate the organizational capacity needed to carry out and coordinate
  strategies to advance health equity and address COVID-19-related health disparities for
  populations at higher risk and that are underserved, including racial and ethnic minority groups
  and people living in rural communities.

  Applicants must also demonstrate the capacity to collaborate with their State Offices of Rural
  Health (SORH) or equivalent, if applicable, and with key partners with community or social
  service delivery programs for African American, Hispanic, Asian American, Pacific Islander,
  Native American or other racial and ethnic minority groups or people living in rural
  communities. Please refer to Approach section of NOFO for a list of recommended key partners.

  Acceptable documentation includes, but is not limited to, a signed letter by the health department
  leader or their designees on organization letterhead explaining the existing capacity and
  capability; departmental organizational charts; an incident management structure organizational
  chart; and resumes or CVs for key personnel positions that are currently filled ( include position
  descriptions for vacant positions). Applicant must name this file “Organizational Capacity” and
  upload it as a PDF to www.grants.gov.
  d. Work Plan
  Applicants must develop and submit a high-level work plan for the 2-year period of
  performance. The work plan must align with the strategies and activities outlined in the NOFO.
  Specifically, activities must align to one or more of the following strategies:
        Strategy 1:Expand existing and/or develop new mitigation and prevention resources and
         services to reduce COVID-19 related disparities among populations at higher risk and
         that are underserved



                                                                               Page 16 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 185 of 233 PageID
                                            #: 454



        Strategy 2: Increase/improve data collection and reporting for populations experiencing
         a disproportionate burden of COVID-19 infection, severe illness, and death to guide the
         response to the COVID-19 pandemic
        Strategy 3: Build, leverage, and expand infrastructure support for COVID-19 prevention
         and control among populations that are at higher risk and underserved
        Strategy 4: Mobilize partners and collaborators to advance health equity and address
         social determinants of health as they relate to COVID-19 health disparities among
         populations at higher risk and that are underserved
  Applicants are not required to implement all four strategies, but rather they should select the
  strategies and activities that best address their jurisdiction’s respective priorities and needs.
  Strategies should engage representatives of populations and communities to be served by this
  NOFO. CDC will also allow applicants to propose additional strategies and activities beyond
  those included in the NOFO to best achieve local outcomes. Any proposed new strategy or
  activity should include the rationale for the approach or a brief justification with evidence
  showing why it should be included. Applicants should not propose to allocate all funding to one
  activity (e.g. all funding will be used for one vaccination or testing event only).

  Applicants must use the template provided as Attachment B: CDC-                   Work Plan
  Template. Applicant must name this file “[Name of Jurisdiction] Work Plan” and upload it as an
  attachment to www.grants.gov.
  e. CDC Monitoring and Accountability Approach
  Monitoring activities include routine and ongoing communication between CDC and recipients,
  site visits, and recipient reporting (including work plans, performance, and financial reporting).
  Consistent with applicable grants regulations and policies, CDC expects the following to be
  included in post-award monitoring for grants and cooperative agreements:
        Tracking recipient progress in achieving the desired outcomes.
        Ensuring the adequacy of recipient systems that underlie and generate data reports.
        Creating an environment that fosters integrity in program performance and results.
  Monitoring may also include the following activities deemed necessary to monitor the award:
        Ensuring that work plans are feasible based on the budget and consistent with the intent
         of the award.
        Ensuring that recipients are performing at a sufficient level to achieve outcomes
         within stated timeframes.
        Working with recipients on adjusting the work plan based on achievement of
         outcomes, evaluation results and changing budgets.
        Monitoring performance measures (both programmatic and financial) to assure
         satisfactory performance levels.
  Monitoring and reporting activities that assist grants management staff (e.g., grants management
  officers and specialists, and project officers) in the identification, notification, and management
  of high-risk recipients.

                                                                              Page 17 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25            Page 186 of 233 PageID
                                             #: 455



  CDC will collect recipient financial and progress reporting data quarterly through the end of the
  period of performance.

  CDC will also conduct a virtual compliance visit after six months, but before the end of the first
  year, from date of the award. The virtual compliance visit will be a telephone call and/or video
  conference to ensure the recipient’s compliance with using the funding for the approved
  activities and to identify technical assistance needs. CDC may conduct additional in-person site
  or virtual visits as needed to best facilitate grants management and oversight duties.
  B. Award Information
  1. Funding Instrument Type:
  G (Grant)

  2. Award Mechanism:
  CDC-

  3. Fiscal Year:
  2021
  4. Approximate Total Fiscal Year Funding:
  $ 2,250,000,000

  5. Total Period of Performance Funding:
  $ 2,250,000,000
  This amount is subject to the availability of funds.
  All funding will be disbursed during year one with a total performance period of two years.
  Estimated Total Funding:
  $ 2,250,000,000
  6. Total Period of Performance Length:
  2
  year(s)
  7. Expected Number of Awards:
  108
  8. Approximate Average Award:

  $0
  Per Project Period
  Funding will vary by jurisdiction category. Average one-year award amount by applicant type:
        State Health Department: $32,000,000
        Local Health Departments Serving a County or City with a Population of ≥2 Million:
         $26,000,000


                                                                             Page 18 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25         Page 187 of 233 PageID
                                             #: 456



        Local Health Departments Serving a City with a Population of 400,000 or more, but less
         than 2 Million: $5,000,000
        US Territories and Freely Associated States: $3,000,000
  9. Award Ceiling:
  $ 50,000,000
  Per Project Period
  This amount is subject to the availability of funds.
  Funding will vary by jurisdiction category. Award Ceiling by applicant type:
        State Health Department: $50,000,000
        Local Health Departments Serving a County or City with a Population of ≥2 Million:
         $35,000,000
        Local Health Departments Serving a City with a Population of 400,000 or more, but less
         than 2 Million: $9,000,000
        US Territories and Freely Associated States: $10,000,000
  10. Award Floor:
  $ 500,000
  Per Project Period
  Funding will vary by jurisdiction category. Award Floor by applicant type:
        State Health Department: $17,000,000
        Local Health Departments Serving a County or City with a Population of ≥2 Million:
         $17,000,000
        Local Health Departments Serving a City with a Population of 400,000 or more, but less
         than 2 Million: $2,000,000
        US Territories and Freely Associated States: $500,000
  11. Estimated Award Date:
  June 01, 2021

  12. Budget Period Length:
  24 month(s)
  Throughout the project period, CDC will continue the award based on the availability of funds,
  the evidence of satisfactory progress by the recipient (as documented in required reports), and
  the determination that continued funding is in the best interest of the federal government. The
  total number of years for which federal support has been approved (project period) will be shown
  in the “Notice of Award.” This information does not constitute a commitment by the federal
  government to fund the entire period. The total period of performance comprises the initial
  competitive segment and any subsequent non-competitive continuation award(s).


  13. Direct Assistance

                                                                           Page 19 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25             Page 188 of 233 PageID
                                             #: 457



  Direct Assistance (DA) is not available through this NOFO.
  If you are successful and receive a Notice of Award, in accepting the award, you agree that the
  award and any activities thereunder are subject to all provisions of 45 CFR part 75, currently in
  effect or implemented during the period of the award, other Department regulations and policies
  in effect at the time of the award, and applicable statutory provisions.
  C. Eligibility Information
  1. Eligible Applicants
  Eligibility Category:
  00 (State governments)
  01 (County governments)
  02 (City or township governments)
  04 (Special district governments)
  25 (Others (see text field entitled "Additional Information on Eligibility" for clarification))
  Additional Eligibility Category:
  Government Organizations:
  State governments or their bona fide agents (includes the District of Columbia)
  Local governments or their bona fide agents
  Territorial governments or their bona fide agents in the Commonwealth of Puerto Rico, the
  Virgin Islands, the Commonwealth of the Northern Marianna Islands, American Samoa, Guam,
  the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic of
  Palau
  2. Additional Information on Eligibility
  Awards must be made to state, District of Columbia, local, US territorial, and/or freely
  associated state health departments (or their bona fide agents). Local (health departments)
  governments or their bona fide agents are eligible if they:
        Serve a county population of 2,000,000 or more; or serve a city population of 400,000 or
         more. Population for county and city jurisdictions are based on the following US Census
         2019 resources:
             City and Town Population Totals: 2010-2019 (census.gov) U.S. Census -- Annual
                Estimates of the Resident Population for Incorporated Places of 50,000 or More,
                Ranked by July 1, 2019 Population: April 1, 2010 to July 1, 2019
             County Population Totals: 2010-2019 (census.gov)- US Census – Annual
                Estimates for 2019
  Bona fide agents are eligible to apply. For more information about bona fide agents, please see
  the CDC webpage on Expediting the Federal Grant Process with an Administrative Partner
  located at https://www.cdc.gov/publichealthgateway/grantsfunding/expediting.html#Q2



                                                                               Page 20 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 189 of 233 PageID
                                            #: 458



  3. Justification for Less than Maximum Competition
  N/A
  4. Cost Sharing or Matching
   Cost Sharing / Matching Requirement:
  No
  Cost sharing or matching funds are not required for this program. Although no statutory
  matching requirement for this NOFO exists, leveraging other resources and related ongoing
  efforts to promote sustainability is strongly encouraged.
  5. Maintenance of Effort
  Maintenance of effort is not required for this program.
  D. Application and Submission Information
  1. Required Registrations
  An organization must be registered at the three following locations before it can submit an
  application for funding at www.grants.gov.

  a. Data Universal Numbering System:
  All applicant organizations must obtain a Data Universal Numbering System (DUNS) number. A
  DUNS number is a unique nine-digit identification number provided by Dun & Bradstreet
  (D&B). It will be used as the Universal Identifier when applying for federal awards or
  cooperative agreements.
  The applicant organization may request a DUNS number by telephone at 1-866-705-5711 (toll
  free) or internet at http:// fedgov.dnb. com/ webform/ displayHomePage.do. The DUNS number
  will be provided at no charge.
  If funds are awarded to an applicant organization that includes sub-recipients, those sub-
  recipients must provide their DUNS numbers before accepting any funds.

  b. System for Award Management (SAM):
  The SAM is the primary registrant database for the federal government and the repository into
  which an entity must submit information required to conduct business as a recipient. All
  applicant organizations must register with SAM, and will be assigned a SAM number. All
  information relevant to the SAM number must be current at all times during which the applicant
  has an application under consideration for funding by CDC. If an award is made, the SAM
  information must be maintained until a final financial report is submitted or the final payment is
  received, whichever is later. The SAM registration process can require 10 or more business days,
  and registration must be renewed annually. Additional information about registration procedures
  may be found at https://www.sam.gov/SAM/.

  c. Grants.gov:
  The first step in submitting an application online is registering your organization
  at www.grants.gov, the official HHS E-grant Web site. Registration information is located at the
  "Applicant Registration" option at www.grants.gov.
  All applicant organizations must register at www.grants.gov. The one-time registration process
  usually takes not more than five days to complete. Applicants should start the registration

                                                                             Page 21 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25              Page 190 of 233 PageID
                                            #: 459



  process as early as possible.

  Step
         System       Requirements                      Duration                  Follow Up

                      1. Click on http://
                                                                                  To confirm that
                      fedgov.dnb.com/ webform
                                                                                  you have been
                      2. Select Begin DUNS                                        issued a new
         Data
                      search/request process                                      DUNS number
         Universal
                      3. Select your country or territory                         check online at
  1      Number                                           1-2 Business Days
                      and follow the instructions to                              (http://
         System
                      obtain your DUNS 9-digit #                                  fedgov.dnb.com/
         (DUNS)
                      4. Request appropriate staff                                webform) or
                      member(s) to obtain DUNS                                    call 1-866-705-
                      number, verify & update                                     5711
                      information under DUNS number
         System for   1. Retrieve organizations DUNS
         Award        number
                                                                                 For SAM
         Management
                      2. Go                                                      Customer Service
         (SAM)                                           3-5 Business Days but
                      to https://www.sam.gov/SAM/ and                            Contact https://fs
  2      formerly                                        up to 2 weeks and must
                      designate an E-Biz POC (note                               d.gov/ fsd-gov/
         Central                                         be renewed once a year
                      CCR username will not work in                              home.do Calls: 86
         Contractor
                      SAM and you will need to have                              6-606-8220
         Registration
                      an active SAM account before you
         (CCR)
                      can register on grants.gov)
                      1. Set up an individual account in
                      Grants.gov using organization new
                      DUNS number to become an
                      authorized                         Same day but can take 8
                      organization representative        weeks to be fully       Register early!
                      (AOR)                              registered and approved Log into
                                                         in the system (note,    grants.gov and
                      2. Once the account is set up the
  3      Grants.gov                                      applicants MUST         check AOR status
                      E-BIZ POC will be notified via
                                                         obtain a DUNS number until it shows you
                      email
                                                         and SAM account         have been
                      3. Log into grants.gov using the
                                                         before applying on      approved
                      password the E-BIZ POC received
                                                         grants.gov)
                      and create new password
                      4. This authorizes the AOR to
                      submit applications on behalf of
                      the organization
  2. Request Application Package
  Applicants may access the application package at www.grants.gov.



                                                                              Page 22 of 50
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 191 of 233 PageID
                                    #: 460
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25           Page 192 of 233 PageID
                                            #: 461



  Passcode:
  Find your local number: https://cdc.zoomgov.com/u/advmPjIAqk

  Join by SIP
  16040976381@sip.zoomgov.com

  Join by H.323
  161.199.138.10 (US West)
  161.199.136.10 (US East)
  Meeting ID: 160 4097 6381
  Passcode:
   5. CDC Assurances and Certifications
  All applicants are required to sign and submit “Assurances and Certifications” documents
  indicated at http://wwwn.cdc.gov/ grantassurances/ (S(mj444mxct51lnrv1hljjjmaa))
  /Homepage.aspx.
  Applicants may follow either of the following processes:
        Complete the applicable assurances and certifications with each application submission,
         name the file “Assurances and Certifications” and upload it as a PDF file with
         at www.grants.gov
        Complete the applicable assurances and certifications and submit them directly to CDC
         on an annual basis at http://wwwn.cdc.gov/ grantassurances/
         (S(mj444mxct51lnrv1hljjjmaa))/ Homepage.aspx
  Assurances and certifications submitted directly to CDC will be kept on file for one year and will
  apply to all applications submitted to CDC by the applicant within one year of the submission
  date.

  Risk Assessment Questionnaire Requirement
  CDC is required to conduct pre-award risk assessments to determine the risk an applicant poses
  to meeting federal programmatic and administrative requirements by taking into account issues
  such as financial instability, insufficient management systems, non-compliance with award
  conditions, the charging of unallowable costs, and inexperience. The risk assessment will include
  an evaluation of the applicant’s CDC Risk Questionnaire, located
  at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, as well as a
  review of the applicant’s history in all available systems; including OMB-designated repositories
  of government-wide eligibility and financial integrity systems (see 45 CFR 75.205(a)), and other
  sources of historical information. These systems include, but are not limited to: FAPIIS
  (https://www.fapiis.gov/), including past performance on federal contracts as per Duncan Hunter
  National Defense Authorization Act of 2009; Do Not Pay list; and System for Award
  Management (SAM) exclusions.

  CDC requires all applicants to complete the Risk Questionnaire, OMB Control Number 0920-
  1132 annually. This questionnaire, which is located
  at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, along with

                                                                            Page 24 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25           Page 193 of 233 PageID
                                            #: 462



  supporting documentation must be submitted with your application by the closing date of the
  Notice of Funding Opportunity Announcement. If your organization has completed CDC’s Risk
  Questionnaire within the past 12 months of the closing date of this NOFO, then you must submit
  a copy of that questionnaire, or submit a letter signed by the authorized organization
  representative to include the original submission date, organization’s EIN and DUNS.
  When uploading supporting documentation for the Risk Questionnaire into this application
  package, clearly label the documents for easy identification of the type of documentation. For
  example, a copy of Procurement policy submitted in response to the questionnaire may be
  labeled using the following format: Risk Questionnaire Supporting Documents _ Procurement
  Policy.

  Duplication of Efforts
  Applicants are responsible for reporting if this application will result in programmatic,
  budgetary, or commitment overlap with another application or award (i.e. grant, cooperative
  agreement, or contract) submitted to another funding source in the same fiscal
  year. Programmatic overlap occurs when (1) substantially the same project is proposed in more
  than one application or is submitted to two or more funding sources for review and funding
  consideration or (2) a specific objective and the project design for accomplishing the objective
  are the same or closely related in two or more applications or awards, regardless of the funding
  source. Budgetary overlap occurs when duplicate or equivalent budgetary items (e.g.,
  equipment, salaries) are requested in an application but already are provided by another
  source. Commitment overlap occurs when an individual’s time commitment exceeds 100
  percent, whether or not salary support is requested in the application. Overlap, whether
  programmatic, budgetary, or commitment of an individual’s effort greater than 100 percent, is
  not permitted. Any overlap will be resolved by the CDC with the applicant and the PD/PI prior
  to award.
  Report Submission: The applicant must upload the report in Grants.gov under “Other
  Attachment Forms.” The document should be labeled: "Report on Programmatic, Budgetary,
  and Commitment Overlap.”
  6. Content and Form of Application Submission
  Applicants are required to include all of the following documents with their application package
  at www.grants.gov.
   7. Letter of Intent
  Letters of Intent (LOI) are not required but are requested as part of the application for this
  NOFO. The purpose of an LOI is to allow CDC program staff to estimate the number of and plan
  for the review of submitted applications.

  Letters of Intent should be submitted via email to                   @cdc.gov no later than
  March 26, 2021.




                                                                            Page 25 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25            Page 194 of 233 PageID
                                             #: 463



   8. Table of Contents
  (There is no page limit. The table of contents is not included in the project narrative page
  limit.): The applicant must provide, as a separate attachment, the “Table of Contents” for the
  entire submission package.
  Provide a detailed table of contents for the entire submission package that includes all of the
  documents in the application and headings in the "Project Narrative" section. Name the file
  "Table of Contents" and upload it as a PDF file under "Other Attachment Forms"
  at www.grants.gov.
   9. Project Abstract Summary
  A project abstract is included on the mandatory documents list and must be submitted
  at www.grants.gov. The project abstract must be a self-contained, brief summary of the proposed
  project including the purpose and outcomes. This summary must not include any proprietary or
  confidential information. Applicants must enter the summary in the "Project Abstract Summary"
  text box at www.grants.gov.
   10. Project Narrative
  (Unless specified in the "H. Other Information" section, maximum of 20 pages, single spaced, 12
  point font, 1-inch margins, number all pages. This includes the work plan. Content beyond the
  specified page number will not be reviewed.)
  Applicants must submit a Project Narrative with the application forms. Applicants must name
  this file “Project Narrative” and upload it at www.grants.gov. The Project Narrative must
  include all of the following headings (including subheadings): Background, Approach,
  Applicant Evaluation and Performance Measurement Plan, Organizational Capacity of
  Applicants to Implement the Approach, and Work Plan. The Project Narrative must be succinct,
  self-explanatory, and in the order outlined in this section. It must address outcomes and activities
  to be conducted over the entire period of performance as identified in the CDC Project
  Description section. Applicants should use the federal plain language guidelines and Clear
  Communication Index to respond to this Notice of Funding Opportunity. Note that recipients
  should also use these tools when creating public communication materials supported by this
  NOFO. Failure to follow the guidance and format may negatively impact scoring of the
  application.
  a. Background
  Applicants must provide a description of relevant background information that includes the
  context of the problem (See CDC Background).
   b. Approach
  i. Purpose
  Applicants must describe in 2-3 sentences specifically how their application will address the
  public health problem as described in the CDC Background section.

  ii. Outcomes



                                                                              Page 26 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 195 of 233 PageID
                                            #: 464



  Applicants must clearly identify the outcomes they expect to achieve by the end of the project
  period, as identified in the logic model in the Approach section of the CDC Project Description.
  Outcomes are the results that the program intends to achieve and usually indicate the intended
  direction of change (e.g., increase, decrease).

  iii. Strategies and Activities
  Applicants must provide a clear and concise description of the strategies and activities they will
  use to achieve the period of performance outcomes. Applicants must select existing evidence-
  based strategies that meet their needs, or describe in the Applicant Evaluation and Performance
  Measurement Plan how these strategies will be evaluated over the course of the project period.
  See the Strategies and Activities section of the CDC Project Description.

  1. Collaborations
  Applicants must describe how they will collaborate with programs and organizations either
  internal or external to CDC. Applicants must address the Collaboration requirements as
  described in the CDC Project Description.
  2. Target Populations and Health Disparities
  Applicants must describe the specific target population(s) in their jurisdiction and explain how
  such a target will achieve the goals of the award and/or alleviate health disparities. The
  applicants must also address how they will include specific populations that can benefit from the
  program that is described in the Approach section. Applicants must address the Target
  Populations and Health Disparities requirements as described in the CDC Project Description.
  c. Applicant Evaluation and Performance Measurement Plan
  Applicants must provide an evaluation and performance measurement plan that demonstrates
  how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
  Measurement and Project Description sections of this NOFO. At a minimum, the plan must
  describe:
        How applicant will collect the performance measures, respond to the evaluation
         questions, and use evaluation findings for continuous program quality improvement. The
         Paperwork Reduction Act of 1995 (PRA): Applicants are advised that any activities
         involving information collections (e.g., surveys, questionnaires, applications, audits, data
         requests, reporting, recordkeeping and disclosure requirements) from 10 or more
         individuals or non-Federal entities, including State and local governmental agencies, and
         funded or sponsored by the Federal Government are subject to review and approval by
         the Office of Management and Budget. For further information about CDC’s
         requirements under PRA see http://www.hhs.gov/ ocio/policy/collection/.
        How key program partners will participate in the evaluation and performance
         measurement planning processes.
        Available data sources, feasibility of collecting appropriate evaluation and performance
         data, data management plan (DMP), and other relevant data information (e.g.,
         performance measures proposed by the applicant).

                                                                              Page 27 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25               Page 196 of 233 PageID
                                            #: 465



  Where the applicant chooses to, or is expected to, take on specific evaluation studies, they should
  be directed to:
        Describe the type of evaluations (i.e., process, outcome, or both).
        Describe key evaluation questions to be addressed by these evaluations.
        Describe other information (e.g., measures, data sources).
  Recipients will be required to submit a more detailed Evaluation and Performance Measurement
  plan (including the DMP elements) within the first 6 months of award, as described in the
  Reporting Section of this NOFO.
  d. Organizational Capacity of Applicants to Implement the Approach
  Applicants must address the organizational capacity requirements as described in the CDC
  Project Description.
   11. Work Plan
  (Included in the Project Narrative’s page limit)
  Applicants must prepare a work plan consistent with the CDC Project Description Work Plan
  section. The work plan integrates and delineates more specifically how the recipient plans to
  carry out achieving the period of performance outcomes, strategies and activities, evaluation and
  performance measurement.
   12. Budget Narrative
  Applicants must submit an itemized budget narrative. When developing the budget narrative,
  applicants must consider whether the proposed budget is reasonable and consistent with the
  purpose, outcomes, and program strategy outlined in the project narrative. The budget must
  include:
        Salaries and wages
        Fringe benefits
        Consultant costs
        Equipment
        Supplies
        Travel
        Other categories
        Contractual costs
        Total Direct costs
        Total Indirect costs
  Indirect costs could include the cost of collecting, managing, sharing and preserving data.



                                                                               Page 28 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25             Page 197 of 233 PageID
                                             #: 466



  Indirect costs on grants awarded to foreign organizations and foreign public entities and
  performed fully outside of the territorial limits of the U.S. may be paid to support the costs of
  compliance with federal requirements at a fixed rate of eight percent of MTDC exclusive of
  tuition and related fees, direct expenditures for equipment, and subawards in excess of
  $25,000. Negotiated indirect costs may be paid to the American University, Beirut, and the
  World Health Organization.
  If applicable and consistent with the cited statutory authority for this announcement, applicant
  entities may use funds for activities as they relate to the intent of this NOFO to meet national
  standards or seek health department accreditation through the Public Health Accreditation Board
  (see: http://www.phaboard.org). Applicant entities to whom this provision applies include state,
  local, territorial governments (including the District of Columbia, the Commonwealth of Puerto
  Rico, the Virgin Islands, the Commonwealth of the Northern Marianna Islands, American
  Samoa, Guam, the Federated States of Micronesia, the Republic of the Marshall Islands, and the
  Republic of Palau), or their bona fide agents, political subdivisions of states (in consultation with
  states), federally recognized or state-recognized American Indian or Alaska Native tribal
  governments, and American Indian or Alaska Native tribally designated organizations. Activities
  include those that enable a public health organization to deliver public health services such as
  activities that ensure a capable and qualified workforce, up-to-date information systems, and the
  capability to assess and respond to public health needs. Use of these funds must focus on
  achieving a minimum of one national standard that supports the intent of the NOFO. Proposed
  activities must be included in the budget narrative and must indicate which standards will be
  addressed.
  Vital records data, including births and deaths, are used to inform public health program and
  policy decisions. If applicable and consistent with the cited statutory authority for this NOFO,
  applicant entities are encouraged to collaborate with and support their jurisdiction’s vital records
  office (VRO) to improve vital records data timeliness, quality and access, and to advance public
  health goals. Recipients may, for example, use funds to support efforts to build VRO capacity
  through partnerships; provide technical and/or financial assistance to improve vital records
  timeliness, quality or access; or support vital records improvement efforts, as approved by CDC.
  Applicants must name this file “Budget Narrative” and upload it as a PDF file
  at www.grants.gov. If requesting indirect costs in the budget, a copy of the indirect cost-rate
  agreement is required. If the indirect costs are requested, include a copy of the current negotiated
  federal indirect cost rate agreement or a cost allocation plan approval letter for those Recipients
  under such a plan. Applicants must name this file “Indirect Cost Rate” and upload it
  at www.grants.gov.
   13. Funds Tracking
  Proper fiscal oversight is critical to maintaining public trust in the stewardship of federal funds.
  Effective October 1, 2013, a new HHS policy on subaccounts requires the CDC to set up
  payment subaccounts within the Payment Management System (PMS) for all new grant awards.
  Funds awarded in support of approved activities and drawdown instructions will be identified on
  the Notice of Award in a newly established PMS subaccount (P subaccount). Recipients will be
  required to draw down funds from award-specific accounts in the PMS. Ultimately, the
  subaccounts will provide recipients and CDC a more detailed and precise understanding of
  financial transactions. The successful applicant will be required to track funds by P-accounts/sub

                                                                               Page 29 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 198 of 233 PageID
                                            #: 467



  accounts for each project/cooperative agreement awarded. Applicants are encouraged to
  demonstrate a record of fiscal responsibility and the ability to provide sufficient and effective
  oversight. Financial management systems must meet the requirements as described 45 CFR 75
  which include, but are not limited to, the following:
        Records that identify adequately the source and application of funds for federally-funded
         activities.
        Effective control over, and accountability for, all funds, property, and other assets.
        Comparison of expenditures with budget amounts for each Federal award.
        Written procedures to implement payment requirements.
        Written procedures for determining cost allowability.
        Written procedures for financial reporting and monitoring.
   14. Pilot Program for Enhancement of Employee Whistleblower Protections
  Pilot Program for Enhancement of Employee Whistleblower Protections: All applicants will be
  subject to a term and condition that applies the terms of 48 Code of Federal Regulations
  (CFR) section 3.908 to the award and requires that recipients inform their employees in writing
  (in the predominant native language of the workforce) of employee whistleblower rights and
  protections under 41 U.S.C. 4712.
   15. Copyright Interests Provisions
  This provision is intended to ensure that the public has access to the results and accomplishments
  of public health activities funded by CDC. Pursuant to applicable grant regulations and CDC’s
  Public Access Policy, Recipient agrees to submit into the National Institutes of Health (NIH)
  Manuscript Submission (NIHMS) system an electronic version of the final, peer-reviewed
  manuscript of any such work developed under this award upon acceptance for publication, to be
  made publicly available no later than 12 months after the official date of publication. Also at the
  time of submission, Recipient and/or the Recipient’s submitting author must specify the date the
  final manuscript will be publicly accessible through PubMed Central (PMC). Recipient and/or
  Recipient’s submitting author must also post the manuscript through PMC within twelve (12)
  months of the publisher's official date of final publication; however the author is strongly
  encouraged to make the subject manuscript available as soon as possible. The recipient must
  obtain prior approval from the CDC for any exception to this provision.


  The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
  publication, and includes all modifications from the publishing peer review process, and all
  graphics and supplemental material associated with the article. Recipient and its submitting
  authors working under this award are responsible for ensuring that any publishing or copyright
  agreements concerning submitted articles reserve adequate right to fully comply with this
  provision and the license reserved by CDC. The manuscript will be hosted in both PMC and the
  CDC Stacks institutional repository system. In progress reports for this award, recipient must
  identify publications subject to the CDC Public Access Policy by using the applicable NIHMS


                                                                              Page 30 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25           Page 199 of 233 PageID
                                            #: 468



  identification number for up to three (3) months after the publication date and the PubMed
  Central identification number (PMCID) thereafter.
  16. Funding Restrictions
  Restrictions that must be considered while planning the programs and writing the budget are:
        Recipients may not use funds for research.
        Recipients may not use funds for clinical care except as allowed by law.
        Recipients may use funds only for reasonable program purposes, including personnel,
         travel, supplies, and services.
        Generally, recipients may not use funds to purchase furniture or equipment. Any such
         proposed spending must be clearly identified in the budget.
        Reimbursement of pre-award costs generally is not allowed, unless the CDC provides
         written approval to the recipient.
        Other than for normal and recognized executive-legislative relationships, no funds may
         be used for:
             o publicity or propaganda purposes, for the preparation, distribution, or use of any
               material designed to support or defeat the enactment of legislation before any
               legislative body
             o the salary or expenses of any grant or contract recipient, or agent acting for such
               recipient, related to any activity designed to influence the enactment of
               legislation, appropriations, regulation, administrative action, or Executive order
               proposed or pending before any legislative body
        See Additional Requirement (AR) 12 for detailed guidance on this prohibition
         and additional guidance on lobbying for CDC recipients.
        The direct and primary recipient in a cooperative agreement program must perform a
         substantial role in carrying out project outcomes and not merely serve as a conduit for an
         award to another party or provider who is ineligible.
  Coronavirus Disease 2019 (COVID-19) Funds:

        A recipient of a grant or cooperative agreement awarded by the Department of Health and
         Human Services (HHS) with funds made available under the Coronavirus Preparedness
         and Response Supplemental Appropriations Act, 2020 (P.L. 116-123); the Coronavirus
         Aid, Relief, and Economic Security Act, 2020 (the “CARES Act”) (P.L. 116-136); the
         Paycheck Protection Program and Health Care Enhancement Act (P.L. 116-139); and/or
         H.R. 133 - Consolidated Appropriations Act, 2021, Division M – Coronavirus Response
         and Relief Supplemental Appropriations Act, 2021, agrees, as applicable to the award, to:
         1) comply with existing and/or future directives and guidance from the Secretary
         regarding control of the spread of COVID-19; 2) in consultation and coordination with
         HHS, provide, commensurate with the condition of the individual, COVID-19 patient
         care regardless of the individual’s home jurisdiction and/or appropriate public health

                                                                            Page 31 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 200 of 233 PageID
                                            #: 469



         measures (e.g., social distancing, home isolation); and 3) assist the United States
         Government in the implementation and enforcement of federal orders related to
         quarantine and isolation.
        In addition, to the extent applicable, Recipient will comply with Section 18115 of the
         CARES Act, with respect to the reporting to the HHS Secretary of results of tests
         intended to detect SARS–CoV–2 or to diagnose a possible case of COVID–19. Such
         reporting shall be in accordance with guidance and direction from HHS and/or
         CDC. HHS laboratory reporting guidance is posted
         at: https://www.hhs.gov/sites/default/files/covid-19-laboratory-data-reporting-
         guidance.pdf.
        Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322),
         the purpose of this award, and the underlying funding, the recipient is expected to provide
         to CDC copies of and/or access to COVID-19 data collected and evaluations conducted
         with these funds, including but not limited to data related to COVID-19 testing. CDC will
         specify in further guidance and directives what is encompassed by this requirement.
        To achieve the public health objectives of ensuring the health, safety, and welfare of all
         Americans, Recipient must distribute or administer vaccine without discriminating on
         non-public-health grounds within a prioritized group.


   18. Data Management Plan
  As identified in the Evaluation and Performance Measurement section, applications involving
  data collection or generation must include a Data Management Plan (DMP) as part of their
  evaluation and performance measurement plan unless CDC has stated that CDC will take on the
  responsibility of creating the DMP. The DMP describes plans for assurance of the quality of the
  public health data through the data's lifecycle and plans to deposit the data in a repository to
  preserve and to make the data accessible in a timely manner. See web link for additional
  information:
  https://www.cdc.gov/grants/additionalrequirements/ar-25.html
  18. Other Submission Requirements
  a. Electronic Submission:
  Applications must be submitted electronically by using the forms and instructions posted for this
  notice of funding opportunity at www.grants.gov. Applicants can complete the application
  package using Workspace, which allows forms to be filled out online or offline. All application
  attachments must be submitted using a PDF file format. Instructions and training for using
  Workspace can be found at www.grants.gov under the "Workspace Overview" option.

  b. Tracking Number: Applications submitted through www.grants.gov are time/date stamped
  electronically and assigned a tracking number. The applicant’s Authorized Organization
  Representative (AOR) will be sent an e-mail notice of receipt when www.grants.gov receives the
  application. The tracking number documents that the application has been submitted and initiates
  the required electronic validation process before the application is made available to CDC.

                                                                             Page 32 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25              Page 201 of 233 PageID
                                            #: 470



  c. Validation Process: Application submission is not concluded until the validation process is
  completed successfully. After the application package is submitted, the applicant will receive a
  “submission receipt” e-mail generated by www.grants.gov. A second e-mail message to
  applicants will then be generated by www.grants.gov that will either validate or reject the
  submitted application package. This validation process may take as long as two business days.
  Applicants are strongly encouraged to check the status of their application to ensure that
  submission of their package has been completed and no submission errors have occurred.
  Applicants also are strongly encouraged to allocate ample time for filing to guarantee that their
  application can be submitted and validated by the deadline published in the NOFO. Non-
  validated applications will not be accepted after the published application deadline date.
  If you do not receive a “validation” e-mail within two business days of application submission,
  please contact www.grants.gov. For instructions on how to track your application, refer to the e-
  mail message generated at the time of application submission or the Grants.gov Online User
  Guide.
  https:// www.grants.gov/help/html/help/index.htm? callingApp=custom#t=
  Get_Started%2FGet_Started. htm
  d. Technical Difficulties: If technical difficulties are encountered at www.grants.gov, applicants
  should contact Customer Service at www.grants.gov. The www.grants.gov Contact Center is
  available 24 hours a day, 7 days a week, except federal holidays. The Contact Center is available
  by phone at                   or by e-mail at support@grants.gov. Application submissions sent
  by e-mail or fax, or on CDs or thumb drives will not be accepted. Please note that
  www.grants.gov is managed by HHS.
  e. Paper Submission: If technical difficulties are encountered at www.grants.gov, applicants
  should call the www.grants.gov Contact Center at                    or e-mail them
  at support@grants.gov for assistance. After consulting with the Contact Center, if the technical
  difficulties remain unresolved and electronic submission is not possible, applicants may e-mail
  CDC GMO/GMS, before the deadline, and request permission to submit a paper application.
  Such requests are handled on a case-by-case basis.
  An applicant’s request for permission to submit a paper application must:
     1. Include the www.grants.gov case number assigned to the inquiry
     2. Describe the difficulties that prevent electronic submission and the efforts taken with
        the www.grants.gov Contact Center to submit electronically; and
     3. Be received via e-mail to the GMS/GMO listed below at least three calendar days before
        the application deadline. Paper applications submitted without prior approval will not be
        considered.

         If a paper application is authorized, OGS will advise the applicant of specific instructions
         for submitting the application (e.g., original and two hard copies of the application by
         U.S. mail or express delivery service).
  E. Review and Selection Process



                                                                              Page 33 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25             Page 202 of 233 PageID
                                             #: 471



  1. Review and Selection Process: Applications will be reviewed in three phases
  a. Phase 1 Review
  All applications will be initially reviewed for eligibility and completeness by CDC Office of
  Grants Services. Complete applications will be reviewed for responsiveness by the Grants
  Management Officials and Program Officials. Non-responsive applications will not advance to
  Phase II review. Applicants will be notified that their applications did not meet eligibility and/or
  published submission requirements.


  b. Phase II Review
  A review panel will evaluate complete, eligible applications in accordance with the criteria
  below.

  i. Approach
  ii. Evaluation and Performance Measurement
  iii. Applicant’s Organizational Capacity to Implement the Approach

  Not more than thirty days after the Phase II review is completed, applicants will be notified
  electronically if their application does not meet eligibility or published submission requirements
  i. Approach                                                                    Maximum Points: 0
  ii. Evaluation and Performance Measurement                                     Maximum Points: 0
  iii. Applicant's Organizational Capacity to Implement the
                                                                                 Maximum Points: 0
  Approach
  Budget                                                                         Maximum Points: 0
  i. Approach                                                                    Maximum Points: 0
  ii. Evaluation and Performance Measurement                                     Maximum Points: 0
  iii. Applicant's Organizational Capacity to Implement the
                                                                                 Maximum Points: 0
  Approach
  Budget                                                                         Maximum Points: 0

  c. Phase III Review
  This is a noncompetitive NOFO. Applications will be reviewed for technical merit without
  scoring.
  Review of risk posed by applicants.
  Prior to making a Federal award, CDC is required by 31 U.S.C. 3321 and 41 U.S.C. 2313 to
  review information available through any OMB-designated repositories of government-wide
  eligibility qualification or financial integrity information as appropriate. See also suspension and
  debarment requirements at 2 CFR parts 180 and 376.
  In accordance 41 U.S.C. 2313, CDC is required to review the non-public segment of the OMB-
  designated integrity and performance system accessible through SAM (currently the
  Federal Recipient Performance and Integrity Information System (FAPIIS)) prior to making a
  Federal award where the Federal share is expected to exceed the simplified acquisition threshold,

                                                                               Page 34 of 50
Case 1:25-cv-00121-MSM-LDA             Document 4-3 Filed 04/01/25               Page 203 of 233 PageID
                                              #: 472



  defined in 41 U.S.C. 134, over the period of performance. At a minimum, the information in the
  system for a prior Federal award recipient must demonstrate a satisfactory record of executing
  programs or activities under Federal grants, cooperative agreements, or procurement awards; and
  integrity and business ethics. CDC may make a Federal award to a recipient who does not fully
  meet these standards, if it is determined that the information is not relevant to the current Federal
  award under consideration or there are specific conditions that can appropriately mitigate the
  effects of the non-Federal entity's risk in accordance with 45 CFR §75.207.
  CDC’s framework for evaluating the risks posed by an applicant may incorporate results of the
  evaluation of the applicant's eligibility or the quality of its application. If it is determined that a
  Federal award will be made, special conditions that correspond to the degree of risk assessed
  may be applied to the Federal award. The evaluation criteria is described in this Notice of
  Funding Opportunity.
  In evaluating risks posed by applicants, CDC will use a risk-based approach and may consider
  any items such as the following:
  (1) Financial stability;
  (2) Quality of management systems and ability to meet the management standards prescribed in
  this part;
  (3) History of performance. The applicant's record in managing Federal awards, if it is a prior
  recipient of Federal awards, including timeliness of compliance with applicable reporting
  requirements, conformance to the terms and conditions of previous Federal awards, and if
  applicable, the extent to which any previously awarded amounts will be expended prior to future
  awards;
  (4) Reports and findings from audits performed under subpart F 45 CFR 75 or the reports and
  findings of any other available audits; and
  (5) The applicant's ability to effectively implement statutory, regulatory, or other requirements
  imposed on non-Federal entities.
  CDC must comply with the guidelines on government-wide suspension and debarment in 2 CFR
  part 180, and require non-Federal entities to comply with these provisions. These provisions
  restrict Federal awards, subawards and contracts with certain parties that are debarred, suspended
  or otherwise excluded from or ineligible for participation in Federal programs or activities.
  2. Announcement and Anticipated Award Dates
  The anticipated posting date is March 17, 2021, on www.grants.gov. Applicants will have up to
  45 days, or May 3, 2021, to respond. Applicants are encouraged to apply early. The anticipated
  award date is approximately 30 calendar days after the end of the application period, or June 1,
  2021.
   F. Award Administration Information
   1. Award Notices
  Recipients will receive an electronic copy of the Notice of Award (NOA) from CDC OGS. The
  NOA shall be the only binding, authorizing document between the recipient and CDC. The
  NOA will be signed by an authorized GMO and emailed to the Recipient Business Officer listed
  in application and the Program Director.
                                                                                  Page 35 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 204 of 233 PageID
                                            #: 473




  Any applicant awarded funds in response to this Notice of Funding Opportunity will be subject
  to the DUNS, SAM Registration, and Federal Funding Accountability And Transparency Act Of
  2006 (FFATA) requirements.

  Unsuccessful applicants will receive notification of these results by e-mail with delivery receipt
  or by U.S. mail.
  2. Administrative and National Policy Requirements
  The following Administrative Requirements (AR) apply to this NOFO:
        AR-7: Executive Order 12372 Review
        AR-8: Public Health System Reporting Requirements
        AR-9: Paperwork Reduction Act Requirements
        AR-10: Smoke-Free Workplace Requirements
        AR-11: Healthy People 2030
        AR-12: Lobbying Restrictions
        AR-13: Prohibition on Use of CDC Funds for Certain Gun Control Activities
        AR-8: Public Health System Reporting Requirements
        AR-15: Proof of Non-profit Status
        AR-23: Compliance with 45 CFR Part 87
        AR-14: Accounting System Requirements
        AR-16: Security Clearance Requirement
        AR-21: Small, Minority, And Women-owned Business
        AR-24: Health Insurance Portability and Accountability Act Requirements
        AR-25: Data Management and Access
        AR-26: National Historic Preservation Act of 1966
        AR-29: Compliance with EO13513, “Federal Leadership on Reducing Text Messaging
         while Driving”, October 1, 2009
        AR-30: Information Letter 10-006, - Compliance with Section 508 of the Rehabilitation
         Act of 1973
        AR-32: Enacted General Provisions
        AR-34: Language Access for Persons with Limited English Proficiency
        AR-37: Prohibition on certain telecommunications and video surveillance services or
         equipment for all awards issued on or after August 13, 2020

  Recipients are also expected to adhere to administrative requirements relating to
  nondiscrimination contained in Standard Form 424B (Rev. 7-97): Assurances - Non-
  Construction Programs, prescribed by OMB Circular A-102.
  The full text of the Uniform Administrative Requirements, Cost Principles, and Audit
  Requirements for HHS Awards, 45 CFR 75, can be found at: https://www.ecfr.gov/cgi-bin/text-
  idx?node=pt45.1.75


                                                                              Page 36 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 205 of 233 PageID
                                            #: 474



   3. Reporting
  Reporting provides continuous program monitoring and identifies successes and challenges
  that recipients encounter throughout the project period. Also, reporting is a requirement
  for recipients who want to apply for yearly continuation of funding. Reporting helps CDC and
  recipients because it:
        Helps target support to recipients;
        Provides CDC with periodic data to monitor recipient progress toward meeting the Notice
         of Funding Opportunity outcomes and overall performance;
        Allows CDC to track performance measures and evaluation findings for continuous
         quality and program improvement throughout the period of performance and to determine
         applicability of evidence-based approaches to different populations, settings, and
         contexts; and
        Enables CDC to assess the overall effectiveness and influence of the NOFO.
  The table below summarizes required and optional reports. All required reports must be sent
  electronically to GMS listed in the “Agency Contacts” section of the NOFO copying the CDC
  Project Officer.


    Report Type                When?                                                    Required?
    Expenditure Reporting      Quarterly expenditure reports are due 60 days into       Yes
                               the award and at the end of each fiscal quarter
                               thereafter through the period of performance.

    Payment Management         Quarterly reports are due 60 days into the award and     Yes
    System (PMS)               at the end of each fiscal quarter thereafter through
    Reporting                  the period of performance.

    Progress Reporting         Quarterly progress reports are due 6o days into the      Yes
                               award and at the end of each fiscal quarter thereafter
                               through the period of performance.

    Federal Financial          Due 90 days after the end of the budget period           Yes
    Reporting
    Forms

    Final Performance and      Due 90 days after end of period of performance           Yes
    Financial Report



    There may be flexibility in reporting deadlines. CDC will communicate updates or revisions
    to reporting requirements as appropriate.

                                                                             Page 37 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 206 of 233 PageID
                                            #: 475




    Quarterly expenditure and progress reports will be submitted via the Research Electronic
    Data Capture, or otherwise known as REDCap. CDC will provide training and technical
    assistance for recipients on REDCap post-award.

  a. Recipient Evaluation and Performance Measurement Plan (required)
  With support from CDC, recipients must elaborate on their initial applicant evaluation and
  performance measurement plan. This plan must be no more than 20 pages; recipients must
  submit the plan 6 months into the award. HHS/CDC will review and approve the recipient’s
  monitoring and evaluation plan to ensure that it is appropriate for the activities to be undertaken
  as part of the agreement, for compliance with the monitoring and evaluation guidance established
  by HHS/CDC, or other guidance otherwise applicable to this Agreement.

  Recipient Evaluation and Performance Measurement Plan (required): This plan should provide
  additional detail on the following:

  Performance Measurement

  • Performance measures and targets
  • The frequency that performance data are to be collected.
  • How performance data will be reported.
  • How quality of performance data will be assured.
  • How performance measurement will yield findings to demonstrate progress towards
  achieving NOFO goals (e.g., reaching target populations or achieving expected outcomes).
  • Dissemination channels and audiences.
  • Other information requested as determined by the CDC program.

  Evaluation

  • The types of evaluations to be conducted (e.g. process or outcome evaluations).
  • The frequency that evaluations will be conducted.
  • How evaluation reports will be published on a publically available website.
  • How evaluation findings will be used to ensure continuous quality and program improvement.
  • How evaluation will yield findings to demonstrate the value of the NOFO (e.g., effect on
  improving public health outcomes, effectiveness of NOFO, cost-effectiveness or cost-benefit).
  • Dissemination channels and audiences.

  HHS/CDC or its designee will also undertake monitoring and evaluation of the defined activities
  within the agreement. The recipient must ensure reasonable access by HHS/CDC or its designee
  to all necessary sites, documentation, individuals and information to monitor, evaluate and verify
  the appropriate implementation the activities and use of HHS/CDC funding under this
  Agreement.
  b. Annual Performance Report (APR) (required)


                                                                             Page 38 of 50
Case 1:25-cv-00121-MSM-LDA          Document 4-3 Filed 04/01/25           Page 207 of 233 PageID
                                           #: 476



  The recipient must submit the APR via www.Grantsolutions.gov no later than 120 days prior to
  the end of the budget period. This report must not exceed 45 pages excluding administrative
  reporting. Attachments are not allowed, but web links are allowed.
  This report must include the following:
        Performance Measures: Recipients must report on performance measures for each
         budget period and update measures, if needed.
        Evaluation Results: Recipients must report evaluation results for the work completed to
         date (including findings from process or outcome evaluations).
        Work Plan: Recipients must update work plan each budget period to reflect any changes
         in period of performance outcomes, activities, timeline, etc.
        Successes
             o Recipients must report progress on completing activities and progress towards
               achieving the period of performance outcomes described in the logic model and
               work plan.
             o Recipients must describe any additional successes (e.g. identified through
               evaluation results or lessons learned) achieved in the past year.
             o Recipients must describe success stories.
        Challenges
             o Recipients must describe any challenges that hindered or might hinder their
               ability to complete the work plan activities and achieve the period of performance
               outcomes.
             o Recipients must describe any additional challenges (e.g., identified through
               evaluation results or lessons learned) encountered in the past year.
        CDC Program Support to Recipients
             o Recipients must describe how CDC could help them overcome challenges to
               complete activities in the work plan and achieving period of performance
               outcomes.
        Administrative Reporting (No page limit)
             o SF-424A Budget Information-Non-Construction Programs.
             o Budget Narrative – Must use the format outlined in "Content and Form of
               Application Submission, Budget Narrative" section.
             o Indirect Cost Rate Agreement.
  The recipients must submit the Annual Performance Report via www.Grantsolutions.gov no
  later than 120 days prior to the end of the budget period.
  c. Performance Measure Reporting (optional)


                                                                           Page 39 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25            Page 208 of 233 PageID
                                            #: 477



  CDC programs may require more frequent reporting of performance measures than annually in
  the APR. If this is the case, CDC programs must specify reporting frequency, data fields, and
  format for recipients at the beginning of the award period.
  d. Federal Financial Reporting (FFR) (required)
  The annual FFR form (SF-425) is required and must be submitted 90 days after the end of the
  budget period through the Payment Management System (PMS). The report must include only
  those funds authorized and disbursed during the timeframe covered by the report. The final FFR
  must indicate the exact balance of unobligated funds, and may not reflect any unliquidated
  obligations. There must be no discrepancies between the final FFR expenditure data and the
  Payment Management System’s (PMS) cash transaction data. Failure to submit the required
  information by the due date may adversely affect the future funding of the project. If the
  information cannot be provided by the due date, recipients are required to submit a letter of
  explanation to OGS and include the date by which the Grants Officer will receive information.
  e. Final Performance and Financial Report (required)
  The Final Performance Report is due 90 days after the end of the period of performance. The
  Final FFR is due 90 days after the end of the period of performance and must be submitted
  through the Payment Management System (PMS). CDC programs must indicate that this report
  should not exceed 40 pages. This report covers the entire period of performance and can include
  information previously reported in APRs. At a minimum, this report must include the following:
        Performance Measures – Recipients must report final performance data for all process
         and outcome performance measures.
        Evaluation Results – Recipients must report final evaluation results for the period of
         performance for any evaluations conducted.
        Impact/Results/Success Stories – Recipients must use their performance measure results
         and their evaluation findings to describe the effects or results of the work completed over
         the project period, and can include some success stories.
        A final Data Management Plan that includes the location of the data collected during the
         funded period, for example, repository name and link data set(s)
        Additional forms as described in the Notice of Award (e.g., Equipment Inventory Report,
         Final Invention Statement).
  4. Federal Funding Accountability and Transparency Act of 2006 (FFATA)
  Federal Funding Accountability and Transparency Act of 2006 (FFATA), P.L. 109–282, as
  amended by section 6202 of P.L. 110–252 requires full disclosure of all entities and
  organizations receiving Federal funds including awards, contracts, loans, other assistance, and
  payments through a single publicly accessible Web site, http://www.USASpending.gov.
  Compliance with this law is primarily the responsibility of the Federal agency. However, two
  elements of the law require information to be collected and reported by applicants: 1)
  information on executive compensation when not already reported through the SAM, and 2)
  similar information on all sub-awards/subcontracts/consortiums over $25,000.
  For the full text of the requirements under the FFATA and HHS guidelines, go to:


                                                                             Page 40 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 209 of 233 PageID
                                            #: 478



        https://www.gpo.gov/fdsys/pkg/PLAW-109publ282/pdf/PLAW-109publ282.pdf,
        https://www. fsrs.gov/documents /ffata_legislation_ 110_252.pdf
        http://www.hhs.gov/grants/grants/grants-policies-regulations/index.html#FFATA.
  5. Reporting of Foreign Taxes (International/Foreign projects only)
  A. Valued Added Tax (VAT) and Customs Duties – Customs and import duties, consular fees,
  customs surtax, valued added taxes, and other related charges are hereby authorized as an
  allowable cost for costs incurred for non-host governmental entities operating where no
  applicable tax exemption exists. This waiver does not apply to countries where a bilateral
  agreement (or similar legal document) is already in place providing applicable tax exemptions
  and it is not applicable to Ministries of Health. Successful applicants will receive information on
  VAT requirements via their Notice of Award.

  B. The U.S. Department of State requires that agencies collect and report information on the
  amount of taxes assessed, reimbursed and not reimbursed by a foreign government against
  commodities financed with funds appropriated by the U.S. Department of State, Foreign
  Operations and Related Programs Appropriations Act (SFOAA) (“United States foreign
  assistance funds”). Outlined below are the specifics of this requirement:

  1) Annual Report: The recipient must submit a report on or before November 16 for each foreign
  country on the amount of foreign taxes charged, as of September 30 of the same year, by a
  foreign government on commodity purchase transactions valued at 500 USD or more financed
  with United States foreign assistance funds under this grant during the prior United States fiscal
  year (October 1 – September 30), and the amount reimbursed and unreimbursed by the foreign
  government. [Reports are required even if the recipient did not pay any taxes during the reporting
  period.]

  2) Quarterly Report: The recipient must quarterly submit a report on the amount of foreign taxes
  charged by a foreign government on commodity purchase transactions valued at 500 USD or
  more financed with United States foreign assistance funds under this grant. This report shall be
  submitted no later than two weeks following the end of each quarter: April 15, July 15, October
  15 and January 15.

  3) Terms: For purposes of this clause:
  “Commodity” means any material, article, supplies, goods, or equipment;
  “Foreign government” includes any foreign government entity;
  “Foreign taxes” means value-added taxes and custom duties assessed by a foreign government
  on a commodity. It does not include foreign sales taxes.

  4) Where: Submit the reports to the Director and Deputy Director of the CDC office in the
  country(ies) in which you are carrying out the activities associated with this cooperative
  agreement. In countries where there is no CDC office, send reports to                 @cdc.gov.

  5) Contents of Reports: The reports must contain:


                                                                              Page 41 of 50
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 210 of 233 PageID
                                    #: 479
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 211 of 233 PageID
                                    #: 480
Case 1:25-cv-00121-MSM-LDA             Document 4-3 Filed 04/01/25             Page 212 of 233 PageID
                                              #: 481



        Budget Narrative
        CDC Assurances and Certifications
        Report on Programmatic, Budgetary and Commitment Overlap
        Table of Contents for Entire Submission
  For international NOFOs:
        SF424
        SF424A
        Funding Preference Deliverables
  Optional attachments, as determined by CDC programs:
  References

  [1]                                                                              , et
  al. Engaging With Communities — Lessons (Re)Learned From COVID-19. Prev Chronic Dis
  2020;17:200250. https://www.cdc.gov/pcd/issues/2020/20_0250.htm

  2] US Centers for Disease Control and Prevention. COVID-19 cases, data, and surveillance:
  hospitalization and death by race/ethnicity. Accessed October 12, 2020.
  https://www.cdc.gov/coronavirus/2019-ncov/covid-data/investigations-discovery/hospitalization-
  death-by-race-ethnicity.html

                                                                      racial disparities in testing,
  infection, hospitalization, and death: analysis of Epic data. Published September 16, 2020.
  Accessed October 12, 2020. https://www.kff.org/coronavirus-covid-19/issue-brief/covid-19-
  racial-disparities-testing-infection-hospitalization-death-analysis-epic-patient-data/

                                           The association of social determinants of health with
  COVID-19
  mortality in rural and urban counties. Journal of Rural Health. 2021;1-9.
  https://doi.org/10.1111/jrh.12557


  I. Glossary
  Activities: The actual events or actions that take place as a part of the program.
  Administrative and National Policy Requirements, Additional Requirements
  (ARs): Administrative requirements found in 45 CFR Part 75 and other requirements mandated
  by statute or CDC policy. All ARs are listed in the Template for CDC programs. CDC programs
  must indicate which ARs are relevant to the NOFO; recipients must comply with the ARs listed
  in the NOFO. To view brief descriptions of relevant provisions, see http:// www.cdc.gov/ grants/
  additional requirements/ index.html. Note that 2 CFR 200 supersedes the administrative
  requirements (A-110 & A-102), cost principles (A-21, A-87 & A-122) and audit requirements
  (A-50, A-89 & A-133).

                                                                                Page 44 of 50
Case 1:25-cv-00121-MSM-LDA             Document 4-3 Filed 04/01/25              Page 213 of 233 PageID
                                              #: 482



  Approved but Unfunded: Approved but unfunded refers to applications recommended for
  approval during the objective review process; however, they were not recommended for funding
  by the program office and/or the grants management office.
  Assistance Listings: A government-wide compendium published by the General Services
  Administration (available on-line in searchable format as well as in printable format as a .pdf
  file) that describes domestic assistance programs administered by the Federal Government.
  Assistance Listings Number: A unique number assigned to each program and NOFO
  throughout its lifecycle that enables data and funding tracking and transparency
  Award: Financial assistance that provides support or stimulation to accomplish a public purpose.
  Awards include grants and other agreements (e.g., cooperative agreements) in the form of
  money, or property in lieu of money, by the federal government to an eligible applicant.
  Budget Period or Budget Year: The duration of each individual funding period within the
  project period. Traditionally, budget periods are 12 months or 1 year.
  Carryover: Unobligated federal funds remaining at the end of any budget period that, with the
  approval of the GMO or under an automatic authority, may be carried over to another budget
  period to cover allowable costs of that budget period either as an offset or additional
  authorization. Obligated but liquidated funds are not considered carryover.
  CDC Assurances and Certifications: Standard government-wide grant application forms.
  Competing Continuation Award: A financial assistance mechanism that adds funds to a grant
  and adds one or more budget periods to the previously established period of performance (i.e.,
  extends the “life” of the award).
  Continuous Quality Improvement: A system that seeks to improve the provision of services
  with an emphasis on future results.
  Contracts: An award instrument used to acquire (by purchase, lease, or barter) property or
  services for the direct benefit or use of the Federal Government.
  Cooperative Agreement: A financial assistance award with the same kind of interagency
  relationship as a grant except that it provides for substantial involvement by the federal agency
  funding the award. Substantial involvement means that the recipient can expect federal
  programmatic collaboration or participation in carrying out the effort under the award.
  Cost Sharing or Matching: Refers to program costs not borne by the Federal Government but
  by the recipients. It may include the value of allowable third-party, in-kind contributions, as well
  as expenditures by the recipient.
  Direct Assistance: A financial assistance mechanism, which must be specifically authorized by
  statute, whereby goods or services are provided to recipients in lieu of cash. DA generally
  involves the assignment of federal personnel or the provision of equipment or supplies, such as
  vaccines. DA is primarily used to support payroll and travel expenses of CDC employees
  assigned to state, tribal, local, and territorial (STLT) health agencies that are recipients of grants
  and cooperative agreements. Most legislative authorities that provide financial assistance to
  STLT health agencies allow for the use of DA. http:// www.cdc.gov /grants
  /additionalrequirements /index.html.

                                                                                Page 45 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25            Page 214 of 233 PageID
                                             #: 483



  DUNS: The Dun and Bradstreet (D&B) Data Universal Numbering System (DUNS) number is a
  nine-digit number assigned by Dun and Bradstreet Information Services. When applying for
  Federal awards or cooperative agreements, all applicant organizations must obtain a DUNS
  number as the Universal Identifier. DUNS number assignment is free. If requested by telephone,
  a DUNS number will be provided immediately at no charge. If requested via the Internet,
  obtaining a DUNS number may take one to two days at no charge. If an organization does not
  know its DUNS number or needs to register for one, visit Dun & Bradstreet
  at http://fedgov.dnb.com/ webform/displayHomePage.do.
  Evaluation (program evaluation): The systematic collection of information about the activities,
  characteristics, and outcomes of programs (which may include interventions, policies, and
  specific projects) to make judgments about that program, improve program effectiveness, and/or
  inform decisions about future program development.
  Evaluation Plan: A written document describing the overall approach that will be used to guide
  an evaluation, including why the evaluation is being conducted, how the findings will likely be
  used, and the design and data collection sources and methods. The plan specifies what will be
  done, how it will be done, who will do it, and when it will be done. The NOFO evaluation plan is
  used to describe how the recipient and/or CDC will determine whether activities are
  implemented appropriately and outcomes are achieved.
  Federal Funding Accountability and Transparency Act of 2006 (FFATA): Requires that
  information about federal awards, including awards, contracts, loans, and other assistance and
  payments, be available to the public on a single website at www.USAspending.gov.
  Fiscal Year: The year for which budget dollars are allocated annually. The federal fiscal year
  starts October 1 and ends September 30.
  Grant: A legal instrument used by the federal government to transfer anything of value to a
  recipient for public support or stimulation authorized by statute. Financial assistance may be
  money or property. The definition does not include a federal procurement subject to the Federal
  Acquisition Regulation; technical assistance (which provides services instead of money); or
  assistance in the form of revenue sharing, loans, loan guarantees, interest subsidies, insurance, or
  direct payments of any kind to a person or persons. The main difference between a grant and a
  cooperative agreement is that in a grant there is no anticipated substantial programmatic
  involvement by the federal government under the award.
  Grants.gov: A "storefront" web portal for electronic data collection (forms and reports) for
  federal grant-making agencies at www.grants.gov.
  Grants Management Officer (GMO): The individual designated to serve as the HHS official
  responsible for the business management aspects of a particular grant(s) or cooperative
  agreement(s). The GMO serves as the counterpart to the business officer of the recipient
  organization. In this capacity, the GMO is responsible for all business management matters
  associated with the review, negotiation, award, and administration of grants and interprets grants
  administration policies and provisions. The GMO works closely with the program or project
  officer who is responsible for the scientific, technical, and programmatic aspects of the grant.
  Grants Management Specialist (GMS): A federal staff member who oversees the business and
  other non-programmatic aspects of one or more grants and/or cooperative agreements. These

                                                                              Page 46 of 50
Case 1:25-cv-00121-MSM-LDA            Document 4-3 Filed 04/01/25             Page 215 of 233 PageID
                                             #: 484



  activities include, but are not limited to, evaluating grant applications for administrative content
  and compliance with regulations and guidelines, negotiating grants, providing consultation and
  technical assistance to recipients, post-award administration and closing out grants.
  Health Disparities: Differences in health outcomes and their determinants among segments of
  the population as defined by social, demographic, environmental, or geographic category.
  Health Equity: Striving for the highest possible standard of health for all people and giving
  special attention to the needs of those at greatest risk of poor health, based on social conditions.
  Health Inequities: Systematic, unfair, and avoidable differences in health outcomes and their
  determinants between segments of the population, such as by socioeconomic status (SES),
  demographics, or geography.
  Healthy People 2030: National health objectives aimed at improving the health of all Americans
  by encouraging collaboration across sectors, guiding people toward making informed health
  decisions, and measuring the effects of prevention activities.
  Inclusion: Both the meaningful involvement of a community’s members in all stages of the
  program process and the maximum involvement of the target population that the intervention
  will benefit. Inclusion ensures that the views, perspectives, and needs of affected communities,
  care providers, and key partners are considered.
  Indirect Costs: Costs that are incurred for common or joint objectives and not readily and
  specifically identifiable with a particular sponsored project, program, or activity; nevertheless,
  these costs are necessary to the operations of the organization. For example, the costs of
  operating and maintaining facilities, depreciation, and administrative salaries generally are
  considered indirect costs.
  Intergovernmental Review: Executive Order 12372 governs applications subject to
  Intergovernmental Review of Federal Programs. This order sets up a system for state and local
  governmental review of proposed federal assistance applications. Contact the state single point
  of contact (SPOC) to alert the SPOC to prospective applications and to receive instructions on
  the State’s process. Visit the following web address to get the current SPOC list:
  https://www.whitehouse.gov/wp-content/uploads/2017/11/Intergovernmental_-Review-
  _SPOC_01_2018_OFFM.pdf.
  Letter of Intent (LOI): A preliminary, non-binding indication of an organization’s intent to
  submit an application.
  Lobbying: Direct lobbying includes any attempt to influence legislation, appropriations,
  regulations, administrative actions, executive orders (legislation or other orders), or other similar
  deliberations at any level of government through communication that directly expresses a view
  on proposed or pending legislation or other orders, and which is directed to staff members or
  other employees of a legislative body, government officials, or employees who participate in
  formulating legislation or other orders. Grass roots lobbying includes efforts directed at inducing
  or encouraging members of the public to contact their elected representatives at the federal, state,
  or local levels to urge support of, or opposition to, proposed or pending legislative proposals.
  Logic Model: A visual representation showing the sequence of related events connecting the
  activities of a program with the programs’ desired outcomes and results.

                                                                               Page 47 of 50
Case 1:25-cv-00121-MSM-LDA             Document 4-3 Filed 04/01/25             Page 216 of 233 PageID
                                              #: 485



  Maintenance of Effort: A requirement contained in authorizing legislation, or applicable
  regulations that a recipient must agree to contribute and maintain a specified level of financial
  effort from its own resources or other non-government sources to be eligible to receive federal
  grant funds. This requirement is typically given in terms of meeting a previous base-year dollar
  amount.
  Memorandum of Understanding (MOU) or Memorandum of Agreement
  (MOA): Document that describes a bilateral or multilateral agreement between parties
  expressing a convergence of will between the parties, indicating an intended common line of
  action. It is often used in cases where the parties either do not imply a legal commitment or
  cannot create a legally enforceable agreement.
  Nonprofit Organization: Any corporation, trust, association, cooperative, or other organization
  that is operated primarily for scientific, educational, service, charitable, or similar purposes in the
  public interest; is not organized for profit; and uses net proceeds to maintain, improve, or expand
  the operations of the organization. Nonprofit organizations include institutions of higher
  educations, hospitals, and tribal organizations (that is, Indian entities other than federally
  recognized Indian tribal governments).
  Notice of Award (NoA): The official document, signed (or the electronic equivalent of
  signature) by a Grants Management Officer that: (1) notifies the recipient of the award of a grant;
  (2) contains or references all the terms and conditions of the grant and Federal funding limits and
  obligations; and (3) provides the documentary basis for recording the obligation of Federal funds
  in the HHS accounting system.
  Objective Review: A process that involves the thorough and consistent examination of
  applications based on an unbiased evaluation of scientific or technical merit or other relevant
  aspects of the proposal. The review is intended to provide advice to the persons responsible for
  making award decisions.
  Outcome: The results of program operations or activities; the effects triggered by the program.
  For example, increased knowledge, changed attitudes or beliefs, reduced tobacco use, reduced
  morbidity and mortality.
  Performance Measurement: The ongoing monitoring and reporting of program
  accomplishments, particularly progress toward pre-established goals, typically conducted by
  program or agency management. Performance measurement may address the type or level of
  program activities conducted (process), the direct products and services delivered by a program
  (outputs), or the results of those products and services (outcomes). A “program” may be any
  activity, project, function, or policy that has an identifiable purpose or set of objectives.
  Period of performance –formerly known as the project period - : The time during which the
  recipient may incur obligations to carry out the work authorized under the Federal award. The
  start and end dates of the period of performance must be included in the Federal award.
  Period of Performance Outcome: An outcome that will occur by the end of the NOFO's
  funding period
  Plain Writing Act of 2010: The Plain Writing Act of 2010 requires that federal agencies use
  clear communication that the public can understand and use. NOFOs must be written in clear,


                                                                                Page 48 of 50
Case 1:25-cv-00121-MSM-LDA           Document 4-3 Filed 04/01/25             Page 217 of 233 PageID
                                            #: 486



  consistent language so that any reader can understand expectations and intended outcomes of the
  funded program. CDC programs should use NOFO plain writing tips when writing NOFOs.
  Program Strategies: Strategies are groupings of related activities, usually expressed as general
  headers (e.g., Partnerships, Assessment, Policy) or as brief statements (e.g., Form partnerships,
  Conduct assessments, Formulate policies).
  Program Official: Person responsible for developing the NOFO; can be either a project officer,
  program manager, branch chief, division leader, policy official, center leader, or similar staff
  member.
  Public Health Accreditation Board (PHAB): A nonprofit organization that works to promote
  and protect the health of the public by advancing the quality and performance of public health
  departments in the U.S. through national public health department
  accreditation http://www.phaboard.org.
  Social Determinants of Health: Conditions in the environments in which people are born, live,
  learn, work, play, worship, and age that affect a wide range of health, functioning, and quality-
  of-life outcomes and risks.
  Statute: An act of the legislature; a particular law enacted and established by the will of the
  legislative department of government, expressed with the requisite formalities. In foreign or civil
  law any particular municipal law or usage, though resting for its authority on judicial decisions,
  or the practice of nations.
  Statutory Authority: Authority provided by legal statute that establishes a federal financial
  assistance program or award.
  System for Award Management (SAM): The primary vendor database for the U.S. federal
  government. SAM validates applicant information and electronically shares secure and encrypted
  data with federal agencies' finance offices to facilitate paperless payments through Electronic
  Funds Transfer (EFT). SAM stores organizational information, allowing www.grants.gov to
  verify identity and pre-fill organizational information on grant applications.
  Technical Assistance: Advice, assistance, or training pertaining to program development,
  implementation, maintenance, or evaluation that is provided by the funding agency.
  Work Plan: The summary of period of performance outcomes, strategies and activities,
  personnel and/or partners who will complete the activities, and the timeline for completion. The
  work plan will outline the details of all necessary activities that will be supported through the
  approved budget.
  NOFO-specific Glossary and Acronyms
  Health equity (2) is achieved when every person has the opportunity to “attain his or her full
  health potential” and no one is “disadvantaged from achieving this potential because of social
  position or other socially determined circumstances.”

  Underserved communities refers to populations sharing a particular characteristic, as well as
  geographic communities, that have been systematically denied a full opportunity to participate in
  aspects of economic, social, and civic life. Populations can include but are not limited to: African
  American, Latino, and Indigenous and Native American persons, Asian Americans and Pacific

                                                                              Page 49 of 50
Case 1:25-cv-00121-MSM-LDA          Document 4-3 Filed 04/01/25           Page 218 of 233 PageID
                                           #: 487



  Islanders and other persons of color; members of religious minorities; lesbian, gay, bisexual,
  transgender, and queer (LGBTQ+) persons; persons with disabilities; persons who live in rural
  communities; and persons otherwise adversely impacted by persistent poverty or
  inequality (Definition modified from the Executive Order On Advancing Racial Equity and
  Support for Underserved Communities Through the Federal Government, January 20, 2021).




                                                                           Page 50 of 50
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 219 of 233 PageID
                                    #: 488




                                Exhibit M
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 220 of 233 PageID
                                    #: 489
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 221 of 233 PageID
                                    #: 490
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 222 of 233 PageID
                                    #: 491
    Case 1:25-cv-00121-MSM-LDA       Document 4-3 Filed 04/01/25   Page 223 of 233 PageID
                                            #: 492
                                 AWARD ATTACHMENTS
California Department of Public Health
1. Terms and Conditions
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 224 of 233 PageID
                                    #: 493
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 225 of 233 PageID
                                    #: 494
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 226 of 233 PageID
                                    #: 495
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 227 of 233 PageID
                                    #: 496
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 228 of 233 PageID
                                    #: 497




                                Exhibit N
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 229 of 233 PageID
                                    #: 498
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 230 of 233 PageID
                                    #: 499
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 231 of 233 PageID
                                    #: 500
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 232 of 233 PageID
                                    #: 501
Case 1:25-cv-00121-MSM-LDA   Document 4-3 Filed 04/01/25   Page 233 of 233 PageID
                                    #: 502
